Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 1 of 156 PageID: 328




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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



 YANG RENBIN, ROBERT ANGELINE,                  Case No. 2:20-CV-04457-ES-CLW
 COREY HAYS, AND ALEXANDRE
 TAZI, Individually and On Behalf of All
 Others Similarly Situated,
                                                AMENDED CLASS ACTION
                                                COMPLAINT FOR VIOLATIONS OF
                                 Plaintiffs,    THE FEDERAL SECURITIES LAWS
      v.
                                                JURY TRIAL DEMANDED
 GSX TECHEDU INC., LARRY
 XIANGDONG CHEN, NAN SHEN, XIN
 FAN, YIMING HU, MING LIAO, CREDIT
 SUISSE SECURITIES (USA) LLC,
 DEUTSCHE BANK SECURITIES, INC.,
 BARCLAYS CAPITAL, INC., BOFA
 SECURITIES, INC., CLSA LIMITED,
 AND GOLDMAN SACHS (ASIA) L.L.C.,

                                  Defendants.
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 2 of 156 PageID: 329




                                                  TABLE OF CONTENTS
                                                                                                                                      Page(s)
 I.     INTRODUCTION .............................................................................................................. 2
 II.    JURISDICTION AND VENUE ......................................................................................... 5
 III.   PARTIES ............................................................................................................................ 6
        A.         Plaintiffs .................................................................................................................. 6
                   1.         Lead Plaintiff Yang Renbin ........................................................................ 6
                   2.         Additional Plaintiff Robert Angeline .......................................................... 6
                   3.         Additional Plaintiff Corey Hays ................................................................. 6
                   4.         Additional Plaintiff Alexandre Tazi............................................................ 6
        B.         Defendants .............................................................................................................. 7
                   1.         GSX Techedu, Inc. (“GSX,” “GSX Techedu” or the “Company”) ............ 7
                   2.         Individual Defendants ................................................................................. 7
                   3.         Underwriter Defendants .............................................................................. 8
                   4.         Additional Securities Act Defendants ....................................................... 10
 IV.    SUBSTANTIVE ALLEGATIONS .................................................................................. 11
        A.         Company Background .......................................................................................... 11
                   1.         Company Operations ................................................................................ 11
                   2.         Company Structure ................................................................................... 12
                   3.         Company Leadership ................................................................................ 17
                   4.         GSX’s Revenue Is Based Primarily on Its K-12 Student Enrollments ..... 17
        B.         The Company Has Repeatedly Falsified More than 70% of Its K-12 Student
                   Enrollment and More Than Half of Its Revenues ................................................. 21
                   1.         Expert Analysis of Anomalies in the Company’s Course Login Data
                              Shows that 70% of the Company’s Students Are “Bots” ......................... 21
                   2.         Multiple Confidential Witnesses Confirm in Detail that GSX Techedu’s
                              Customer Base is Grossly Inflated by Its Use of Bots and Other Methods
                              to Falsify Student Enrollments.................................................................. 32
                   3.         Preserved Public Job Postings Show that the Company Hired Employees
                              for Brushing .............................................................................................. 48
                   4.         Bot Activity Permeates GSX’s Alleged Business .................................... 51
                   5.         GSX Techedu’s Growth Compared to Competitors’ Cannot Be Explained
                              by Competitive Advantage or Any Other Legitimate Reason .................. 61




                                                                      i
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 3 of 156 PageID: 330




                 6.        Data Show that GSX Techedu’s Education Services Are Not Used or
                           Recognized in Line with the Company’s Representations about Its User
                           Base and Revenue ..................................................................................... 82
                 7.        GSX Uses Accounting Tricks To Hide Its Expenditures on “Brushing” . 87
       C.        As Investors Began To Learn that GSX Techedu Massively Overstates Its User
                 Base and Revenues, GSX Techedu’s Share Price Fell ......................................... 94
 V.    DEFENDANTS’ FALSE AND MISLEADING STATEMENTS ................................... 95
       A.        Defendants’ False and Misleading Statements in 2019 ........................................ 95
                 1.        March 19, 2019: Draft Initial Offering Documents ................................. 95
                 2.        April 19, 2019: In the Cross-Hairs: Revised Pre-Offering Documents ... 96
                 3.        May 8, 2019: The Initial Public Offering Documents ............................. 98
                 4.        August 22 and 23, 2019: 2Q2019 Earnings Results ................................ 99
                 5.        November 5 and 7, 2019: 3Q2019 Earnings Results ............................. 103
                 6.        November 18, 2019: The SPO ............................................................... 107
       B.        Defendants’ False and Misleading Statements in 2020 ...................................... 108
                 1.        February 18 and 19, 2020: 4Q2019 Earnings Report ............................ 108
                 2.        April 3, 2020: 2020 Form 20-F ............................................................. 114
                 3.        April 8, 2020: Statement by Chen......................................................... 117
                 4.        April 9, 2020: “Market Concerns” Investors’ Call ................................ 117
                 5.        April 15, 2020: GSX Denies Citron Report ........................................... 120
                 6.        May 6 and 7, 2020: 1Q2020 Earnings Report ....................................... 120
                 7.        May 19, 2020: Denials of Bots, Brushing & Pledging .......................... 122
                 8.        May 29, 2020: More Affirmative Denials of Bots & Brushing ............. 123
                 9.        June 3, 2020: GSX Denies Grizzly Research’s Follow-up Report ........ 124
                 10.       September 2, 2020: 2Q2020 Earnings Report ....................................... 125
 VI.   LOSS CAUSATION ....................................................................................................... 126
                 1.        April 3, 2020 ........................................................................................... 126
                 2.        April 14, 2020 ......................................................................................... 128
                 3.        May 18 and 20, 2020 .............................................................................. 128
                 4.        August 7 and 10, 2020 ............................................................................ 129
                 5.        August 14, 2020 ...................................................................................... 130
                 6.        September 2 and 3, 2020 ......................................................................... 131
                 7.        October 21, 2020 ..................................................................................... 131



                                                                ii
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 4 of 156 PageID: 331




 VII.     ADDITIONAL SCIENTER ALLEGATIONS ............................................................... 132
          A.        Statements by the Individual Defendants Directly Denying Brushing and Other
                    Fraudulent Practices Are Strong Evidence of Recklessness or Knowledge ....... 132
          B.        Student Enrollment was GSX’s Core Operation, and the Amount by which the
                    Company Overstated Enrollment Could Not Have Escaped the CEO and CFO’s
                    Attention ............................................................................................................. 135
                    1.         The Exchange Act Defendants’ Fraud Concerned GSX’s Key Operating
                               Metrics .................................................................................................... 135
                    2.         The Magnitude of the Exchange Act Defendants’ Fraud Supports an
                               Inference of Scienter ............................................................................... 136
          C.        Chen was Financially Motivated To Perpetrate Fraud on Investors ................... 136
          D.        Corporate Insiders Exited their Positions to Finance the Company’s SPO ........ 137
          E.        The Knowledge of GSX’s Senior Executives and Other Agents is Imputed to the
                    Company ............................................................................................................. 138
 VIII.    CLASS ACTION ALLEGATIONS ............................................................................... 138
 IX.      NO SAFE HARBOR ...................................................................................................... 142
 X.       COUNT ONE.................................................................................................................. 143
          For Violations of Section 10(b) of the Securities Exchange Act of 1934 and SEC Rule
                 10b–5 (Against the Exchange Act Defendants—GSX, Chen and Shen)........... 143
 XI.      COUNT TWO ................................................................................................................. 144
          For Violations of Section 20(a) of the Securities Exchange Act of 1934 (Brought by
                 Plaintiffs against the Individual Defendants—Chen and Shen) ......................... 144
 XII.     COUNT THREE ............................................................................................................. 145
          For Violations of Section 11 of the Securities Act (Brought by Plaintiffs against All
                 Defendants) ......................................................................................................... 145
 XIII.    COUNT FOUR ............................................................................................................... 148
          For Violations of Section 12(a)(2) of the Securities Act (Brought by Plaintiffs against the
                 Underwriter Defendants) .................................................................................... 148
 XIV. PRAYER FOR RELIEF ................................................................................................. 149
 XV.      JURY TRIAL DEMANDED .......................................................................................... 150




                                                                    iii
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 5 of 156 PageID: 332




        Court-appointed Lead Plaintiff Yang Renbin (“Lead Plaintiff”) and Additional Plaintiffs

 Robert Angeline, Corey Hays and Alexandre Tazi (collectively, “Plaintiffs”), by and through

 undersigned counsel, bring this federal securities class action individually and on behalf of all

 other persons and entities (the “Class”1) that purchased or otherwise acquired the publicly-traded

 American Depositary Shares (“ADSs”), evidenced by American Depositary Receipts (“ADRs”),

 of GSX Techedu, Inc. (“GSX,” “GSX Techedu” or the “Company”) from June 6, 2019 through

 October 20, 2020 inclusive (the “Class Period”), including those who purchased ADSs in or

 traceable to the Company’s initial public offering on or about June 6, 2019 (the “IPO”), or

 GSX’s secondary public offering on or about November 20, 2019 (the “SPO”), and were

 damaged thereby.

        Plaintiffs’ claims are asserted under the Securities Exchange Act of 1934 (the “Exchange

 Act”) and the Securities Act of 1933 (the “Securities Act”). As alleged in this Complaint,

 Defendants (defined in Section III(B), infra) issued materially false and misleading registration

 statements and prospectuses for the June 2019 IPO and November 2019 SPO and, throughout the

 Class Period, also made a series of statements that the Exchange Act Defendants (defined in

 Section III(B)(1), infra) knew, or recklessly disregarded the risk that such statements, were

 materially false or misleading at the time the statements were made, and omitted material

 information necessary to make the statements, in light of those material omissions, not materially

 false or misleading.


        1
           The following are excluded from the Class: (1) Defendants; (2) members of the
 immediate family of any Defendant who is a natural person; (3) any person who was an officer
 or director of the Company during the Class Period; (4) any firm, trust, corporation, or other
 entity in which any Defendant has or had a controlling interest; (5) the Company’s employee
 retirement and benefit plan(s), if any, and their participants or beneficiaries; and (6) the legal
 representatives, affiliates, subsidiaries, parents, heirs, heirs apparent, successors-in-interest, or
 assigns of any such excluded person or entity.


                                                    1
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 6 of 156 PageID: 333




        Plaintiffs’ claims are brought upon personal knowledge as to their own acts, and upon

 information and belief as to all other matters, based upon, among other things, a review and

 analysis of (1) reports and documents filed by GSX with the U.S. Securities & Exchange

 Commission (“SEC”); (2) reports issued by analysts covering or concerning GSX and its

 business; (3) press releases, news articles, transcripts, and other public statements issued by or

 about GSX, its business, and the Exchange Act Defendants; (4) an investigation conducted by

 Plaintiffs’ attorneys, including interviews with numerous confidential witnesses (“CWs”),

 including former GSX employees; (6) consultations with experts; and (7) other publicly available

 information concerning GSX, its business, and the allegations contained herein.         Plaintiffs

 believe that substantial additional evidentiary support exists for the allegations herein and will

 continue to be revealed after Plaintiffs have a reasonable opportunity for discovery.

                                      I.    INTRODUCTION

        1.      This is a federal securities class action against GSX, its two senior-most

 executives, and the underwriters who facilitated GSX’s entry and continued access to the public

 market in the United States, seeking damages and other legal and equitable remedies to redress

 harms caused by Defendants’ violations of Sections 11 and 12(a)(2) of the Securities Act,

 codified as amended, 15 U.S.C. §§ 77k, 77l(a)(2), Sections 10(b) and 20(a) of the Exchange Act,

 codified as amended, 15 U.S.C. §§ 78j(b) & 78t(a), and of SEC Rule 10b–5, codified as

 amended, 17 C.F.R. § 240.10b–5.

        2.      GSX is a Chinese company that offers online education classes to students in

 grades K-12 in China. GSX routinely represents that its “core expertise” is in providing K–12

 educational and after-school tutoring courses in China through an “online live large-class

 format.”




                                                  2
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 7 of 156 PageID: 334




        3.      GSX is a fraudulent company. Astoundingly, the vast majority of GSX’s student

 enrollment and revenues are simply fake. GSX falsifies at least 70% of its student enrollment

 and revenues through (among other means) the sophisticated use of “bots.” A “bot” is a software

 application that runs automated tasks, such as making a dinner reservation, adding an

 appointment to a calendar or fetching and displaying information. More advanced bots, such as

 chatbots, can simulate human conversation. GSX uses bots to enroll fake identities and social

 media accounts into its classes, to login to those classes, and even to ask questions and

 participate in the classes. GSX also uses its teachers and tutors to create false accounts to inflate

 its student enrollment. On an unprecedented scale, GSX tried to fake it until it made it.

        4.      The evidence that GSX is mostly a fake company is overwhelming and

 undeniable. First, expert analyses of GSX’s login data reveals patterns and anomalies that

 cannot arise through ordinary human login behavior—anomalies that, in the opinion of experts,

 can only plausibly be explained as bots pretending to be human students. Plaintiffs consulted an

 expert in computer science and in detection of bots who analyzed data and conclusions published

 by third-party researchers.    The expert independently concluded that, based on anomalies

 described in the data, at least 70% of GSX’s users are non-human bots. Second, numerous

 confidential witnesses independently confirm in detail that GSX Techedu’s student enrollment

 figures are grossly inflated by its use of bots to fake student users. Third, multiple public job

 postings by GSX recruited employees who had the skills necessary to “jailbreak” phones—skills

 that would be necessary to run massive cellphone based bot operations, and that would be wholly

 unnecessary for a legitimate online education company. Fourth, GSX Techedu’s too-good-to-

 be-true growth, which according to GSX’s figures vastly outpaces that of its competitors, would

 place GSX alone with Google as the fastest growing companies in the past 30 years—a




                                                  3
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 8 of 156 PageID: 335




 ridiculous conclusion given that its growth cannot be explained by any competitive advantage or

 other legitimate reason. Fifth, objective data show that GSX’s education services are not used or

 recognized consistent with the Company’s spectacular representations about its user base and

 revenues—virtually no one has heard of GSX Techedu in China. Finally, evidence makes clear

 that GSX hides its expenditures on falsifying users through bots as advertising and capital

 expenditures.

        5.       As GSX is mostly a fake company, much if not most of what GSX told investors

 constituted actionable misrepresentations under securities law.        Centrally, GSX repeatedly

 overstated the size of the growth in its student enrollment figures and its revenues and profits.

        6.       Upper management either knew that their Company was mostly fake, or were so

 astoundingly reckless in not knowing that their recklessness amounts to scienter.            Indeed,

 perhaps the strongest evidence of, at a minimum, the severe recklessness of the Company and of

 the Individual Defendants comes from their own statements. The Individual Defendants and

 other representatives of the Company specifically and repeatedly denied that they were engaged

 in inflating or “brushing” student enrollment figures and other specific conduct detailed in this

 Complaint. These specific, pointed denials of the particular fraudulent practices at issue, often in

 direct response to questions from investors, constitutes strong evidence, at a minimum, of

 recklessness. That 70% or more of the Company’s core operations were simply fake further

 supports a strong inference of scienter, as do numerous supporting allegations.

        7.       Based on its known or reckless misrepresentations about its student enrollment,

 revenue and profit figures, GSX exploded in market capitalization from around $6 billion to over

 $30 billion in only 2.5 months, an explosion totally out of line with its competitors and

 inexplicable by reference to any known competitive advantage. As the truth about GSX’s fraud




                                                  4
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 9 of 156 PageID: 336




 emerged over a series of disclosures, including disclosure of independent research revealing the

 fraud, the disclosure of an SEC investigation, and most recently reports recognizing that the

 Companies’ student enrollment and revenue figures are wildly off, GSX’s share price has fallen

 dramatically. GSX’s fraudulent, brazen gambit has cost Plaintiffs and other investors billions

 upon billions of dollars in damages.

                               II.    JURISDICTION AND VENUE

        8.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

 Act, 15 U.S.C. §§ 78j(b) & 78t(a), and Sections 11 and 12(a)(2) of the Securities Act, id. §§ 77k,

 77l(a)(2), and pursuant to the rules and regulations duly promulgated thereunder, including SEC

 Rule 10b–5, 17 C.F.R. § 240.10b–5.

        9.      This Court has exclusive subject-matter jurisdiction of all claims asserted herein

 pursuant to Section 22 of the Securities Act, 15 U.S.C. §§ 77v, Section 27 of the Exchange Act,

 id. § 78aa, and original subject-matter jurisdiction of all claims asserted herein pursuant to

 28 U.S.C. § 1331.

        10.     Venue is proper in the District of New Jersey pursuant to Section 22 of the

 Securities Act, 15 U.S.C. § 77v and Section 27 of the Exchange Act, id. § 78aa, because

 Defendants transact business in this District. Venue is also proper in this District pursuant to

 28 U.S.C. §§ 1391(b)–(d) because many of the acts and transactions that constitute the violations

 of law complained of in this Amended Complaint, including the dissemination to the public of

 materially false or misleading statements, occurred in this District.

        11.     In connection with the acts, omissions, conduct, and other wrongs alleged herein,

 Defendants, directly or indirectly, used the means and instrumentalities of interstate and foreign

 commerce, including, but not limited to, the U.S. mails, the facilities of the national securities




                                                  5
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 10 of 156 PageID: 337




 markets, through international and interstate data and wire transfers, and international and

 interstate telephonic and digital communications.

                                        III.   PARTIES

        A.     Plaintiffs

               1.      Lead Plaintiff Yang Renbin

        12.    Lead Plaintiff purchased or otherwise acquired GSX securities on the New York

 Stock Exchange (“NYSE”) during the Class Period and was thereby damaged. In addition, Lead

 Plaintiff purchased 1,500 ADSs from Deutsche Bank directly in the IPO for $12.50 per ADS, as

 stated in Lead Plaintiff’s certification and declaration attached to the Memorandum of Law in

 Support of Motion of Yang Renbin for Appointment as Lead Plaintiff & Approval of Lead

 Plaintiff’s Selection of Lead Counsel, ECF No. 7-2 (June 16, 2020).

               2.      Additional Plaintiff Robert Angeline

        13.    Additional Plaintiff Robert Angeline purchased or otherwise acquired GSX

 securities on the NYSE during the Class Period and was thereby damaged, as stated in Mr.

 Angeline’s certification and Exhibit A to Notice of Motion of Robert Angeline to Appoint Lead

 Plaintiff and Approve Lead Plaintiff’s Selection of Counsel, ECF No. 6-5 (June 16, 2020).

               3.      Additional Plaintiff Corey Hays

        14.    Additional Plaintiff Corey Hays purchased or otherwise acquired GSX securities

 on the NYSE during the Class Period and was thereby damaged, as stated in Mr. Hays’s

 certification and Schedule A, filed with this Amended Complaint as Exhibit A.

               4.      Additional Plaintiff Alexandre Tazi

        15.    Additional Plaintiff Alexandre Tazi purchased or otherwise acquired GSX

 securities on the NYSE during the Class Period and was thereby damaged, as stated in Mr. Tazi’s

 certification and Schedule A, filed with this Amended Complaint as Exhibit B.


                                                6
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 11 of 156 PageID: 338




        B.      Defendants

                1.      GSX Techedu, Inc. (“GSX,” “GSX Techedu” or the “Company”)

        16.     Defendant GSX is a Cayman Islands company limited by shares, with principal

 executive offices located at Tower C, Beyondsoft Building, 7 East Zone, 10 Xibeiwang East

 Road, Haidian District, Beijing 100193, China. The Company’s securities trade in an efficient

 market on the New York Stock Exchange under the ticker symbol “GSX.”

        17.     Defendant GSX is liable for the acts of its executives, directors, officers, and

 agents at common law and under the doctrine of respondeat superior because all the wrongful

 acts and omissions complained of in this Amended Complaint were carried out during and within

 the scope of each such person’s employment. The scienter of GSX’s executives, directors,

 officers, and agents is similarly imputed to GSX under established agency principles.

                2.      Individual Defendants

        18.     Defendant Larry Xiangdong Chen (“Chen”) is a citizen and domiciliary of the

 People’s Republic of China, founded GSX and served as GSX’s Chairman and Chief Executive

 Officer at all relevant times. Before establishing GSX in 2014, Chen was the President of GSX’s

 competitor, New Oriental Education & Technology Group, Inc. (“New Oriental”). Chen also

 holds a 35% interest in Jining Century Tangren Capital Management Co. (“Tangren Capital”),

 which holds a 50% equity interest in Jining Shende Taihe Minjian Capital Management Co.

 (“Taihe Capital”). As of January 10, 2020, neither of these companies is formally registered

 with financial regulators.

        19.     Defendant Shannon “Nan” Shen (“Shen”) is a citizen and domiciliary of the

 People’s Republic of China, and has served as GSX’s Chief Financial Officer since December

 2018. Before joining GSX, Shen was the Chief Financial Officer of China SinoEdu Co., Ltd.

 (“SinoEdu”), which specialized in English as a Learned Language (“ELL” or “ESL”) courses,


                                                 7
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 12 of 156 PageID: 339




 from November 2017 through November 2018. Between February 2012 and November 2017,

 Shen held several positions at PricewaterhouseCoopers. On April 2, 2018, during Shen’s tenure

 at SinoEdu, SinoEdu was accused publicly of failing to pay its instructors and for mishandling

 their instructors’ visa sponsorships.

        20.     All references to “Individual Defendants” in this Amended Complaint refer to

 Chen and Shen, jointly and severally.

        21.     The Individual Defendants possessed the power and authority to control the

 contents of GSX’s SEC filings, press releases, and other market communications.                The

 Individual Defendants were provided with copies of GSX’s SEC filings and press releases

 alleged herein to be misleading prior to or shortly after their issuance and had the ability and

 opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

 with GSX, and their access to material information available to them but not to the public, the

 Individual Defendants knew that the adverse facts specified herein had not been disclosed to and

 were being concealed from the public, and that the positive representations being made were

 then materially false and misleading.      The Individual Defendants are liable for the false

 statements and omissions pleaded herein.

        22.     All references to the “Exchange Act Defendants” in this Amended Complaint

 refer to GSX, Chen, and Shen, jointly and severally.

                3.      Underwriter Defendants

        23.     Defendant Credit Suisse Securities (USA) LLC (“Credit Suisse”) is a Delaware

 limited liability company doing business as a financial services company headquartered at

 Eleven Madison Avenue, New York, New York, 10010. Credit Suisse served as an underwriter

 for both the June 2019 IPO and the November 2019 SPO. As an underwriter, Credit Suisse

 assisted in the preparation and drafting of the registration statements and prospectuses filed with


                                                 8
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 13 of 156 PageID: 340




 the SEC for the offerings and first created a public market and then facilitated in making

 additional public sales of GSX ADSs during the Class Period.

        24.    Defendant Deutsche Bank Securities, Inc. (“Deutsche Bank”) is a Delaware

 corporation doing business as a financial services company headquartered at 60 Wall Street, New

 York, New York, 10005. Deutsche Bank served as an underwriter for both the June 2019 IPO

 and the November 2019 SPO. As an underwriter, Deutsche Bank assisted in the preparation and

 drafting of the registration statements and prospectuses filed with the SEC for the offerings and

 first created a public market and then facilitated in making additional public sales of GSX ADSs

 during the Class Period. As alleged below, Deutsche Bank also acted as trustee in holding the

 shares pledged by Defendant Chen to, among other financial institutions, an affiliate of

 Underwriter Defendant Credit Suisse, as security for a $50 million Margin Loan Facility.

        25.    Defendant Barclays Capital, Inc. (“Barclays”) is a Connecticut corporation doing

 business as a financial services company headquartered at 745 Seventh Avenue, New York,

 New York, 10019. Barclays served as an underwriter for the June 2019 IPO. As an underwriter,

 Barclays assisted in the preparation and drafting of the registration statements and prospectuses

 filed with the SEC for the IPO, and created a public market for, and then facilitated making

 additional public sales of, GSX ADSs during the Class Period.

        26.    Defendant BofA Securities, Inc. (“BofA”) is a Delaware corporation doing

 business as a financial services company headquartered at One Bryant Park, New York, New

 York, 10036. Bank of America served as an underwriter for the November 2019 SPO. As an

 underwriter, Bank of America assisted in the preparation and drafting of the registration

 statements and prospectuses filed with the SEC for the SPO, and created a public market for, and

 then facilitated making additional public sales of, GSX ADSs during the Class Period.




                                                9
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 14 of 156 PageID: 341




        27.    Defendant CLSA Limited (“CLSA”) is a Hong Kong limited liability company

 doing business as a financial services company with its principal place of business at 18/F, One

 Pacific Place, 88 Queensway, Hong Kong. CLSA served as an underwriter for the June 2019

 IPO. As an underwriter, CLSA assisted in the preparation and drafting of the registration

 statements and prospectuses filed with the SEC for the IPO, and created a public market for, and

 then facilitated making additional public sales of, GSX ADSs during the Class Period.

        28.    Defendant Goldman Sachs (Asia) L.L.C. (“Goldman Sachs”) is a Delaware

 limited liability company doing business as a financial services company headquartered at

 2 Queen’s Road Central, 68th Floor, Cheung Kong Center, Hong Kong. Goldman Sachs served

 as an underwriter for the November 2019 SPO. As an underwriter, Goldman Sachs assisted in

 the preparation and drafting of the registration statements and prospectuses filed with the SEC

 for the SPO, and created a public market for, and then facilitated making additional public sales

 of, GSX ADSs during the Class Period.

        29.    All references to “Underwriter Defendants” in this Amended Complaint refer to

 Barclays, BofA, Credit Suisse, CLSA, Deutsche Bank, and Goldman Sachs, jointly and

 severally.

               4.      Additional Securities Act Defendants

        30.    Defendant Xin Fan (“Fan”) is a citizen and domiciliary of the People’s Republic

 of China, and has served as an Independent Director of GSX at all relevant times. Fan signed

 GSX’s Form F-1 Registration Statement dated November 18, 2019, the offering document for

 the SPO.

        31.    Defendant Yiming Hu (“Hu”) is a citizen and domiciliary of the People’s

 Republic of China, and has served as an Independent Director of GSX at all relevant times. Hu




                                                10
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 15 of 156 PageID: 342




 signed GSX’s Form F-1 Registration Statement dated November 18, 2019, the offering

 document for the SPO.

        32.     Defendant Ming Liao (“Liao”) is a citizen and domiciliary of the People’s

 Republic of China, and has served as an Independent Director of GSX at all relevant times. Liao

 signed GSX’s Form F-1 Registration Statement dated November 18, 2019, the offering

 document for the SPO.

                             IV.   SUBSTANTIVE ALLEGATIONS

        A.      Company Background

                1.      Company Operations

        33.     GSX purports to be a technology-driven education company whose stated mission

 is to “[m]ake education better through technology.” Through the Class Period, GSX represented

 that its “core expertise” is in providing K–12 educational and after-school tutoring courses in

 China through an “online live large-class format.”

        34.     The Company represents that its K–12 courses cover various academic subjects,

 including mathematics, English, Chinese, physics, chemistry, biology, history, geography, and

 political science.   The Company also claims to provide English courses for children in

 kindergarten; and courses that help children in grade one through grade seven. In addition, GSX

 purports to offer foreign language courses comprising English, Japanese, and Korean, as well as

 English test preparation courses for students taking post-graduate entrance exams; and

 professional courses primarily for working adults preparing for professional qualification exams.

 Further, the Company says that it offers personal interest courses, such as yoga, fashion, guitar,

 and Chinese calligraphy. Additionally, GSX claims to offer other courses, including offline

 business consulting courses to enhance management skills for principals and other officers of

 private education institutions.


                                                11
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 16 of 156 PageID: 343




         35.     GSX operates “Weishi,” an interactive learning platform on WeChat through

 which it advertises and delivers its K–12 courses. “WeChat” is a widely-used Chinese multi-

 purpose messaging, social media and mobile payment app developed by Tencent Holdings Ltd.

                 2.      Company Structure

         36.     The corporate structure of GSX is complex.             However, at its core, GSX is

 effectively owned and controlled by five individuals acting through a web of off-shore proxies.

 GSX’s narrow control structure facilitates its fraudulent conduct.

         37.     In June 2014, GSX commenced operations through its variable interest entity,

 Beijing BaiJiaHuLian Technology Co., Ltd. (the “VIE”). Defendant Chen owns a 98.28%

 interest in the VIE, while non-defendant Luo Bin holds a 1.72% interest in the VIE.

         38.     Two months later, in August 2014, Defendant Chen, as the founder, along with

 the directors of seven companies organized under the laws of the British Virgin Islands (“BVI”),

 established BaiJiaHuLian Group Holdings Limited (“Old GSX”), an exempted limited liability

 company organized and existing under the laws of the Cayman Islands. In January 2019,

 BaiJiaHuLian Group Holdings, Limited changed its name to GSX Techedu, Inc.

         39.     At its founding throughout the Class Period, GSX’s ownership structure was as

 follows:

                 (a)     51.1%: Ebetter International Group Limited, a BVI company ultimately

 owned by The Better Learner Trust, a revocable self-settled asset protection trust established

 under the laws of the Cayman Islands, of which Defendant Chen was the settlor and beneficiary,

 and of which Cantrust (Far East) Limited was the nominal trustee. Defendant Chen had full

 authority to direct the trustee as to the retention or disposal of all assets in the trust.

                 (b)     48.9%: BaiJiaHuLian Co., Ltd., a BVI company owned by: (1) Huai

 Yuan Group Limited, a BVI company; (2) Su Wei Group Limited, a BVI company; (3) Jenny &


                                                     12
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 17 of 156 PageID: 344




 Jerry International Limited, a BVI company; (4) Rolancy International Limited, a BVI company;

 and (5) Super Energy Global Limited. Since the Company’s founding and throughout the Class

 Period, Defendant Chen was the Director of BaiJiaHuLian Co., Ltd.

         40.   At its founding and throughout the Class Period, GSX’s individual shareholders

 were:

               (a)     Defendant Chen, the sole owner and director of Ebetter International

 Group Limited;

               (b)     Zhang Huaiting, a citizen and domiciliary of China, the ultimate owner,

 sole director, and only employee of Huai Yuan Group Limited;

               (c)     Su Wei, a citizen and domiciliary of China, the ultimate owner, sole

 director, and only employee of Su Wei Group Limited;

               (d)     Li Gangjang, a citizen and domiciliary of China, the ultimate owner, sole

 director, and only employee of Jenny & Jerry Limited; and

               (e)     Luo Bin, a citizen and domiciliary of China, the ultimate owner, sole

 director, and only employee of Super Energy Global Limited.

         41.   GSX has routinely redacted from its SEC filings the schedules detailing the

 precise percentage of each individual shareholder’s equity interest in GSX, pursuant to a

 provision in the Company’s Amended and Restated Shareholders Agreement dated March 15,

 2019, which provides in part that “all exhibits attached” to said Agreement, “including their

 existence, shall be considered confidential information and shall not be disclosed by any party

 [to the Agreement] to any third party,” including SEC and United States investors.




                                                13
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 18 of 156 PageID: 345




        42.    At its founding and throughout the Class Period, GSX’s full equity structure was

 as follows:




        43.    The Company operates in China through an arrangement with its wholly foreign-

 owned enterprise, BaiJiaHuLian HK Holdings Limited (the “WFOE”), based in Hong Kong. In

 China, the VIE oversees the following 17 subsidiaries, each of which is wholly owned or fully

 controlled by the Company:




                                              14
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 19 of 156 PageID: 346




        44.    In the IPO documents, the SPO documents, and in its 2019 20-F, GSX disclosed

 the following ownership structure:




                                            15
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 20 of 156 PageID: 347




        45.    Chengdu Economic Daily, holds a controlling ownership interest in Chengdu

 Jingmiao Education Technology Corporation. Additionally, during the Class Period, Anhui

 Xinhua Educational Book Publishing Co., Ltd. held a majority ownership interest in Anhui

 Wanxin Genshuixue Education Technology Co. Ltd.. Defendant Chen held a 10% ownership

 interest in Beijing Youlian Huanqiu Education Technology Co., Ltd.




                                              16
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 21 of 156 PageID: 348




                3.     Company Leadership

        46.     Defendant Chen is GSX’s Founder, Chairman, and Chief Executive Officer.

 Before establishing GSX in 2014, Chen was the President of GSX’s competitor, New Oriental

 Education & Technology Group, Inc. (“New Oriental”). Chen also holds a 35% interest in Jining

 Century Tangren Capital Management Co. (“Tangren Capital”), which holds a 50% equity

 interest in Jining Shende Taihe Minjian Capital Management Co. (“Taihe Capital”). As of

 January 10, 2020, neither of these companies was formally registered with financial regulators.

        47.     Defendant Shen is GSX’s Chief Financial Officer, a role she assumed in

 December 2018. Before joining GSX, Shen was the Chief Financial Officer of China SinoEdu

 Co., Ltd. (“SinoEdu”), which specialized in English as a Learned Language (“ELL” or “ESL”)

 courses, from November 2017 through November 2018. Between February 2012 and November

 2017, Shen held several positions at PricewaterhouseCoopers. On April 2, 2018, during Shen’s

 tenure at SinoEdu, SinoEdu was accused publicly of failing to pay its instructors and for

 mishandling their instructors’ visa sponsorships.

                4.     GSX’s Revenue Is Based Primarily on Its K-12 Student Enrollments

        48.     Throughout the Class Period, GSX has routinely stated that its revenues are

 directly attributable to, and depend in significant part upon, recruiting new students and

 generating enrollments. During each earnings call and in each quarterly report that GSX issued

 throughout the Class Period, the Company attributed the reported increases in net revenue to

 corresponding increases in paid course enrollments.

        49.     For example, during a teleconference with investors to report 2Q2019 earnings on

 August 22, 2019 at 12:00 GMT, Defendant Shen stated: “Net revenue from our K–12 courses

 increased by 467.3% to ¥270.3 million and accounted for 76.4% of net revenues, increasing




                                                 17
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 22 of 156 PageID: 349




 from 69.6% in the same period of 2018. This revenue growth was primarily driven by increase

 in paid course enrollments and K–12 students[’] tuition fees.”

        50.    On a Form 6–K reporting 2Q2019 earnings, dated August 23, 2019 and signed by

 Defendant Shen, the Company stated:

        Net revenues reached ¥353.7 million, a 413.4% increase from ¥68.9 million in the
        second quarter of 2018. The increase was mainly driven by the higher level of
        tuition fees we charged our K–12 students and the growth in paid course
        enrollments in our K–12 courses.

        51.    During a teleconference with investors to report 3Q2019 earnings on November 5,

 2019 at 13:00 GMT, Defendant Shen stated:

        Net revenue from our K–12 courses increased by 526% year-over to ¥459 million
        and accounted for 82% of net revenues. The net revenue contribution from K–12
        courses has increased for 5 consecutive quarters and will continue to be our main
        source of revenue going forward. The revenue increase was primarily driven by
        increase in paid course enrol[l]ments and the K–12 students’ tuition fees.

        52.    On a Form 6–K reporting 3Q2019 earnings, dated November 7, 2019 and signed

 by Defendant Shen, the Company stated:

        Net revenues reached ¥557.0 million, a 461.5% increase from ¥99.2 million in the
        third quarter of 2018. The increase was mainly driven by the growth in paid
        course enrollments for K-12 courses and a higher level of tuition fees that were
        charged to K-12 students.

        53.    During a teleconference with investors to report 4Q2019 and Fiscal Year 2019

 earnings on February 18, 2020 at 13:00 GMT, Defendant Shen stated: “Net revenue from our K–

 12 courses increased by 468% year-over-year to ¥773 million and accounted for 83% of net

 revenues. The proportion of K–12 net revenue has increased for 6 consecutive quarters, and will

 continue to be our main source of revenue going forward.”

        54.    On a Form 6–K reporting 4Q2019 and Fiscal Year 2019 earnings, dated February

 19, 2020 and signed by Defendant Shen, the Company stated:




                                                18
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 23 of 156 PageID: 350




        Net revenues reached ¥935.0 million, a 412.9% increase from ¥182.3 million in
        the fourth quarter of 2018. The increase was mainly driven by the growth in paid
        course enrollments for K-12 courses.

        55.     Also on the Form 6–K dated February 19, 2020 and signed by Defendant Shen,

 the Company stated:

        Net revenues reached ¥2,114.9 million, a 432.3% increase from ¥397.3 million in
        2018. The increase was mainly driven by the growth in paid course enrollments
        for K-12 courses and a higher level of tuition fees that was charged to K-12
        students.

        56.     During a teleconference with investors to “address market concerns” on April 9,

 2020 at 11:00 GMT, Defendant Shen stated: “[E]nrollment happens spontaneously when we

 receive the cash.”

        57.     During a teleconference with investors to report 1Q2020 earnings on May 6, 2020

 at 12:00 GMT, Defendant Shen stated:

        Net revenue from our K–12 courses mainly offered through 2 brands, Gaotu
        Ketang and Genshuixue, increased by 448% year-over-year to ¥1.12 billion and
        accounted for 86% of net revenues. Net revenue from K–12 segment has
        continuously grown by over 400% year-over-year, and we expected the
        proportion of K–12 revenue will continue to expand as our main source of
        revenue.

        58.     Also during the teleconference with investors May 6, 2020 at 12:00 GMT,

 Defendant Shen stated that GSX’s “K–12 revenue growth has exceeded 400% each quarter since

 we went public.” Defendant Shen also stated: “The continued growth of gross billings from

 new paid enrollments also explains why our revenue is consistently able to increase both on a

 year-over-year and quarter-over-quarter level.”

        59.     On a Form 6–K reporting 1Q2020 earnings, dated May 7, 2020 and signed by

 Defendant Shen, the Company stated:

        Net revenues reached ¥1,297.6 million, a 382.0% increase from ¥269.2 million in
        the first quarter of 2019. The increase was mainly driven by the growth in paid
        course enrollments for K–12 courses.


                                                   19
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 24 of 156 PageID: 351




        60.     During a teleconference with investors to report 2Q2020 earnings on September

 2, 2020 at 12:00 GMT, Defendant Chen stated: “[T]he paid course enrollments that we attracted

 in the second quarter laid a solid foundation for net revenue growth in the third and fourth

 quarters.” During the same teleconference, Defendant Shen stated: “Net revenues from our K–12

 courses, mainly offered through 2 brands, Gaotu Ketang and Genshuixue[,] increased by 412%

 year-over-year to ¥1,385 million and accounted for 84% of net revenues.”

        61.     On a Form 6–K reporting 2Q2020 earnings, dated September 2, 2020 and signed

 by Defendant Shen, the Company stated:

        Net revenues reached ¥1,650.3 million, a 366.6% increase from ¥353.7 million in
        the second quarter of 2019. The increase was mainly driven by the growth in paid
        course enrollments for K–12 courses. The number of online K-12 paid course
        enrollments increased 366.0% year-over-year to 1,496 thousand, which was
        contributed by both first-time paid course enrollments and retention of existing
        students.

        62.     As the foregoing examples demonstrate, GSX has represented consistently that

 the revenues generated from its K–12 course enrollments accounted for over 80% of all net

 revenues for the Company throughout the Class Period.

        63.     As alleged in detail below, GSX did not disclose that it falsified more than 70% of

 its reported K-12 course enrollment numbers throughout the Class Period. First, the Company

 recruited and hired engineers to program “bots” that “purchased” enrollments in courses.

 Second, the Company contracted with third parties, paying them commissions to generate fake

 enrollments.   Pursuant to these arrangements, the third parties also used “bots” to falsify

 hundreds of thousands of fake student enrollments for a sizeable fee. Third, the Company paid

 its teaching staff—instructors and tutors—to generate fake enrollments. Fourth, although the

 Company offered free or discounted courses to students, the “bots” whose activities accounted




                                                20
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 25 of 156 PageID: 352




 for more than 70% of GSX’s K–12 student enrollments during the Class Period registered for

 regular-priced courses.

        64.     Accordingly, as the revenues generated from its K–12 course enrollments

 accounted for over 80% of all net revenues for the Company throughout the Class Period and as

 over 70% of those enrollments were falsified, the Company falsified over half of its total

 revenues throughout the Class Period.

        B.      The Company Has Repeatedly Falsified More than 70% of Its K-12 Student
                Enrollment and More Than Half of Its Revenues

                1.     Expert Analysis of Anomalies in the Company’s Course Login Data
                       Shows that 70% of the Company’s Students Are “Bots”

        65.     Dr. Craig Knoblock is an expert in computer science and “bots.” He is the Keston

 Executive Director of the Information Sciences Institute, Research Professor of Computer

 Science & Spatial Science, and Vice Dean of Engineering at the University of Southern

 California and the co-founder and chief scientist of Fetch Technologies, a bot-driven data mining

 enterprise. He is a Fellow of the Association for the Advancement of Artificial Intelligence and

 the Association of Computing Machinery. In the past, Dr. Knoblock’s research has centered on

 examining and establishing techniques for describing, acquiring, and exploiting the semantics of

 data through, among other things, source modeling, schema alignment, ontology alignment,

 entity linking, data cleaning, information extraction, and web data extraction. Dr. Knoblock has

 authored more than 400 peer-reviewed journal articles, book chapters, and conference and

 workshop papers. From 2007 through 2015, Dr. Knoblock served as Trustee of the International

 Joint Conferences on Artificial Intelligence; as President of the International Joint Conferences

 on Artificial Intelligence from 2011 through 2013; and as Past President of the International Joint

 Conferences on Artificial Intelligence from 2013 through 2015. On July 29, 2014, he was

 awarded the Robert S. Engelmore Memorial Lecture Award from the Association for the


                                                 21
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 26 of 156 PageID: 353




 Advancement of Artificial Intelligence. In his role as chief scientist at Fetch Technologies, Dr.

 Knoblock developed systems that make extensive use of bots to mine data from websites. In

 perfecting such systems, Dr. Knoblock has developed and employed techniques to avoid

 automatic bot detection by, among other things, making the bots act more like humans. Plaintiffs

 have consulted with, and base their allegations in part on, the expert factual analyses of, Dr.

 Knoblock.

        66.     Plaintiffs engaged Dr. Knoblock to conduct an independent assessment of user

 login data published by the research firm Muddy Waters and of conclusions Muddy Water’s

 drew from these data in Muddy Waters May 18 and 28, 2020 published research reports.

        67.     Dr. Knoblock analyzed sign-in statistics from data taken by Muddy Waters from

 Genshuixue and Gaotu users, and concluded from this data that it is highly likely that 70% or

 more of GSX Techedu’s purported sign-in records are not from human students, but are instead

 records generated by “bots” signing in to the classes automatically. In reaching his conclusion,

 Dr. Knoblock reviewed the data analyses detailed in the May 19 and May 28, 2020 reports by

 Muddy Waters. Dr. Knoblock took the facts and data as stated in these reports to be true (they

 are), and reached his conclusions independently based on those facts.

        68.     According to Dr. Knoblock and Muddy Waters, four anomalies appear in the

 Company’s class login data that are best explained by the Company’s systematic use of bots to

 falsify student logins. First, more than half of users joined the classes at the exact same second

 prior to the start of class on different weeks (“Same-Second, Different-Week” joiners) (or they

 can be linked to one of these users by either joiner at the same time or from the same IP address).

 For example, a student who joined a class at 1:22:38PM on one week, and then joined at

 1:22:38PM one or more different weeks is a Same-Second, Different-Week joiner. Second,




                                                 22
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 27 of 156 PageID: 354




 nearly one-third of students logged into the classes using the same IP address a teacher or tutor

 used (“Student-with-Teacher-IP” joiners). As GSX has no physical classrooms where devices

 could be shared in person, that one-third of students should share the same IP address as a

 teacher can only be explained by teachers and tutors logging in pretending to be students on their

 phones or computers using bot software. Third, large groups of users routinely join at the same

 second more than five minutes before or after the start of a class (“Burst” joiners). These bursts

 often take place in the midst of little or no other joining activity. These bursts are best explained

 as cell phones in bot farms signing on automatically in tandem as fake students. Fourth, nearly

 one in seven users login to online classes implausibly early—thirty minutes or more before the

 start of class. While one might expect, for various unusual reasons, that one or two students in a

 large class might log in this early, that one in seven students would log in more than thirty

 minutes before class defies the experience of anyone familiar with student life.

        69.     Muddy Waters found that these anomalies alone are associated with greater than

 70% of the users. Dr. Knoblock likewise concluded that the four anomalies are associated with

 at least 70% of the users, such that at least 70% of the students purporting to login to GSX

 classes are highly likely, and certainly more likely than not, to be fake—according to Dr.

 Knoblock, at least 70% of the logins are best explained as bots rather than human users.

        70.     The data Muddy Waters’ used in its analysis were 463,217 sign-on records for

 54,065 Genshuixue and Gaotu users across more than 200 paid K-12 classes in the first half of

 2020. Muddy Waters gathered the data included in its reports from publicly accessible sources.

 Gathering data from Gaotu100.com and Genshuixue.com required separate approaches. The

 Genshuixue.com platform has both a website and a desktop application that students can use.

 Once a user signs up and logs in, the user opens Google Chrome Developer tools, turns on the




                                                  23
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 28 of 156 PageID: 355




 Network tab, switches to XHR and sees data being passed between the browser and the

 Genshuixe.com website. Inside of this data there is a wealth of information including archives of

 every class session purchased. This data was used to perform analyses of bot activity on both

 platforms.

        71.     Gaotu100.com is very similar in design and functionality to Genshuixue and

 shares domain names and resources with Genshuixue.              After setting up an account and

 purchasing classes, some data in the browser becomes available to the user, and this data was

 included in the analyses. Additional data was gathered after installing the Gaotu100.com app on

 a phone and configuring the device to send data through an intercepting HTTP proxy. This

 method enabled collection of messages and data between the phone and the GSX servers, and

 revealed the path to the class data archives. After locating the class archives, the files for each of

 the purchased classes were downloaded and examined. The files included extensive information

 about the users including: User Number, Name, Alternate Name, Avatar, User Type (0,1,2),

 Course ID and/or Class ID (Gaotu only has Class ID’s), Class Join and Exit Times, and IP

 address.

        72.     The samples included over 200 paid K-12 classes purchased between January and

 March 2020, almost equally divided between Gaotu100.com and Genshuixue.com. The sample

 was randomly chosen, within these constraints. The classes spanned K-12 grade levels and

 subject matter. In total, the data set included 463,217 logins made by 54,065 unique users

 (students, tutors, and teachers). Gaotu was busier, accounting for approximately two-thirds of

 the logins.

        73.     Notably, the class data include User Numbers (which are also displayed in the

 class attendance records) and User Types.         By cross referencing the class data with data




                                                  24
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 29 of 156 PageID: 356




 displayed in teacher and tutor pages on genshuixue.com, it can be determined that 100% of the

 teachers listed on the genshuixue.com were marked as Type 1 users, and 100% of the tutors

 listed on genshuixue.com were marked Type 2. As all Type 1 and 2 users are teachers or tutors,

 Type 0 records are student users. In this way, users may be identified as students, teachers or

 tutors. The dataset of users contained 29 Type 1s (teacher), 371 Type 2s (tutor), and 53,694

 unique Type 0s.

                       a.      “Same-Second, Different-Week” Joiners

        74.     First, over half (52.8%) of the unique users in the sample were identified as bots

 because they are Same-Second, Different-Week Joiners, or are linked to them. Same-Second,

 Different-Week Joiners are users who join a class at same time—to the second—on the same day

 of at least two different weeks, and the users linked to them. Dr. Knoblock has opined that

 probability of such a precise login happening two or more times for a single user in a single

 course is extremely low. In addition to the natural variability in the time at which a (human) user

 logs in, there are moment-to-moment differences in the way internet traffic and data within

 GSX’s own network flow that make logging in at the same precise second one or more weeks

 apart extremely unlikely unless attempted repeatedly through automation.           Muddy Waters

 provided a useful analogy: the phenomenon evidenced by Same-Second, Different-Week joiners

 is similar to a weekly flight from City A to City B touching down two or more times at exactly

 the same second.

        75.     Within the dataset of 54,065 unique users, Muddy Waters found 5,742 users

 (10.6%) whose logins record this Same-Second, Different-Week joining phenomenon. Note also

 that 100% of these Same-Second, Different-Week Joiners exhibited at least one of the other bot

 behaviors discussed below.




                                                 25
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 30 of 156 PageID: 357




         76.     While most Same-Second, Different-Week Joiners recorded only one same-

 second, different-week join (two different occasions with log-ins at the same second), 1,261

 (21.6%) unique Same-Second, Different-Week Joiners recorded a same-second, different-week

 join on two or more occasions.




         77.     These Same-Second, Different-Week Joiners are linked to 33,145 additional users

 who share the same distinct IP address and users who joined classes at the exact same moment

 (often as part of large bursts). After subtracting 10,342 duplicates, there are 28,545 total users

 (52.8%) that are Same-Second, Different-Week Joiners or linked to them, and so are likely on

 this basis to be bots.




                          b.   Student-with-Teacher-IP Joiners

         78.     Second, “Student-with-Teacher-IP Joiners” may be defined as purported student

 users that use the same IP address as a teacher or tutor. An IP address is a numerical label

 assigned to each unique device connected to a computer network that uses the Internet Protocol.


                                                26
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 31 of 156 PageID: 358




 Each IP address is associated with, for example, a single connected cell phone or laptop

 computer. 15,239 purported student users (28.2%) in the dataset logged into classes using the

 same IP address as a teacher or tutor on at least one occasion. As GSX has no physical

 classrooms where devices could be shared in person, that one-third of students should share the

 same IP address as a teacher can only be explained by teachers and tutors logging in as students

 on their phones or computers using bot software. Adding Student-with-Teacher-IP Joiners to the

 count of unique users highly likely to be bots brings the total to 34,534 users, or 63.9%, after

 eliminating duplicate unique users.

        79.     Another 1,364 unique users are linked through shared IPs to these Student-with-

 Teacher-IP Joiners, bringing the total percentage of unique users identified this way to 16,603,

 which is 30.7%. In the dataset, there are 10,614 Student-with-Teacher-IP Joiners (63.9%) that

 are also Same-Second, Different-Week Joiners. Almost two-thirds of Student-with-Teacher-IP

 Joiners are also Same-Second, Different-Week Joiners, which reinforces the conclusion that

 these users are bots.




                         c.    Burst Joiners

        80.     Third, large groups of users routinely join at the same second, in “bursts,” more

 than five minutes before or after the start of a class (“Burst Joiners”). These bursts often take




                                                27
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 32 of 156 PageID: 359




 place in the midst of little or no other joining activity. These bursts are caused by cell phones in

 bot farms signing on automatically in tandem as fake students.

         81.     The Burst Joiner pattern for a given class can be visualized in a graph on which

 the vertical Y axis is time, broken into increments of one second, and the horizontal X axis is the

 number of unique user joining at that second. The horizontal white line represents the second at

 which the class started—joining below the white line occurred after the start of class. Bursts of

 joining activity appear on the graph as three long horizontal lines, marked 1, 2, and 3. The data

 for the graph below comes from a class for a paid upper grade elementary school math course on

 the GSX platform that runs over several months. The below pattern is typical of the pattern for

 joining in classes in the dataset.




         82.     In Burst 1, 104 unique users joined during a four second period that began nine

 minutes 40 seconds before the start of class.

         83.     To be conservative, Muddy Waters’ analysis did not count bursts that occurred

 five minutes before class started through five minutes after class started, unless the logins

 exhibited some other bot behavior (including being a Same-Second, Different-Week Joiner).

 Accordingly, Muddy Waters largely excluded Burst 2 from its analysis.




                                                 28
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 33 of 156 PageID: 360




         84.     Although Burst 3 occurs at four minutes seven seconds after class starts (within

 the five minute window), these joiners are counted as bots because during this three second

 window, among the 96 stragglers were three Same-Second, Different-Week Joiners that joined

 this particular class at the same second.

         85.     In a public press release, GSX Techedu attempted to explain away Burst Joiners.

         GSX's business, which focuses on online live large classes, splits a large class
         with one instructor into smaller groups with multiple tutors. Burst joiners are
         caused when classes transition from tutors to instructors, which is a typical course
         procedure. Typically, a tutor offers a prep session before a paid class to warm up
         students with games and quizzes. When the formal class starts, the tutor will
         transition all his or her students from the small groups to the instructor's large
         class, and the instructor takes over. If a tutor fails to do so in time, the system
         will automatically switch classes for students, usually around the class start times,
         thus causing large groups of users to join classes at the same time.

         86.     Plaintiffs do not allege, and affirmatively deny, that the statements made by GSX

 in the above paragraph are accurate representations of its business or practices.

         87.     Dr. Knoblock has opined that Burst Joiners cannot be explained by reference to

 purported simultaneous automatic switching over of users from tutorial prep sessions to a main

 class when the class begins. According to Dr. Knoblock, as the dataset shows, many of these

 joiners occur after the class has started, and only a very poorly designed automated bot would

 transition students from a tutorial prep session to a main class after the class has begun.

         88.     Moreover, Muddy Waters analyses specifically excluded users who joined within

 five minutes before or after the start of a class, unless other data indicated that the users were

 bots. Dr. Knoblock has opined that routine bursts of joiners well before the start of a class (more

 than five minutes) cannot plausibly be explained by any purported automated switching of users

 from tutorial prep sessions to a main class when the class starts because it is implausible that

 software engineers would design such automated switching to occur more than five minutes prior

 to the start of class, and for it to occur at different times for different tutors.


                                                     29
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 34 of 156 PageID: 361




        89.     Dr. Knoblock has opined that GSX’s claim that automatic switching from tutorial

 prep sessions to the main classes explains Same-Second, Different-Week Joiner is also wrong.

 In a Chinese WeChat response to the Muddy Waters report, GSX stated that if a tutor has not

 switched the small class over by the start time of the large class, the system will automatically

 perform the switch. However, only 5,742 unique users were Same-Second, Different-Week

 Joiner, which was 10.6% of the sample. GSX states that such small class to large class switches

 are “typical”, and that there is an automatic switch for tutors that fail to switch by the class start

 time. If GSX’s explanation were accurate, then any student whose tutor failed to switch the class

 over by its start for at least two of their classes would be a Same-Second, Different-Week Joiner.

 They would account for far more than 10.6% of the sample.

                        d.      Early Joiners

        90.     Fourth, nearly one in seven users login to online classes implausibly early—thirty

 minutes or more before the start of class (“Early Joiners”). These Early Joiners are very likely to

 be bots. While one might expect, for various unlikely reasons, that one or two students in a large

 class might on occasion log in this early, that one in seven students in every class would log in

 more than thirty minutes before class begins defies the experience of anyone familiar with

 student life or online meetings in general. For example, to log into a Zoom videoconference

 more than 30 minutes early would be highly unusual.

        91.     The total number of unique Early Joiners in the sample was 7,579 (14.0%), of

 which 3,676 (48.5%) exhibited at least one of the other assumed bot behaviors, which reinforces

 the value of early joining as an indicator of bots. After eliminating the duplicates from other

 categories of anomalies, there were 3,903 (7.2%) unique Early Joiners. If users that share Early

 Joiner IP addresses with Early Joiners are included, there are a total 4,143 unique Early Joiners

 (7.7%) in the dataset that do not exhibit additional bot behavior.


                                                  30
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 35 of 156 PageID: 362




        92.     Dr. Knoblock has opined that Early Joiners cannot be explained as students

 logging into tutorial prep sessions that take place before the start of a class, as the login data in

 Muddy Waters’ dataset is login data for main classes rather than tutorial sessions.

        93.     Students enrolled in GSX are not likely to differ markedly from other Chinese

 students (or students in any classroom globally with which Plaintiffs are familiar) who do not

 exhibit this behavior of logging in or arriving to a class en masse half an hour early. The most

 plausible explanation is that these logins are not from humans, but rather from bots.

                        e.      Combined, These Analyses Show that at least 70% or More of
                                the Companies’ Users Are Bots

        94.     Muddy Waters found that these anomalies alone are associated more than 70% of

 the users. That is, under Muddy Waters analysis, more than 70% of the students purporting to

 login to GSX classes are highly likely, and certainly more likely than not, to be fake.




        95.     Dr. Knoblock reached the same conclusion after independently reviewing Muddy

 Waters’ data. Dr. Knoblock concluded that the four anomalies are associated with at least 70%

 of the users, such that at least 70% of the students purporting to login to GSX classes are highly

 likely, and certainly more likely than not, to be fake—according to Dr. Knoblock, at least 70% of

 the logins are best explained as bots rather than human users.


                                                  31
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 36 of 156 PageID: 363




          96.     Accordingly, more than 70% of GSX user logins are bots rather than human users

 and are falsified.

                  2.     Multiple Confidential Witnesses2 Confirm in Detail that GSX
                         Techedu’s Customer Base is Grossly Inflated by Its Use of Bots and
                         Other Methods to Falsify Student Enrollments

                         a.       CW-1

          97.     Confidential Witness 1 (“CW-1”), a former GSX “Android Engineer” who

 worked at GSX’s Beijing headquarters in the “Sales and Marketing” department from

 approximately April 10, 2019 through approximately June 20, 2020, has firsthand knowledge of

 GSX’s rampant use of bots to falsify student accounts and to use those accounts log into classes

 at specified times. According to CW-1, the accounts also were used to write positive reviews

 about the courses.

          98.     According to CW-1, the Beijing headquarters consists of dozens of “mobile phone

 rooms,” each packed with shelves of “many thousands” of mobile devices. GSX employs, and

 actively recruits, hundreds of engineers at the Beijing headquarters, “unlike any ordinary

 education company.” CW-1 was paid directly by GSX to “brush” course enrollments.

          99.     CW-1’s role as an “Android Engineer” was twofold. She spent about one-quarter

 of her time harvesting user data from private WeChat accounts to be used to set up fake student

 enrollment accounts.         The other three-fourths of CW-1’s time was devoted to “reverse

 engineering codes” for Android mobile devices, and then reprogramming such devices with the

 codes that CW-1 generated. After programming a given device with a given code, it would

 execute specified commands automatically. Most devices were set up with the user data that

 CW-1 harvested from WeChat accounts and were programmed with bots that would


 2
     To protect their anonymity, all Confidential Witnesses are ascribed feminine pronouns.


                                                  32
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 37 of 156 PageID: 364




 automatically open WeChat with the stolen user data, enroll in GSX’s promotional courses, log-

 in to the classes at specified times, and then write positive reviews about the courses. A smaller

 number of devices were programmed to open WeChat and then send thousands of

 advertisements for GSX courses to random WeChat account users, others were programmed to

 “contact students” through WeChat, while still others “taught classes” on GSX’s Weishi

 platform.

        100.    According to CW-1, some of the Sales and Marketing personnel, including fellow

 “engineers,” also taught classes but did not have teaching credentials.

                        b.     CW-2

        101.    Confidential Witness 2 (“CW-2”) is a former GSX an engineering manager who

 worked at GSX’s Beijing headquarters beginning in 2015, and has direct knowledge of all three

 ways in which GSX falsified student enrollment figures. In her role as engineering manager,

 CW-2 directly supervised software engineers.

        102.    According to CW-2, GSX began using bots to “brush” enrollments in 2015. In

 that year, GSX had “few students,” but GSX “want[ed] the teachers to feel that there were

 many.” In a class of “just five students,” for example, GSX would enroll “500” bot-generated

 users, “letting the traffic volume become very big” so that the students and teachers would “feel

 that the platform’s volume was huge.”

        103.    CW-2 explained that, to accomplish this, throughout the Class Period GSX’s

 engineers installed a software known internally as “Group Control” through which GSX

 instructors and tutors remotely manipulated and programmed the behavior of registered student

 accounts. These accounts ran the software applications that other engineers, such as CW-2,

 installed on thousands of mobile phone devices, which became bot-controlled devices that GSX

 operated from its headquarters. According to CW-2, each of these bot-controlled devices is


                                                 33
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 38 of 156 PageID: 365




 assigned to a registered mobile phone number, and GSX’s engineers assigned to each bot-

 controlled device a WeChat account number (which, in China, must be linked to a real person)

 and then programmed the bot-controlled device with the “Group Control” software and several

 other codes. When executed, these other codes caused the bot-controlled devices to purchase

 course enrollments, sign into and out of classes, create new student accounts, and send messages

 to other students, tutors, and instructors.

         104.    According to CW-2, more than half of the office space at GSX’s Beijing

 headquarters is occupied with servers, each of which controls approximately 1,000 bot-

 controlled devices. According to CW-2:

         GSX itself has a room, in this computer room there are over 10,000 machines, we
         call them the group robots, which is used to control [the operation]. One person
         can control about 1,000 cell phones without a problem, and these can be operated
         remotely or from the room, I can control all of the machines. Then I can imitate
         the data generated by a real student or real buying, this is already a very mature
         technology.

         105.    Specifically, GSX’s instructors and tutors used “Group Control” to program the

 Bot-Controlled Devices’ general rates and patterns of attendance over the course of a semester

 (“personality traits”), and to manipulate the Bot-Controlled Devices’ rates and patterns for each

 course session (“behaviors”).

         106.    In addition to her knowledge of GSX’s use of bots to falsify student enrollments

 and activity, CW-2 also has knowledge of GSX’s two other two additional brushing schemes.

 First, as explained further by CW-3, GSX contracts with third-party brushing firms to brush its

 enrollment figures further. In this scheme, CW-2 explained that she “would sign a contract with

 [the third-party brushing company], I would put ¥1,000,000 into ads, and [the third-party

 brushing company] would promise me, for example, that 2%, that [the third-party brushing

 company] can keep ¥20,000” as “commission.” In this scenario, according to CW-2, the third-



                                                34
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 39 of 156 PageID: 366




 party brushing company was required to use the remaining ¥980,000 to purchase GSX’s class

 with “virtual cell numbers or WeChat account numbers.” GSX reported these enrollments as

 “revenues” and reported the commissions as sales and marketing expenses. Depending on the

 number of enrollments a given third-party brusher could fabricate, the commissions ranged

 between two and five percent of the course’s tuition price. Other third-party brushers specialized

 in fabricating attendance data for GSX, according to CW-2.

         107.   In a third scheme, as corroborated by CW-4, GSX paid instructors and tutors to

 brush sales. CW-2 recalled she entered contracts with certain of the Company’s instructors and

 tutors, pursuant to which GSX agreed to promote their courses with “ads” and other promotional

 materials in exchange for the instructors’ and tutors’ agreements to purchase fake enrollments.

 In this scenario, GSX advanced the instructors and tutors “¥1,000,000,” which the instructors

 and tutors used to purchase enrollments. The Company’s instructors and tutors were motivated

 to do so, CW-2 explains, because the Company promoted their courses on the “platform-run

 ads.”   Although no financial consideration was exchanged, this tit-for-tat “commission” or

 “payment” induced several instructors and tutors to participate in this scheme.

                       c.      CW-3

         108.   The Company falsified student enrollments, including student enrollments in

 regularly priced courses, using third parties, according to Confidential Witness 3 (“CW-3”), who

 also has first-hand knowledge of GSX’s pervasive “brushing” activities.

         109.   CW-3 was employed by a third-party brushing firm in Beijing from January 1,

 2019 through December 31, 2019. In this role, she was regularly paid commissions by GSX to

 enroll in GSX’s courses with fake or assumed identities and to write positive reviews. CW-3

 explains that “GSX management” had a contract with this third-party brusher, pursuant to which

 CW-3 and her colleagues would assume the identities of “and conduct activities as if [they] were


                                                 35
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 40 of 156 PageID: 367




 real students.” CW-3 would “buy classes, write positive reviews, and join in the large classes to

 boost up [GSX]’s head counts” with harvested user data from various social media platforms,

 including WeChat. According to CW-3, in 2019, the third-party brusher’s employees, including

 CW-3, accounted for approximately 40% of all enrollments in GSX’s K–12 courses, and wrote

 approximately 35% of the positive reviews for GSX’s K–12 instructors. That is, the third-party

 for which CS-3 worked falsified approximately 40% of all enrollments in GSX’s K–12 courses

 in 2019. GSX paid the third-party brusher ¥50 per enrollment.

        110.    GSX planned its third-party brushing months in advance. Each quarter, GSX

 prepared and sent a “detailed brushing plan” to the third-party brusher. These plans specified the

 dates, times, course titles, tuition rates, and instructors for whom the third party was to focus its

 brushing efforts. CW-3 and her colleagues referenced and used these plans daily to ascertain the

 GSX courses in which to enroll and then attend, and the GSX instructors about whom to write

 positive reviews.

        111.    As part of the scheme, when the Company sent its brushing plans to the third-

 party each quarter, GSX concurrently transferred the full amount of the tuition fees, together

 with commissions, for the agreed-upon fake enrollments.          Thus, each time CW-3 and her

 colleagues enrolled a fake student in one of GSX’s courses, GSX was not generating new

 revenue or acquiring any customers. Instead, the Company was paying the third-party brusher to

 generate fake student enrollments.

                        d.      CW-4

        112.    GSX also forced its sales employees to falsify student enrollments. Confidential

 Witness 4 (“CW-4”), a former GSX employee, worked within GSX’s “Sales and Marketing”

 department as a “Course Consultant” for the VIE in Zhengzhou, China from June 2019 through

 January 2020. In this role, CW-4’s official job duties were to solicit potential customers and to


                                                  36
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 41 of 156 PageID: 368




 generate enrollments for GSX’s high school courses offered by GSX’s Gaotu Classroom brand.

 CW-4 also assisted GSX’s instructors with selling their courses to potential students and

 “converting” students enrolled in promotionally priced courses to regular-priced courses. CW-4

 has first-hand knowledge of GSX’s pervasive enrollment “brushing” activities, and her account

 makes clear that the Company’s brushing activities were not limited to its Beijing headquarters.

 CW-4 reported to the Gaotu-Zhengzhou Sales Manager, who reported to the Gaotu Sales

 Director.

        113.    CW-4 worked at “Zhengzhou Center,” a property that the Company acquired in

 July 2019 for ¥75 million—the same property that Defendant Chen would later represent to

 investors that GSX “purchased” for ¥320 million in January 2020. According to CW-4, when

 the Zhengzhou Center was established in July 2019, a team of “10–20 people” occupied the

 property, all of whom were Course Consultants tasked with soliciting customers and generating

 enrollments for GSX’s online business. By December 31, 2019, CW-4 says that GSX occupied

 two floors at the Zhengzhou Center.

        114.    According to CW-4, GSX required the Course Consultants to “brush” sales and

 enrollments, and they did so. During the last week of each month, the Course Consultants

 assumed false identities—often using the WeChat credentials of former promotional students

 who did not “convert” to a regular-priced course—to purchase additional student enrollments.

 CW-4 and the other Course Consultants took screenshots of these sham transactions and sent

 them to potential customers, claiming falsely that there “were only a few spots left” in the given

 course, hoping to induce a panic sale. CW-4 and the other Course Consultants also disguised

 themselves as students to post positive course and instructor reviews on the various parent and

 student WeChat groups.




                                                37
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 42 of 156 PageID: 369




        115.   CW-4 stated that course consultants who refused to falsify enrollments and sales,

 or who failed to keep quiet about this brushing activity, were fired. For example, in November

 2019, one of CW-4’s colleagues, a fellow course consultant, informed the parent of an enrolled

 student that several of the participants in the student group were GSX employees. Immediately

 thereafter, GSX terminated the colleague’s employment.

        116.   CW-4 explained that “the Company exerted this kind of pressure on everyone,

 from teachers to salespeople to managers,” because the Company needed “to make a profit.”

 Those whose sales records remained low were fired or demoted. Indeed, CW-4 recalled that in

 September 2019, one of the “original 10” Case Consultants at Zhengzhou Center was demoted to

 an entry-level position because of her unsatisfactory sales performance. Salespeople, including

 Course Consultants like CW-4, earned a commission on each course they sold, and commissions,

 which ranged between five and ten percent of the tuition fees remitted by the salesperson’s

 customers each month, were contingent on the salesperson “converting” an acceptable number of

 customers in that month.

        117.   At the beginning of each month, the Zhengzhou Center Sales Director circulated a

 report from GSX headquarters to the Course Consultants, including CW-4. This report had “a

 number” and their job was to meet that target. In her role as a Course Consultant, GSX’s

 compensation was based in substantial part on her success in “converting” customers from the

 promotional courses to the regular-priced courses. Failure to meet the monthly target established

 in Beijing was “unthinkable.”       For these reason, course consultants routinely falsified

 enrollments and sales.

        118.   CW-4 explained that the Company “does not spend much on attracting potential

 customers” because unlike its competitors, which generally promote sales by showing students




                                                38
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 43 of 156 PageID: 370




 and parents recorded lessons, “GSX offers live trial lectures at a very cheap price — ¥9 per

 course — and has salespeople follow-up with these clients until they eventually purchase higher-

 priced courses.”

        119.    CW-4 further explained that the culture at GSX is one in which deception in many

 forms is rampant and encouraged. WeChat accounts with promotional content “misrepresented

 teacher qualifications” and “made false promises and dishonest claims,” among other sales

 tactics that “cannot be talked about openly.” As CW-4 said, “We would definitely not tell [the

 customers] the truth.”      According to CW-4, GSX directed the Course Consultants to

 misrepresent the tutors’ credentials and to tell customers that the tutors graduated from “211” or

 “985” universities, a list of prestigious institutions so designated by the Chinese government. In

 reality, most tutors never attended university—most graduated from junior colleges. Thus, CW-

 4 and the Course Consultants routinely “photoshopped tutors’ diplomas and sent them to

 customers in WeChat groups.”

        120.    GSX also directed the Course Consultants to make false promises and dishonest

 claims to customers.     Specifically, each day at GSX’s instruction, the Course Consultants

 “promised parents of potential students that the tutors would provide one-on-one service for each

 student 24 hours a day,” when in fact “each tutor took care of more than 200 students” and had

 no time to devote individualized attention to each student. To encourage promotional customers

 to “convert” to regular customers, also at GSX’s express direction, the Course Consultants

 offered “free, proprietary study materials” to students and parents. These study materials were

 not proprietary; in fact, the Course Consultants were given copies of competitors’ materials; they

 reformatted those materials, affixed a GSX logo to them, and then distributed the materials to the

 newly-enrolled customers.




                                                39
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 44 of 156 PageID: 371




        121.    After Course Consultants would falsify student enrollments into promotional

 classes, those fake “students” would not convert to full-tuition courses. This phenomenon

 contributed to a very low conversion rate of “students” from promotional courses to regularly

 priced courses: CW-4 explains that only 10% of promotional students would “convert” from a

 promotional course to a regular-priced course.          Thus, some ninety percent of GSX’s

 enrollments—who paid ¥9 for their trial course—never purchased a regular-priced course.

 Although fees for the regular-priced courses were negotiable, CW-4 explains that students who

 enrolled in the regular-priced courses paid between “¥3,000 and ¥5,000 per course.” Students

 who chose to take a full curriculum on all subjects—fewer than five percent of all enrollments—

 paid a semesterly tuition, ranging between “¥20,000 and ¥30,000.” Only about 20% of students

 enrolled in a promotional course would finish all of the classes.

                        e.      CW-5

        122.    Confidential Witness 5 (“CW-5”) is a former customer and former student of

 GSX, and has firsthand knowledge from the perspective of a student that GSX enrolled fake

 “students” in its classes. CW-5 is also an independent English teacher who operates a private

 English vocabulary learning platform in China, “CW-5 English.” Since 2008, CW-5 has posted

 blogs about her English-learning journey and has authored an English vocabulary book for

 Mandarin speakers. On or about July 13, 2016, CW-5 paid GSX to market her services as an

 independent English teacher.

        123.    In September 2019, after receiving an unsolicited advertisement from GSX in her

 business’s official WeChat account, CW-5 enrolled in GSX’s 200-session high-school level

 promotional English vocabulary course titled “Magnetic Levitation 38000” and paid ¥5,080 in




                                                 40
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 45 of 156 PageID: 372




 tuition (USD $707.663). The course was to meet for four hours per day, five days per week.

 Upon enrolling in the course, CW-5 received invitations to join two WeChat groups, one for

 students enrolled in the course, and the other for parents of students enrolled in the course.

 Classes began at 8:00 a.m. on the morning of September 3, 2019.

        124.    On the first day of class, the instructor taught for about one hour, after which

 “there was nothing” in the classroom, so CW-5 sent a message to the student and parent WeChat

 groups, inquiring whether any others were suddenly unable to view the course content. In the

 parent group, two users, each purporting to be parents of enrolled students, responded within

 seconds of each other with identical messages, explaining that it was the “Self-Study Period.”

        125.    Approximately ten minutes after the class period ended, at around 12:10 p.m.,

 individuals purporting to be students and parents, each “with different WeChat IDs sent out as

 many as five groups of almost identical praise” for the instructor in both the student group and in

 the parent group.

        126.    For example, two “different” individuals in both groups said: “Teacher Song

 really hit the nail on the head, love it,” using identical Chinese characters in the same order:




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  Board of Governors of the Federal Reserve System, Foreign Exchange Rates—H.10: United
 States Dollars to Chinese Yuan Renminbi (Sept. 3, 2019),
 https://www.federalreserve.gov/releases/h10/hist/dat00_ch.htm.


                                                  41
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 46 of 156 PageID: 373




        127.    In another example, two “different” individuals in both groups said: “I always

 wanted to learn from root words like this, Teacher Song did very well. Perfect, looking forward

 to tomorrow’s class,” using identical Chinese characters in the same order:




                                                42
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 47 of 156 PageID: 374




        128.    In another example, two “different” individuals in both groups said: “I enjoy this

 methodology for memorizing words. Doing more with less, I like it,” using the same Chinese

 characters in the same order:




        129.    In another example, two “different individuals in both groups said: “The teacher

 speaks very well, very helpful for children. Great!,” using the same Chinese characters in the

 same order:




                                                43
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 48 of 156 PageID: 375




        130.    According to CW-5, each of the class sessions she attended followed the same

 routine: an instructor would teach for about one hour and then leave the platform. Ten minutes

 after the class was scheduled to end, different users in both the student and parent groups would

 post favorable reviews of the lesson and of the instructor using identical grammatical syntax.

        131.    On December 5, 2019, CW-5 published an article through her business’s official

 WeChat account. In the article, CW-5 claimed that most of the positive reviews were written by

 GSX personnel, who hacked the user IDs of random WeChat users, enrolled in the courses, and

 then wrote the reviews after each class.

        132.    The same day, a representative from GSX’s legal department sent CW-5 a

 message to CW-5’s official WeChat account and threatened her with legal action:




        GSX Legal: [CW-2], here is how it is: Firstly, we offer free courses that are
                   accessible to the public. There are teaching assistants in group
                   chats who regularly notify people to attend classes in order to
                   ensure that everyone has a satisfactory experience; there is no sign
                   of fraud. Secondly, your article consists of assumptions and
                   speculations about our company. If such content brings harm to
                   our company’s reputation, among other aspects, we intend to
                   resolve these issues through reasonable and effective legal action.

        [CW-1]:        Well, prove that the five groups of identical positive reviews I
                       included in my article are not a coincidence.

        [CW-1]:        But having said that, what happens if I continue to find many
                       similarities amongst positive reviews in the future?



                                                 44
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 49 of 156 PageID: 376




        [CW-1]:        We can follow the legal procedure now if you would like.

        133.   On January 14, 2020, CW-5 published a second article on Sina Weibo, a popular

 Chinese microblogging website, detailing her concerns and suspicions of GSX’s rampant

 brushing. On February 21, 2020, Qing Feng an instructor employed by GSX’s Gaotu Classroom

 brand, posted the following public response:




        Qing Feng:     I read the article you wrote. I won’t comment on how well written
                       the content is. From an analytical point of view, you have fewer
                       than 2,000 views on your other posts—most of them only having
                       several hundred. This is your only post with over 10,000 views.
                       Are you trying to go viral, or are you intentionally bad-mouthing
                       the organization called GSX? People are so irresponsible
                       nowadays. Only this article has so many comments—and the
                       comments even support you. This is hilarious, you treat your
                       audience as fools.

        134.   Despite GSX’s threats and denials, former GSX employees directly involved in

 the Company’s brushing activities corroborate CW-1’s findings.

                       f.     CW-6

        135.   Confidential Witness 6 (“CW-6”), a former GSX tutor, has first-hand knowledge

 of GSX’s pervasive “brushing” activities and of the actual qualifications of GSX’s instructors

 and tutors. Her account corroborates and elaborates on that of CW-4.

        136.   CW-6 worked as a “tutor” of first-year high school chemistry for GSX’s Gaotu

 Classroom brand at Zhengzhou Center from approximately June 15, 2019 through July 31, 2019.



                                                45
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 50 of 156 PageID: 377




 She worked alongside approximately 40 other first-year high school chemistry tutors, and

 according to CW-6, “each tutor had about 200 students.” In this role, CW-6’s job duties were to

 solicit potential customers and enroll new customers in promotional courses.

        137.    CW-6’s duties were twofold. She spent less than 30% of her time “assisting

 instructors in teaching, grading students’ assignments, answering students’ questions, and

 communicating with parents in WeChat groups.” The lion’s share of her time—more than

 70%—was devoted to sales. At GSX’s instruction, CW-6 and the other tutors “encouraged

 clients of the trial lectures to purchase regular-priced courses, and at the end of each course

 period, they encouraged the clients to renew their purchases.”

        138.    CW-6 and the tutors routinely assumed alternative identities to purchase

 promotional courses to inflate enrollment numbers. CW-6 and the tutors did this using the

 WeChat credentials of former “one-time” promotional-course purchasers who did not continue

 their enrollments. CW-6 and the other tutors took screenshots of these sham transactions and

 sent them to the current “one-time” customers, claiming falsely that there “were only a few spots

 left” in the given course, hoping to induce more demand.           Moreover, to “liven up the

 atmosphere” among customers, CW-6 and the other tutors routinely “brushed” course reviews in

 the WeChat groups, at GSX’s direction.

        139.    CW-6 did not have any teaching credentials. She worked at GSX while on

 summer recess from graduate school.        Despite having no formal training in high school

 education, CW-6 “received four days’ training in total” when she started the job, and thereafter

 received no formal guidance. GSX provided CW-6 and the other tutors with written materials to

 send to potential customers when seeking sales. The materials “included an introduction to GSX

 and the profiles of GSX’s best-qualified and most well-known instructors and tutors,” and




                                                46
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 51 of 156 PageID: 378




 guaranteed to potential customers that all GSX instructors and tutors were similarly qualified.

 Whereas all of the tutors advertised in these written materials held advanced degrees or attended

 well-known universities, neither CW-5 nor any of the approximately 40 other tutors with whom

 she worked on her team daily had such credentials.

                       g.     CW-7

        140.   Confidential Witness 7 (CW-7”), a former GSX employee, worked as an

 “Account Manager” for the VIE in Changsha, from August 15, 2016 through March 31, 2019. In

 this role, CW-7 was responsible for recruiting instructors and tutors across all of GSX’s brands.

 CW-7 has first-hand knowledge of the actual qualifications of GSX’s instructors and tutors

 because she was responsible for recruiting, hiring, and retaining them. She reported to the

 General Manager of the VIE’s Changsha branch.

        141.   As CW-7 explains, “academic degrees or work experience” were “not the most

 important” qualifications for hire. Successful candidates often had inferior credentials and less

 experience than unsuccessful candidates, but were selected for their charisma and photogenic

 features.

        142.   As part of her job, CW-7 also considered applications from then-current GSX

 instructors and tutors who were seeking to move to another GSX brand. GSX instructed CW-7

 to weigh as “important factors” these applicants’ “previous sales records and the rates at which

 their students renewed purchases.”

        143.   According to CW-7, GSX’s most “popular” instructors paid GSX a fee ranging

 between ¥10,000 and ¥200,000 to help the instructors “with marketing and sales, client

 management, and course design.”




                                                47
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 52 of 156 PageID: 379




               3.     Preserved Public Job Postings Show that the Company Hired
                      Employees for Brushing

        144.   GSX openly recruits for engineers to develop and maintain its “bot farm.” The

 images below are of a recent public job postings for GSX. The posting was picked up by a user

 of China’s Snowball Finance (雪球) who on May 6th, posted the screenshot and asked, “do you

 understand what this is for?”4    The job post is for a GSX “server room operation and

 maintenance engineer.”

        145.   The post reveals details about GSX’s brushing operations.




 4
  Láizì Android (来自Android), $Gēn Shéi Xué (GSX)$ Dŏng De Shuō Zhè Shì Zhāo Rén
 Gànshénme ($跟谁学(GSX)$ 懂的说说这是招人干什么), Běijīng Xuě Qiú Xìnxī Kējì Yǒuxiàn
 (北京雪球信息科技有限) (May 6, 2020, 02:57 AM),
 https://xueqiu.com/5346637144/148620489 (underlines added).


                                              48
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 53 of 156 PageID: 380




        146.    The job requires “maintaining and operating” the Company’s server rooms, which

 include “cell phone bot network equipment.” Specifically, the job requires “install[ation]” of

 “framework software” like “Xp” and “TaiChi” on the “cell phone bot network equipment.”

        147.    “Xp” refers to Xposed, a set of tools that allows an individual to “jailbreak” or

 “root” a phone (i.e., modify the phone to permit installation of software that normally cannot be

 installed when the phone is received out of the box from the manufacturer due to manufacturer

 restrictions) in order to install restricted software—exactly what the Company must do in order

 to install its customized bot software on a collection of cell phones in “server rooms” in order to

 operate its bot farms.

        148.    TaiChi is a software program that is used in tandem with Xposed. According to

 its website, TaiChi supports a variety of Xposed modules enabling functions like a “fake device”

 and “fake location.” The software also boasts that the software is “hard to detect.”

        149.    A second recent job post, from April 29, 2020, is copied below.5 This job post

 also seeks cell phone engineers to be responsible for “rooting” or “jail breaking” cell phones,

 installing new software, and creating bots or fake users.6




 5
  BOSS Zhí Pìn (BOSS 直聘) (Apr. 29, 2020),
 https://www.zhipin.com/job_detail/19bacff023f680b71Hd52Ni_FFM~.html?sid=seo_aladingb;
 Zhí Yŏu Jí (职友集), Shŏujī Yùn Wéi Gōngchéngshī (手机运维工程师) (Apr. 29, 2020),
 https:/www.jobui.com/job/158236612/. Note, the two posts are linked.
 6
  Bots and fake users are called “brushing” (刷) in Chinese, this can be thought of as a kind of
 automatic swiping function in an app, with the result that purchases, reviews, likes, comments or
 other such fake activities are created.


                                                 49
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 54 of 156 PageID: 381




         150.   Together, these job posts further show that GSX operates large scale bot farms.

 These jobs are for posts that are wholly unrelated to, and unnecessary for, GSX’s normal

 operations. While GSX teachers and tutors may well communicate using work cell-phones, the

 Company’s business, as it has itself described it in public filings, has no need for dedicated

 employees to bypass cellphone manufacturer restrictions and systematically jailbreak phones in

 order to install illegitimate software. Dr. Knoblock has offered his expert opinion that the

 jailbreaking skills sought in these job postings are unrelated to, and unnecessary for, the

 operations of an online education company.

         151.   That GSX’s job posts for engineers experienced in the operation and maintenance

 of large-scale bot networks have not all been taken down further evidences the degree to which

 GSX’s operations rely on bots to falsify student users—as the vast majority of its users are fake,

 and as its operations rely in large part on the falsification of users, the company has little choice

 but to continue publicly recruiting experienced engineers in order to “grow” its falsified user

 base.




                                                  50
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 55 of 156 PageID: 382




                4.      Bot Activity Permeates GSX’s Alleged Business

                        a.      Individual Employees Controlled Up to One Thousand Bots

        152.    GSX’s engineers installed programming codes on the thousands of mobile devices

 that GSX kept at its headquarters and satellite offices. While most of the programs that Android

 Engineers like CW–1 installed on the devices caused the devices to run applications

 autonomously, certain others allowed one human user to control simultaneously up to one

 thousand devices remotely, through a separate application that the GSX engineers also

 developed. According to CW–1, GSX referred to this application as “Group Control.”

        153.    According to CW–2, each GSX instructor and tutor was required to download

 GSX’s applications to her personal device upon accepting a position with GSX. The instructors

 and tutors also were required to use “Group Control” during each class.

        154.    According to CW–1, when using the “Group Control” program, tutors drafted and

 sent “questions” for the bot-controlled devices to “ask” of the instructor during a scheduled class.

 The various bot-controlled devices sent these questions—identical in every respect—to the

 instructors at staggered times during the class.

        155.    The instructors and tutors also used “Group Control” to command the bot-

 controlled devices to write five-star reviews for a given course or Instructor. The following

 reviews of GSX instructor Yao Lujing dated April 7, 2020—posted within seconds of each

 other—are illustrative:




                                                    51
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 56 of 156 PageID: 383




                                      52
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 57 of 156 PageID: 384




         156.   The first two reviews above purport to be from the same user, are identical

 linguistically and syntactically, and were posted within 15 seconds of each other. All that

 distinguishes one from the other is the course for which the “same” user is reviewing the “same”

 instructor.

         157.   The third through fifth reviews above also purport to be from the same user, are

 identical in substance, and were posted within 70 seconds of each other. As with the first two

 reviews, the third through fifth reviews are distinguishable from each other only with respect to

 the course for which the “same” user is reviewing the “same” instructor.

         158.   The sixth and seventh reviews above, like the others, appear to be from the same

 user, are nearly identical in substance, and were posted within 153 seconds of each other. Like

 the others, the sixth and seventh reviews are distinguishable from each other only with respect to

 the course for which the “same” user is reviewing the “same” instructor.

         159.   The ninth through twelfth reviews above, also purport to be from the same user

 and are identical in substance. These four reviews were posted within 163 seconds of each other.




                                                53
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 58 of 156 PageID: 385




 As with the other reviews, the eighth through twelfth reviews are distinguishable from each other

 only with respect to the course for which the “same” user is reviewing the “same” instructor.

        160.    The phenomenon illustrated above cannot be explained by normal human

 behavior.

                        b.     Nearly 60% of GSX’s Elementary-Level Courses Are
                               Duplicates and Attended by Bots

        161.    In all its SEC filings throughout the Class Period, GSX has reported “paid

 enrollments” for certain “paid” courses, but GSX never disclosed that at least 58% of such

 “paid” courses are duplicates attended by “bots.” A “duplicate” course is one that is marketed as

 a specific, grade-level-appropriate course, but actually combines students from among several

 grade levels into one larger class. For example, a student in Elementary Grade 1 who enrolls in a

 “Super Spelling” live online course with Instructor X beginning on Date Y actually enrolls in the

 same course as students in Elementary Grades 2–6 who enroll in the “Super Spelling” courses

 marketed at their grade level.7

        162.    As of October 10, 2020, GSX offered 88 courses across Elementary Grades 1–6.

 Of these 88 courses, only 37 (i.e., 42%) were not duplicates:8




 7
  For a demonstration of this phenomenon, see Sylvan Research, Sam | Super Spelling |
 Duplicate Classes 1–6 | GSX with audio, YouTube (Oct. 13, 2020),
 https://www.youtube.com/watch?v=1ZVnf8Keww4.
 8
  Sylvan Research, GSX Techedu is Faking Classes & Ruining Chinese Children’s Education 4
 (Oct. 14, 2020), https://drive.google.com/file/d/11J3cVhybkbIW_ckJah1_4IyEMuBZmdjy/view.


                                                 54
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 59 of 156 PageID: 386




                                      55
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 60 of 156 PageID: 387




          163.   On July 12, 2019, the Chinese Ministry of Education implemented Opinion 8,9 a

 compendium of binding regulations that prohibit online education companies from offering

 courses that deviate from the government’s prescribed curriculum for each student in each grade

 level.   Opinion 8 obligates private Chinese citizens to report suspected violations to their

 provincial education administrative departments. Those who do not report suspected violations

 are subject to fines and other penalties.

          164.   Bots, unlike humans, do not care whether the course they are “attending” is suited

 to their grade level; they neither pay tuition nor have obligations to report GSX’s violations to

 authorities. Rational, human consumers would not continue to pay as much as ¥4,798 (US

 $716.8410) for courses that are unsuited to their skill levels.

                        c.      Perfectly Linear Enrollment Growth Shows the Majority of
                                GSX’s User Accounts Were Created by Bots

          165.   Genshuixue is one of two GSX brands through which GSX markets its online K–

 12 courses. To enroll in a course, a user must first establish an online profile and user account,

 so that all paid enrollments must be linked to a user account. Although GSX does not report the

 number of student users across its platforms, it reports “enrollments.”       For 2Q2020, GSX

 reported 1,567,000 paid enrollments.




 9
  See Zhōnghuá Rénmín Gònghéguó Jiàoyù Bù Zhōng (中华人民共和国教育部中), Jiàoyù Bù
 Dĕng Liù Bùmén Guānyú Guīfàn Xiàowài Xiàn Shàng Péixùn De Shíshī Yìjiàn, Jiào Jī Hán
 [2019] 8 Háo (教育部等六部门关于规范校外线上培训的实施意见, 教基函〔2019〕8号)
 (July 12, 2019), http://www.moe.gov.cn/srcsite/A06/s3325/201907/t20190715_390502.html.
 10
   Board of Governors of the Federal Reserve System, Foreign Exchange Rates—H.10: United
 States Dollars to Chinese Yuan Renminbi (Oct. 9, 2020),
 https://www.federalreserve.gov/releases/h10/hist/dat00_ch.htm.


                                                   56
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 61 of 156 PageID: 388




        166.   Organic user growth tends to fluctuate over time because several human variables

 affect market demand for most services Although specific, time-limited factors, like marking

 campaigns, may encourage a burst of enrollments in a short span of time, a linear increase in

 demand for any service cannot be the result of normal human behavior. Yet, GSX’s data show

 that the growth in Genshuixue’ s user account numbers increased almost perfectly linearly

 between May 8 and May 21, 2020:11




        167.   Where there were lags in the linear growth pattern of more than 15 seconds, the

 rate of user account increases accelerated to catch up. For example, on or about May 8, 2020,




 11
   Grizzly Research LLC, GSX Techedu Inc.—Grizzly Research Presents Smoking Gun Evidence
 of Fraud 8 (June 2, 2020), https://grizzlyreports.com/Research/GSX-New.pdf.


                                              57
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 62 of 156 PageID: 389




 between 4:00 p.m. and 5:45 p.m., Genshuixue’ s user data show that GSX added over 4,000 new

 user accounts, nearly linearly:12




            168.   The illustrations in ¶¶ 166–67 demonstrate that GSX’s user growth is not the

 product of organic growth, and can be explained only by the use of skillfully calibrated bots.

                          d.     Attempting to Avoid Detection of its Thousands of Bots, GSX
                                 Programs Each Bot with One of Three Distinct “Flavors or
                                 “Personalities”

            169.   Whereas bots permeate each element of GSX’s user-facing business, they must be

 programmed to imitate real human behavior to avoid detection. Similarly, bot-generated user

 accounts must have some variation. For example, user accounts must have different usernames,



 12
      Id.


                                                 58
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 63 of 156 PageID: 390




 phone numbers, and profile pictures. To this end, GSX has developed, or paid third parties to

 develop, thee different “personalities” for each of the bots on its platforms; user accounts each

 have the “flavor” of one of these distinct “personalities.”

            170.   Specifically, “Bot Type 1” user accounts are ascribed a ‘female’ gender, use a

 default ‘female’ avatar, and are assigned random usernames. All of the usernames are random

 nouns in Mandarin, not Chinese names:13




            171.   “Bot Type 2” user accounts are all ascribed a ‘female’ gender, use a default

 ‘female’ avatar, and are assigned usernames that are designed to look like mobile telephone

 numbers. None of these telephone numbers comports with the Chinese Telephone Code Plan

 and therefore none is a real phone number:14




 13
      Id. at 25.
 14
      Id.


                                                  59
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 64 of 156 PageID: 391




            172.   “Bot Type 3” user accounts are all ascribed a ‘female’ gender and a random, low-

 resolution photographic avatar measuring 132 pixels by 132 pixels. By contrast, the average

 digital image measures at least 1024 pixels by 1024 pixels. Since GSX’s platform is entirely

 digital, requires a “smart” mobile device, and is geared toward children and young adults, it is

 improbable that thousands of user accounts would have low-resolution photographic avatars but-

 for the bots:15




 15
      Id. at 26.


                                                  60
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 65 of 156 PageID: 392




        173.    This sophisticated scheme demonstrates that GSX’s “core expertise” was not in

 K–12 online education, as it claimed time and again to investors before the IPO and throughout

 the Class Period.     Instead, the Company’s expertise lies in using sophisticated artificial

 intelligence and computer engineering experts to facilitate a sham business that defrauds

 unwitting parents of schoolchildren in China. To finance and maintain its bot-based “business,”

 GSX took advantage of U.S. investors. Using the NYSE as its bankroll, Company siphoned

 billions of dollars from the U.S. market at the expense of Plaintiffs and all members of the Class.

                5.      GSX Techedu’s Growth Compared to Competitors’ Cannot Be
                        Explained by Competitive Advantage or Any Other Legitimate
                        Reason

                        a.     Analysis of Historical Company Growth Shows That GSX
                               Would Be Increasing in Value at A Rate Comparable Only to
                               Google in The Early 2000s at the Onset of Intent Searches

        174.    GSX’s growth and financial performance is too good to be true.

        175.    While the top three U.S.-listed Chinese education companies all outperformed the

 broader market in the first three quarters of 2020, GSX’s reported performance lapped that of

 any of its competitors, without any plausible, legitimate explanation.16




 16
   Jing Yang & Xie Yu, One of the Year’s Worst Short Bets Defies Scathing Reports & and SEC
 Investigation, Wall St. J. (Oct. 12, 2020, 5:38 AM), https://www.wsj.com/articles/one-of-the-
 years-worst-short-bets-defies-scathing-reports-and-an-sec-investigation-11602495518.


                                                 61
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 66 of 156 PageID: 393




         176.    As one market analyst correctly noted, “The stated growth and profitability of this

 company can only be matched by Google in its early days. This is just not believable.”17

         177.    Indeed, GSX is the only publicly-traded Chinese online education company that

 consistently reported bottom-line profitability in 2019, and it was the first such company ever to

 report net profitability.

         178.    GSX’s growth far outpaces its rivals’ when they were at similar stages of

 development:




 17
    Kenneth Rapoza, China’s ‘Better Than Tesla’ Stock Is A Scam, Short Sellers Say, Forbes
 (Aug. 11, 2020, 8:00 AM) (quoting Andrew Left, Founder, Citron Research),
 https://www.forbes.com/sites/kenrapoza/2020/08/11/chinas-better-than-tesla-stock-is-a-scam-
 short-sellers-say/?sh=17b2c6811e49; @CitronResearch, Twitter (May 13, 2020, 7:46 AM),
 http://www.twitter.com/morisa1007/status/1281956792956788736?s=20.


                                                 62
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 67 of 156 PageID: 394




                             FY reached        Revenues FY
                                                                Revenues next
             Company          GSX 2018        reached GSX                            Growth (%)
                                                                     FY
                              revenues        2018 revenues
          GSX               2018              RMB 397 mln       RMB 2.1 bln          4,290%
          New Oriental      2004              RMB 441 mln       RMB 643 mln          46%
          TAL Education     2011              RMB 450 mln       RMB 697 mln          55%

          179.    GSX’s growth also far outpaces its rivals’ over the same period:

                                                         Revenues for the
                                   Revenues for the
                                                         year ended about
                 Company          year ended about                               Growth (%)
                                                           December 31,
                                  December 31, 2018
                                                               2019
          GSX18                   USD 59.2 mln           USD 304 mln          4,290%
          New Oriental19          USD 2.8bln             USD 3.2 bln          15%
          TAL Education20         USD 2.6 bln            USD 3.3 bln          28%

          180.    GSX’s self-reported growth in other periods is similarly implausible. According

 to the Company, its total valuation increased by 65.55% year-over-year between June 30, 2017

 and June 30, 2018, by 197.67% year-over-year between December 31, 2017 and December 31,

 2018, and by 1,502% year-over-year between March 31, 2018 and March 31, 2019. 21 All told,

 the Company claimed that in the 21-month period preceding the IPO, its valuation increased by

 2,386.21%.

          181.    According to the Company, its “net revenues increased by 307.1% to ¥397.3

 million (US $57.8 million) in 2018 from ¥97.6 million in 2017” and “by 432.3% from ¥397.3

 million in 2018 to ¥2,144.9 million (US $303.8 million) in 2019.” The Company claimed that its

 its “gross billings increased by 437.8% to ¥655.1 million (US $95.3 million) in 2018 from

 18
      For the years ended December 31, 2018/19.
 19
      For the years ended November 31, 2018/19.
 20
      For the years ended February 28/29, 2018/19.
 21
   The Company represented that each of its shares was worth ¥2.90 on June 30, 2017; ¥3.70 on
 October 31, 2017; ¥4.30 on December 31, 2017; ¥4.50 on March 31, 2018; ¥4.80 on June 30,
 2018; ¥12.60 on September 30, 2018; ¥12.70 on December 31, 2018; and ¥72.10 on March 31,
 2019.


                                                  63
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 68 of 156 PageID: 395




 ¥121.8 million in 2017” and by 412.60%, from “¥655,128,000” in 2018 to “¥3,358,152,000” in

 2019. GSX claimed that it realized a positive net income for the first time in 2018, of “¥19.7

 million (US $2.9 million) in 2018, compared with a net loss of ¥87.0 million in 2017,” a

 122.64% increase. The Company reported that its “net income increased from ¥19.7 million in

 2018 to ¥226.6 million (US $32.5 million) in 2019,” a 1050.25% increase.

        182.    Of critical import to investors, GSX represented that its online K–12 business

 “contributed over 73% of [its] total revenues in 2018 [sic] and that “total enrollments” in such

 courses22 increased from 79,632 in 2017 to 767,102 in 2018,” an increase of 863.31%.

 Simultaneously, GSX claimed that “total paid enrollments” across all of its business lines

 “increased from 65,092 in 2017 to 552,294 in 2018,” an increase of 748.48%. Later, GSX

 represented that its online K–12 business contributed to 80.7% of its total revenues in 2019 and

 that “K–12 paid course enrollments increased by 374% from 419.9 thousand in 2018 to 1,957.6

 thousand in 2019,” and that “total enrollments increased” from “767,102 in 2018 . . . to

 2,742,545 in 2019.”     The Company claimed that “[i]n 2019, 89.5% of [its] paid course

 enrollments were from [the] K–12 courses, compared to 74.8% in 2018 and 86.6% in 2017.”

 GSX also represented that employed 163 instructors and 352 tutors as of December 31, 2018,

 while it employed 176 full-time instructors, “56 full-time on-line exclusively contracted

 instructors,” and “3,736 full-time tutors” as of December 31, 2019.

        183.    GSX has no legitimate competitive advantage that would explain this growth.

                       b.      GSX Does Not Have Superior Teachers

        184.    GSX has routinely represented that one of its central competitive advantages is its

 superior teaching staff. For example, in its May 2019 F-1/A dated May 28, 2019, the Company

 22
   As discussed in more detail below, GSX purposely conflated “total paid enrollments” for K–
 12 courses with “total enrollments” for such courses in its filings throughout the Class Period.


                                                64
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 69 of 156 PageID: 396




 represented that it “relentlessly pursue[s] the highest quality in [its] course offerings” and

 claimed that its “education[al] excellence is backed by [its] high-quality teachers and in-house

 curriculum development expertise.”      Likewise, during an August 22, 2019 earnings call

 teleconference Defendant Shen reassured the investing public that GSX has “a really high bar to

 recruit instructors,” claiming that “less than 2 [percent of interviewees] can pass [the

 Company’s] interviews.” According to Defendant Chen, the Company “focus[es] on hiring only

 the very best teachers in China.”

        185.    GSX’s representations that its teaching staff are “well trained” or that the bar to

 becoming a instructor is high are false, and so cannot explain the Company’s implausible growth

 compared to its peers. From before its IPO and continuing throughout the Class Period, GSX

 routinely hired as tutors newly-minted university graduates, without a formal application

 process, and without requiring any proof that such graduates had any teaching credentials

 whatsoever.

        186.    Throughout 2017 and 2018, GSX solicited independent teachers to join its

 platform by posting advertisements in commuter train stations and in other public areas. The

 advertisements invited interested candidates to attend lectures at which GSX discussed the

 benefits of teaching on its platform and after which the Company offered “signing bonuses” to

 those interested. During the onboarding process, newly-hired instructors and tutors provided

 GSX with their WeChat credentials and were then assigned groups of students. GSX’s Course

 Consultants and Account Managers filled in the new-hires’ biographical information, often with

 false information about the new teachers’ educational credentials and teaching experience. GSX

 then instructed tutors to create fake student profiles and leave the new teachers hundreds of




                                                65
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 70 of 156 PageID: 397




 positive reviews, to give the appearance that the inexperienced teacher was viewed favorably by

 current and former students.

          187.   CW-7, an Account Manager who directly recruited GSX’s instructors, was

 directed to make hiring decisions based more upon a candidate’s charisma and physical

 appearance and less on his or her academic qualifications and teaching background. Indeed,

 CW-7 explains that GSX’s ten most popular instructors paid GSX a “marketing fee” ranging

 between ¥10,000 and ¥200,000 to be moved to the front of the hiring stack.

          188.   As CW-6 explained, beginning as early as August 2016, GSX’s aim was “to hire

 college students cheaply” as instructors or tutors and to be “casual” about candidates’

 experience. As CW-4 explained, “my job was to get numbers, numbers, numbers. Thousands of

 students but no instructors to teach them.” For the few instructors whom GSX did hire to appear

 legitimate, CW-4 was instructed to emphasize “those instructors who would catch the eye of the

 clients” (i.e., the “top ten”) and to “exaggerate the teaching experience” of the others to “get

 clients to buy the class.”

          189.   According to another GSX employee who worked as a tutor, education is not

 GSX’s priority. Work-life balance was nearly non-existent, as the Company expected its tutors

 to work tirelessly to make sales. As this employee wrote on August 14, 2019:23




 23
      Niming Yonghu (匿名用户), Yuángōng–1 Nián–Bĕijīng: Bĕijīng Gēn Shéi Xué Yōuxiàn
 Gōngsī (员工-1年-北京: 北京跟谁学科技有限公司), Bĕijīng Huá Pīn Bó Ruì Wǎngluò Jìshù
 Yǒuxiàn Gōngsī (北京华品博睿网络技术有限公司) (Aug. 14, 2019, 5:11 PM),
 https://www.kanzhun.com/gsr6672133.html.


                                               66
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 71 of 156 PageID: 398




            The team works overtime almost every day without guidance and holidays cannot
            be guaranteed. They take your life to get the line. [. . .] It’s a stingy company.
            [. . .] There is no rest during summer vacation, and there will be no time to sleep
            during the week.

            190.   Nor was GSX’s hiring process selective.           At all relevant times, GSX’s

 Genshuixue brand maintained an online “Teacher Application Portal”24 through which any

 person with a WeChat account could sign up to be paired with students. As depicted below, the

 Teacher Application Portal touts four benefits for registering as a “platform instructor:” (1)

 “[g]et extra income every month and expand the source of students;” (2) “[d]edicated display

 platform to increase visibility;” (3) “[u]se of GSX’s powerful online class tool for free, and

 spread knowledge without leaving home;” and (4) “[u]use the knowledge and skills you are good

 at to help others and solve their difficulties.”25




 24
    See Xiànzài Rùzhù Gēn Shéi Xué (现在入驻跟谁学), Gēn Shéi Xué: Bĕijīng Băi Jiā Hùlián
 Kēijì Yŏuxiàn Gōngsī (北京百家互联科技有限公司),
 https://www.genshuixue.com/static/teacher.
 25
      Id.


                                                      67
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 72 of 156 PageID: 399




            191.   As of the date of this Amended Complaint, the Teacher Application Portal

 appears to be live. As depicted below, it appears that any person with a WeChat account can

 register to be a teacher after completing “four simple steps,” which are: (1) “Fill in the complete

 personal information;” (2) “Set up at least one course and fill in the class method and price;” (3)

 “Set your class time;” and (4) “Submit certification information (ID certification is required).”

 According to the website, “[a]fter the 4 steps are set up, wait for the system to approve, and you

 can start classes on the platform!”:26




 26
      Id.


                                                 68
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 73 of 156 PageID: 400




        192.    The foregoing process suggests that GSX’s teacher recruiting process is not at all

 rigorous; nor does it appear that GSX regulates its course content in accordance with Chinese

 law and regulations. GSX’s record-breaking growth cannot be attributed to having “superior”

 teachers.

        193.    Furthermore, GSX actually violates Chinse law by recruiting and ultimately

 hiring as instructors and tutors individuals without the requisite educational and professional

 credentials, GSX’s online education business is in violation of Chinese law.

        194.    As in the United States, the licensure and credentialing of education professionals

 is highly regulated in China. On August 6, 2018, the Chinese State Council on for the Ministry

 of Education formally promulgated its Opinion on Regulating After-School Training Institutions,

 known in China as “Opinion 80.” Under Chinese law, such a decree from is binding on all

 persons unless and until it is amended or revoked by the central government.

        195.    Opinion 80 provides, in part:

        所聘从事培训工作的人员必须遵守宪法和法律，热爱教育事业，具有良好的
        思想品德和相应的培训能力；从事语文、数学、英语及物理、化学、生物等


                                                69
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 74 of 156 PageID: 401




        学科知识培训的教师应具有相应的教师资格。培训机构应当与所聘人员依法
        签订聘用合同、劳动合同或劳务协议。聘用外籍人员须符合国家有关规定。
        管理条件方面，校外培训机构必须坚持和加强党的领导，做到党的建设同步
        谋划、党的组织同步设置、党的工作同步开展，确保正确的办学方向。必须
        有规范的章程和相应的管理制度，明确培训宗旨、业务范围、议事决策机制
        、资金管理、保障条件和服务承诺等。

        The personnel employed for training must abide by the Constitution and laws,
        love education, have good ideological morality and corresponding training
        capabilities; teachers engaged in training in Chinese, mathematics, English and
        physics, chemistry, biology and other subjects should have the corresponding
        teacher qualifications. Training institutions shall sign employment contracts,
        labor contracts or labor service agreements with the personnel they employ in
        accordance with the law. The recruitment of foreign personnel must comply with
        relevant national regulations. In terms of management conditions, off-campus
        training institutions must adhere to and strengthen the leadership of the party, so
        that the party’s building is planned, the party’s organization is set up, and the
        party’s work is carried out simultaneously to ensure the correct direction of
        running the school. There must be a standardized charter and corresponding
        management system, clarifying the purpose of training, business scope, decision-
        making mechanism, capital management, guarantee conditions and service
        commitments.

        196.    As CW-6, and CW-7 explain, GSX’s tutors and instructors do not have “teacher

 qualifications” to teach “Chinese, mathematics, English and physics, chemistry, biology and

 other subjects.”   CW-6, for example, taught high-school Chemistry, and had no teaching

 qualifications at all, and CW-6’s lack of qualifications was typical of GSX instructors and tutors.

 Indeed, as of April 19, 2019, only 12% of GSX’s instructors and tutors had the requisite

 credentials to provide online educational services to students. They spend more than sixty

 percent of their time on advertising and promotional efforts, receive no formal ongoing training

 in educational best practices, and work without rest to make sales.

                       c.      Data Show GSX Has Fewer Teachers than Competitors

        197.    GSX’s implausible growth likewise cannot be explained by having more teachers

 than its competitors—throughout the Class Period, GSX employed fewer teachers than its

 competitors.


                                                 70
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 75 of 156 PageID: 402




        198.   Data from LinkedIn, the most popular global social media app for professional

 connections, offer an objective, company-independent approximation of the number of teachers

 GSX actually employs. According to LinkedIn, as of August 8, 2020, New Oriental had 8,787

 employee profiles, TAL had 5,555 employee profiles, while GSX’s employee profiles, across all

 brands, numbered only 451. As of August 8, 2020, New Oriental claimed to have “84,500

 employees including over 42,400 highly qualified teachers.”27      As of May 26, 2020, TAL

 claimed to employ “a total of 34,733 people.”28 GSX, for its part, claimed on September 2, 2020

 that it employs 10,000 tutors. Accepting the companies’ public statements as true, coupled with

 investigative findings, 10.40% of New Oriental’s employees have a LinkedIn profile, 15.99% of

 TAL’s employees have a LinkedIn profile, but only 4.51% of GSX’s “employees” have a

 LinkedIn profile. Online businesses working in similar markets, like New Oriental, TAL, and

 GSX, should have similar percentages of their employees on the same professional networking

 platforms. That GSX has a far smaller percentage of its employees on LinkedIn suggests that

 GSX has exaggerated its teachings staff.

        199.   The number of LinkedIn followers provides another objective, company-

 independent proxy for the actual size of its educational force. As of August 8, 2020, GSX,

 which claims to be the third-largest online education provider in Chin, had the fewest followers

 on LinkedIn among its competitors, both large and small. In fact, GSX had 29 times fewer

 followers than TAL and 37 times fewer followers than New Oriental:




 27
   Investor FAQ, New Oriental Education & Technology Group, https://bit.ly/3bzSHta (last
 visited Nov. 2, 2020).
 28
   C. Textor, Number of Employees at TAL Education Group China, Statista, Inc. (May 26,
 2020), https://bit.ly/3m5O0vZ.


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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 76 of 156 PageID: 403




        200.    Expanding the LinkedIn search to include GSX’s “related business” and sorting

 the data to capture educational employees irrespective of their precise job titles, only 67 matches

 appear, of whom 27 are tutors:




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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 77 of 156 PageID: 404




        201.   By contrast a similar search on LinkedIn for TAL’s educational employees,

 returns over 1,000 matches:




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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 78 of 156 PageID: 405




        202.   Again, running a similar search on LinkedIn across New Oriental’s educational

 employees, there are over 4,500 matches:




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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 79 of 156 PageID: 406




        203.    Of the 27 tutors who have a presence on LinkedIn, none appear to have the

 requisite teaching credentials, although most have experience in sales. A sample of six such

 profiles follows:



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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 80 of 156 PageID: 407




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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 81 of 156 PageID: 408




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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 82 of 156 PageID: 409




        204.    Some GSX tutors maintain profiles on MaiMai, another professional networking

 site. As with their colleagues on LinkedIn, the self-reported work histories of these tutors show

 backgrounds in sales, not in education:




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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 83 of 156 PageID: 410




                                      79
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 84 of 156 PageID: 411




       205.   As the foregoing makes clear, despite its year-long representations that it was

 recruiting additional instructors and tutors, GSX has far fewer teaching employees than

 comparable education companies in China.




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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 85 of 156 PageID: 412




                        d.     GSX’s “Proprietary Technology” for Internal Organizational
                               Efficiency Cannot Explain Why GSX’s Offerings Would
                               Attract More Students or Otherwise Generate Exponential
                               Revenue Growth

        206.    Throughout the Class Period, the Company purported to justify its exponential

 revenue growth by touting BOSS, its “proprietary technology infrastructure.” GSX claimed that

 it designed BOSS.

        [T]o provide integrated and automated services to employees during every major
        aspect of our business operations. Our BOSS system is our internal system used
        by our employees, ranging from instructors, tutors, sales personnel, content
        development personnel, operations team, and management. Our BOSS system
        empowers our employees with automated workflows, such as scheduling courses,
        analyzing student exercises, and tracking students’ attendance, course completion
        and retention.

        207.    According to the Company, BOSS works in tandem with another “proprietary

 business intelligence system” (“BIS”), purportedly allowing the Company to re-allocate

 resources in response “to changes in customer behavior patterns,” to “adjust operational details,”

 and to “set budgetary targets.”

        208.    GSX’s BOSS system, even if it exists and operates as GSX claims (which

 Plaintiffs do not allege) fails to explain GSX’s increased revenue, let alone how GSX’s revenue

 would increase in unprecedented pace. The BOSS system, as claimed by GSX, would at best

 improve the internal efficiency of the Company and decreases costs—it would not account for

 any competitive advantage in the product offered to students that might explain the explosion in

 their enrollments and the corresponding explosion in the Company’s revenues.




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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 86 of 156 PageID: 413




                6.     Data Show that GSX Techedu’s Education Services Are Not Used or
                       Recognized in Line with the Company’s Representations about Its
                       User Base and Revenue

                       a.      GSX Is Absent from Reports of Major Players in the
                               Education Industry in China

        209.    The online education learning marketplace is highly regulated in China.

 “Opinion 80,” discussed above in ¶¶ 194–95, also establishes certain oversight procedures and

 standards appurtenant to all Chinese online education businesses, including GSX. Among other

 things, Opinion 80 provides that online educational institutions are to be “a supplement to in-

 person education.” The Chinese government was concerned that many providers had become

 too “exam-oriented” and “financially burdensome” to families, and thus detrimental to healthy

 educational development among schoolchildren.        Thus, Opinion 80 established an “annual

 inspection and annual report system” whereby the government surveys students from each of the

 approved online education providers, and then publishes the results online.

        210.    On August 10, 2019, the Chinese Ministry of Education formally promulgated its

 Opinion on the Orderly and Health Development of Internet Applications, known in China as

 “Opinion 55,” which provides, among other things, that qualified “providers of educational

 mobile applications shall consciously accept social supervision, set up convenient channels for

 complaints and reports, and handle complaints in a timely manner.”

        211.    In accordance with those provisions, China’s State Administration for Market

 Regulation (the “SAMR”), a PRC government agency, administers industry market surveys to

 businesses and consumers at least once per year, and publishes the results of those surveys in the

 state-owned media outlets China Consumer News and the Guangming Daily News.

        212.    On March 27, 2020, the SAMR, through China Consumer News, reported the

 results of its inaugural “Online Education Consumer Experience Survey.” The survey, which



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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 87 of 156 PageID: 414




 polled data from March 3 through March 8, 2020, provided a method whereby the Chinese

 government could “socially supervise” the “consumer experience” and consumers’

 “evaluation[s]” of e-learning, as required by Opinions 80 and 55. The SAMR sent the survey to

 Xueersi, Tencent Classroom, Homework Gang, China University, Yuandaodao, and New

 Oriental Education & Technology Group Inc. Yet GSX, which has purported to be the “third-

 largest online K–12 large-class after-school tutoring service provider in China” from 2017

 through the present, was too small to be included in the SAMR survey.

                       b.     Survey Data Show that GSX Is Not Widely Used

        213.   Anxious to secure the best possible education for their children, Chinese parents

 pay close attention to the education technology industry in which GSX operates. Chinese-

 language publications based in China cater to these parents by providing information on, and

 rankings of, the various providers. These publications rarely even mention GSX, and this lack of

 mention shows that GSX is a bit player in China:

               (a)     The SAMR-backed China Consumer News recently conducted at least two

 surveys of users of online education asking about the effectiveness of remote learning during the

 pandemic.29 The surveys both included K-12 respondents. These surveys asked about seven and

 twelve platforms, respectively. Neither GSX nor Gaotu were included in either survey’s list of

 platforms.




 29
   Zhōngguó Xiāofèi Zhĕ Bào (中国消费者报), Wŏmen Shōujíle Xué Ér Sī, Zuòyè Bāng, Yuán
 Fŭdăo De Tĭyàn Diàochá Wènjuàn, Jiéguŏ… (我们收集了学而思、作业帮、猿辅导的体验调
 查问卷，结果…), Shànghāi Dōngfāng Bào Yè Yŏuxiàn Gōngsī (上海东方报业有限公司)
 (Mar. 27, 2020, 6:00 PM), https://www.thepaper.cn/newsDetail_forward_6721156.


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Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 88 of 156 PageID: 415




                  (b)    An April 2020 research report published in the Central Committee-

 sponsored Guangming Daily did not include GSX in a list of 39 online education providers.30

                  (c)    GSX is not included in 2018, 2019 and 2020 reports on Chinese education

 technology providers published by iResearch, the leading provider of online audience

 measurement for China.

          214.    Private surveys further show that GSX is not widely recognized in China, and

 certainly not recognized in line with what one would expect were GSX to have the massive

 student base it claims to have. As it reported on May 25, 2020, in each of March and May 2020,

 well-regarded China-focused equity research shop JL Warren Capital commissioned a survey of

 parents who had used K-12 education technology for their children in the past 6 months. The

 surveys had large sample sizes (March: 2,500; May: 2,222). Though GSX claims to be the third-

 largest provider of K-12 afterschool education in China, the surveys showed that GSX’s Gaotu

 platform had about 3% market penetration—well behind TAL Education (25%), New Oriental

 Education (20%), behind Zuoyebang (18.8%), YuanFudao (17.3%), Zhangmen 1-on-1 (6.3%),

 and even behind VIPKid (5.9%), supposedly a much smaller competitor.31 JL Warren Capital’s

 survey also reported that 70% of parents reported there were fewer than 600 students in their

 children’s Gaotu class—well below the average of 2,000 reported by Defendants.




 30
    Bĕi Shī Dà Xīn Méitĭ Chuánbò Yánjiū Zhōngxīn (北师大新媒体传播研究中心), Xīnguān
 Yìqíng Qíjiān Zhōng Xiăoxué Zàixiàn Jiàoyù Hùdòng Yán Jiù Bàogào (新冠疫情期间中小学在
 线教育互动研究报告), Guānmíng Wēi Jiàoyù (光明微教育) (Apr. 2, 2020, 10:36 AM),
 https://edu.gmw.cn/2020-04/02/content_33708443.htm.
 31
      All figures from the May 2020 survey.


                                                84
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 89 of 156 PageID: 416




                       c.     Web Analytics Show that GSX Is Not Widely Used

        215.   Because it is an online-only educational platform, web traffic metrics should

 overstate GSX’s market penetration compared to peers who also employ in-person or online-to-

 offline business models. Yet web analytics reports also show that GSX is a bit player.

        216.   Alexa, the gold standard in the industry, ranks websites by the traffic they receive.

 As of January 2020, the platforms of competitors New Oriental and Hujiang both ranked in the

 top 10,000 websites, but GSX’s platform ranked around 80,000th. Notably, during the period in

 which Defendants claim GSX grew exponentially, its platform’s Alexa ranking actually

 declined.




        217.   Similarly, Rank2traffic, which estimates the number of visitors to particular

 websites, reports that the traffic to GSX’s competitors’ relevant domains dwarfed that to GSX’s:

                                                     2018                         2019
               TAL                         216.2 million               158.2 million
               New Oriental                189.5 million               120.0 million
               VIPKid                      53.3 million                40.1 million
               GSX                         15.5 million                10.3 million




                                                85
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 90 of 156 PageID: 417




 Thus, GSX draws little traffic to its websites, undercutting Defendants’ claim that it is a leading

 provider.

        218.    Nor did GSX draw many mobile users. As Grizzly reported, according to Qimai,

 GSX’s daily downloads were miniscule—only a third of TAL Education’s. Yet even Defendants

 admitted on an April 9, 2020 call responding to the Grizzly article that “We acknowledge that

 the industry recognizes Qimai’s experience in app store ranking and ASO monitoring.”

        219.    According to a search that analyst firm Sylvan Research conducted on August 7-9

 and reported on August 9, 2020, only 451 of GSX’s purported at least 10,000 employees, or

 4.5% have pages on Linkedin—compared to 11% and 16% for competitors TAL Education and

 New Oriental, and suggesting that Defendants have overstated the number of GSX employees.

        220.    On April 9, 2020, Defendants held a conference call to address allegations that

 GSX had overstated the extent of its operations.       During the call, Defendants encouraged

 investors to rely on QuestMobile data, which, Defendants claimed, showed traffic in line with

 GSX’s claimed market share:

        Last major point is the download data of our apps. According to QuestMobile, one of the
        most frequently used third-party data providers shows the total monthly new users for
        GSX and Gaotu Ketang apps were 2.21 million for the second half in 2019, ranking us
        the third among education peers.

        221.    In fact, on February 12, 2020, QuestMobile published a report listing the top 5

 applications ranked by daily active users from January 14 through February 4, 2020. GSX and

 Gaotu were not on the list.

        222.    Thus, survey data and web analytics both suggest that GSX overstated its revenue

 and market share.




                                                 86
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 91 of 156 PageID: 418




                7.      GSX Uses Accounting Tricks To Hide Its Expenditures on “Brushing”

        223.    GSX spent hundreds of millions of RMB on brushing. Because brushing is

 illegal, GSX needed to hide its brushing expenditures from the public. The Company employed

 two accounting tricks.      First, GSX falsely recorded brushing expenditures as advertising

 spending, causing its marketing budget to balloon. Second, GSX secretly pushed some of its

 costs to third parties it controlled, creating more room to hide brushing expenditures.

                        a.     GSX Made False Accounting Entries To Conceal Brushing
                               Expenses

        224.    On April 25, 2020, JL Warren Capital reported on a call it held with a

 professional brusher who claimed to do brushing work for GSX.

        225.    JL Warren quoted the brusher as saying:

        GSX sent us a detailed brushing plan including our KPIs [Key Performance
        Indicators] in advance. Each teacher has a head count target. The company
        decides the number of “enrollments” each teacher gets in their classes. Company
        believes that brushing is an effective online marketing tool which generates
        higher ROI than traditional online advertisement.

        226.    Then, in an April 30, 2020 report, Citron disclosed additional comments from

 brushers:

        Q: How is your fee?

        A: The actual cost of our service is not high at all. For a class costing several
        thousand (RMB), we would only take about 50 RMB in commission. GSX would
        give us the money for the class and expense it as part of their marketing spend.
        We would pay for the class with the money they have given to us minus our
        commission. Effectively, the money would go back to their account as revenue
        minus our commission.

        227.    CW-2 has further explained the mechanics of paying for brushing. GSX would

 account for payments to brushers as advertising expenses. The brushers would then use the

 money GSX paid them to purchase classes, keeping a small portion of the money as

 commissions. As an example, CW-2 stated that the brusher might keep RMB 20,000 RMB as


                                                 87
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 92 of 156 PageID: 419




 commissions from an RMB 1 million payment, paying RMB 980,000 back to GSX. GSX would

 then record the RMB 980,000 as revenues and the entire RMB 1 million as advertising expenses.

        228.    Thus, GSX both overstated its revenues and misstated the purpose of its

 advertising expenses, the lion’s share of which were payments to brushers for illegal services.

        229.    GSX’s financial statements suggest malfeasance.         Advertising expenses are

 classified as selling expenses. GSX’s revenues purportedly grew by 432% between 2018 and

 2019, while its selling expenses grew by an astonishing 757%.

                                             2017         2018           2019          2019
    (Year ending December 31)               (RMB)        (RMB)         (RMB)          (USD)
    Net revenues                            97,580       397,306      2,114,855      303,780
    Cost of revenues (including share-
      based compensation expenses of
      RMB3,         RMB283         and
                                           (25,023)     (142,753)     (535,912)      (76,979)
      RMB16,504 for the years ended
      December 31, 2017, 2018 and
      2019, respectively)
    Gross profit                            72,557       254,553      1,578,943      226,801
    Operating expenses:
         Selling expenses (including
           share-based compensation
           expenses     of    RMB373,
           RMB429 and RMB5,606             (75,325)     (121,518)    (1,040,906)    (149,517)
           for    the    years   ended
           December 31, 2017, 2018
           and 2019, respectively)

        230.    The trend continued in 2020. GSX’s selling expenses for the first sixth months of

 2020 were approximately $278 million—or 86% more than it spent in all of 2019.

                       b.       GSX Hides Its Brushing Expenditures by Pushing Costs Onto
                                Alter Egos

        231.    Before GSX had to record massive new advertising expenses to hide brushing

 expenditures, it had boasted of rock-bottom customer acquisition costs. According to a UBS

 analysis of summer 2019 financials, GSX’s advertising expenses per weekly active user (RMB




                                                 88
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 93 of 156 PageID: 420




 972) were less than half the average of its world-class peers (RMB 1,906).            These low

 acquisition costs are a key part of the GSX story.

        232.    A UBS analyst stated in a January 2020 report that “We think a key factor behind

 GSX’s industry-leading profitability is its low customer acquisition cost[.]”

        233.    A Goldman Sachs analyst stated in a February 2020 report that “GSX surprised

 the market when it first publicly filed the IPO prospectus in May 2019, as one of the very few

 profitable online AST companies with over 400% revenue growth in 1Q19. This is exceptional

 in China’s online AST market as the great majority of the players remain loss making due to

 substantial upfront investments into student acquisition and technology.” The Goldman Sachs

 analyst added that “the company has higher-than-industry gross margins and higher-than-

 industry sales and marketing efficiency.”

        234.    A Bank of America Merrill Lynch analyst stated in an April 2020 report that

 “GSX is the only profitable player in the K-12 online education space—attributed to its star-

 teacher, large-size, live-class business model, higher price point and low customer acquisition

 costs[.]” The analyst added that “GSX has historically managed to expand with a lower

 [customer acquisition cost] than peers by focusing on WeChat.”

        235.    GSX’s financials showing historical low customer acquisition costs were

 fraudulent because GSX used alter egos to hide its expenses.

        236.    These alter egos include Beijing Youlian Global Education Technology Co., Ltd.

 (“Youlian”), Beijing Baijia Yuntu Technology Co. Ltd (“Yuntu”), and several others.

        237.    By bearing GSX’s expenses but not sharing its revenues, the alter egos make GSX

 appear far more profitable than it truly is—thus creating room to hide GSX’s brushing expenses.




                                                 89
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 94 of 156 PageID: 421




                                             Youlian

        238.    Youlian is a partially-owned GSX subsidiary. GSX owns 30% of its shares, and

 Defendant Chen owns 10%. GSX does not consolidate Youlian onto its financial statements.

        239.    Defendant Chen and former GSX executive Xiao Xiong founded Youlian.

        240.    Youlian assists GSX by hiring and paying employees that then work for the

 benefit of GSX.

        241.    In its SEC filings, GSX lists its headquarters as Beijing City Haidian District,

 Xibeiwang East Rd No. 10, 7 East Zone, BeyondSoft Building, Tower C, where it occupies

 several suites, including W201 and W203 (“GSX Address”).

        242.    Youlian falsely claims a business address of Beijing City Shi Jing Shan District

 Lugu South Rd No. 26 Floor 2, Room 201. Youlian’s claim is false. Indeed, when a local

 regulator attempted to visit their operation on January 14, 2020, the regulator found that Youlian

 was not located there.

        243.    In truth, Youlian hires employees to work for GSX at the GSX Address. Between

 2017 and 2020, Youlian regularly advertised available positions listing GSX’s address as the

 work location. As it stated in its February 2020 report, Grizzly found five advertisements that

 were still up at the time of its report: three advertisements for positions in “Youlian’s” Social

 Media Chatgroup Operations on March 18, 2017 and November 27, 2018, and two other undated

 advertisements. Citron found five more positions, as it noted in its April 30, 2020 report: one

 position on July 26, 2018, two on September 5, 2018, one on August 2, 2019, and another on

 April 14, 2020. Each of the ten positions advertised listed the work location as “Beijing City




                                                90
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 95 of 156 PageID: 422




 Haidian District, Xibeiwang East Rd. No. 10, East District Building 7 BeyondSoft Building C”,

 i.e., the GSX Address.32

        244.    Indeed, Youlian serves GSX’s interests, not its own. A February 2016 Jianshu

 article quoted Xiong as admitting that Youlian’s goal is to “develop consumer-side users” for

 GSX. Further, asked what Youlian’s plans to become profitable were, Xiong instead stated that

 “[w]e want to make it a free platform for all parents and into a media for the industry to provide

 premium content to parents.” Youlian has no plans to make money because its function is to

 cover GSX’s expenses.

                                              Yuntu

        245.    Like Youlian, Yuntu contributes to GSX’s bottom line by shouldering its

 employee salaries and other expenses.

        246.    GSX claimed in its SEC filings to have disposed of Yuntu for no consideration in

 December 2017. GSX claims Yuntu focused on developing video player software to provide

 live and on-demand video services and that its operations had been insignificant. Yuntu is

 owned by Defendant Chen’s longtime associate Deng Hong.




 32
    Both Citron and Grizzly translate the address as “Beijing City Haidian District, Northwest
 Wandong Rd. No. 10, East District Building 7, Beyond Soft Building C”. See Citron Research,
 Conclusive Evidence of Significant Overstatement of Revenues & Profits Through the Use of
 Multiple Undisclosed Related Parties at GSX Techedu (NYSE: GSX) 15 (Apr. 30, 2020),
 https://citronresearch.com/wp-content/uploads/2020/04/GSX-Conclusive-evidence-final.pdf;
 Grizzly Research LLC, Brushed Student Counts & Cooked Books: Why We Believe GSX
 Techedu is the Worst Publicly Traded Education Company 10 (Feb. 25, 2020),
 https://grizzlyreports.com/wp-content/uploads/2020/02/Research-Report-GSX-Grizzly-
 Research-25-Feb-2020.pdf.
 “Xibei” means “northwest”, while “Dong” means East. Thus, the full name of the road, without
 translation, is Xibei Wan Dong 10. Completely translated, it is Northwest Wan East. GSX’s
 SEC filings translated Dong into East but not Xibei into Northwest, while Grizzly and Citron
 translated Xibei into Northwest but not Dong into East.


                                                91
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 96 of 156 PageID: 423




        247.     According to its official records, Beijing Yuntu occupies Suite W202 in Beijing

 City Haidian District, Northwest Wandong Rd No. 10, East District Building 7, sandwiched

 between two GSX offices in W201 and W203.

        248.     In China, businesses must obtain certificates for websites. The Chinese Ministry

 of Industry and Information Technology (“MiiT”) periodically verifies the websites’ status.

 According to the MiiT, none of Yuntu’s websites were accessible except www.txiao100.com.

 As of October 20, 2020, www.txiao100.com linked directly to GSX’s website. Indeed, Whois

 records show that GSX and Yuntu share an IP address.

        249.     Yuntu also advertised for three positions (sales manager, market development

 manager, and sales development representative) listing a work location that was GSX’s Wuhan

 office—Luoyu Rd No. 10, Quangdang Center Floor 20.             Then, on April 16, 2020, Yuntu

 advertised for three more positions (market expansion manager, sales manager, and sales

 development representative), each likewise listing GSX’s Wuhan office as the work location.

 Yuntu also advertised for five positions (consultant, lecturer, finance executive, java developer,

 and senior java developer) listing GSX’s Beijing headquarters as the place of employment.

        250.     Thus, like Youlian, Yuntu works for GSX by shouldering some of its expenses

 and hiding its unprofitability.

                                              Others

        251.     As Citron showed in its May 7, 2020 report, Youlian and Yuntu are only two

 nodes of a vast network of companies owned and controlled by GSX insiders it uses to hide its

 expenditures.

        252.     In that report, Citron accurately identified four more shell companies that

 similarly assumed GSX’s costs:




                                                92
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 97 of 156 PageID: 424




     Company                            Facts Showing Company Supports GSX

 Beijing                   •     Owned by a former GSX employee and one of its cofounders
 Xiaoxiongmeijia           •     Uses official GSX WeChat accounts that were registered during
 Technology                      the founder’s employment at GSX and were continuing to
                                 perform customer acquisition for GSX as of May 7, 2020
 Wuhan                     •     Told Citron their parent company was GSX
 Aobangtuling              •     Uses official GSX WeChat accounts that continued to recruit
 Technolog                       GSX customers as of May 7, 2020
 Youshugongdu              •     Told Citron their parent company was GSX
 Education                 •     Uses official GSX WeChat accounts that continued to recruit
 Technology                      GSX customers as of May 7, 2020
 (Yantai)
 Xiaoyi Jinxiu             •     Posted jobs for GSX
 Curtain Mall              •     Official business is selling window curtains
                           •     Uses official GSX WeChat accounts that continued to recruit
                                 GSX customers as of May 7, 2020
        253.     Moreover, Citron identified six other companies that recruited customers for

 GSX. These companies all claimed to engage in specific business unrelated to GSX’s. In their

 business’s official description, two companies tacked on “education consulting.” According to

 their official business descriptions, the companies were engaged in the businesses of,

 respectively, selling courier services and education consulting, and selling dry goods and

 education consulting. The four other companies did not even pretend to have anything to do with

 GSX’s business.

        Company                                        Official Business

 Beijing Hontongda             Land transportation, warehousing, logistics, and education
 Couriers                      consulting (ex: brokering)
 Beijing Juatonwanjia          Sales of arts and crafts, daily necessities, stationeries, sporting
 Commerce                      goods, apparels, shoes and hats, knitted items, electronics,
                               communications equipment, furniture, hardware, and education
                               consulting
 Beijing Prosperity            Component printing
 Printing




                                                  93
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 98 of 156 PageID: 425




        Company                                           Official Business

 Zhujai Jingpo Clothing      Sales of apparels and accessories, shoes and hats, daily necessities,
                             textile, arts and crafts, stationeries, and fashion design
 Xi'an Beilin District       Sales of mother and baby care products
 Zhongchangfei Baby
 Products
 Xiangyang Xiangzhou         Auto repairs and sales of parts
 District Hongshunqi Car
 Mechanics

        254.    By pushing its costs onto a web of unconsolidated third parties, GSX hid its

 brushing expenditures from shareholders.

        C.      As Investors Began To Learn that GSX Techedu Massively Overstates Its
                User Base and Revenues, GSX Techedu’s Share Price Fell

        255.    GSX’s dramatic and unexplainable growth gave rise to extensive scrutiny from

 market analysts and government regulators beginning in February 2020. On February 25, 2020,

 Grizzly Research LLC published a report detailing the extent to which GSX has brushed its

 enrollment figures, overstated its revenues, and engaged in undisclosed related-party

 transactions. Less than two months later, on April 2, 2020, the Beijing Normal University issued

 a report condemning the Company’s online large class format as incompatible with Chinese

 educational standards. Citron Research and Muddy Waters Capital LLC followed with their own

 reports on April 14 and May 18, 2020, respectively. On August 7, 2020, Andrew Left of Citron

 Research reported his findings during a primetime FOX Business interview.            On or about

 September 2, 2020, the Company disclosed to investors that the SEC’s Division of Enforcement

 commenced an investigation into the Company’s financial and operating records dating to 2017.

 Finally, on October 20, 2020, market reports revealed, among other things, that the Company’s

 revenue had been profoundly overstated, at which point the share price of GSX fell nearly 30%,

 by almost eight billion dollars, in a single day.


                                                     94
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 99 of 156 PageID: 426




        256.    Each of these disclosures revealed material facts to the market that GSX had a

 duty to disclose but failed to disclose, and also revealed that hundreds of statements made by the

 Company to its investors during the Class Period were materially false or misleading at the time

 they were made. A decline in the value of GSX’s ADSs followed each disclosure, damaging

 Plaintiffs and all members of the Class.

               V.    DEFENDANTS’ FALSE AND MISLEADING STATEMENTS

        A.      Defendants’ False and Misleading Statements in 2019

                1.      March 19, 2019: Draft Initial Offering Documents

        257.    On March 19, 2019, GSX filed a Draft Form F-1 Registration Statement with the

 SEC (the “DRS”). Therein, GSX stated that the Company’s “net revenues increased by 307.1%”

 from 2017 to 2018” (i.e., from ¥97.6 million to ¥397.3 million), that “paid course enrollments

 increased by 632.7% from 56,350 in 2017 to 412,871 in 2018,” and that the “average gross

 billing per paid course enrollment for [its] K-12 courses increased by 48.5%” from 2017 to 2018

 (i.e., from ¥829 to ¥1,231 per paid course). GSX represented that its net revenue increase “was

 primarily driven by the increase in net revenues from [its] K-12 courses.” The Company claimed

 that its gross profits increased by 250.83%, from ¥72,557,000 in 2017 to ¥254,553,000 in 2018

 and that its income from operations increased by 120.72%, from a loss of ¥92,427,000 in 2017 to

 a gain of ¥19,154,000 in 2018.

        258.    The statements in ¶ 257 were materially false and misleading because: (1) More

 than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

 Class Period; (2) GSX routinely falsified at least 70% of its student enrollment by (a) using

 software bots to falsify student enrollments in GSX courses and to falsify logins to those online

 courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

 of student users to purchase and enroll in GSX courses and then sign-in to those online courses;


                                                  95
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 100 of 156 PageID: 427




  and (3) GSX’s stated reasons for its increased revenue are materially false and misleading

  because the Company failed to disclose that its purported revenue increase was due primarily to

  its falsified student enrollments.

                 2.      April 19, 2019: In the Cross-Hairs: Revised Pre-Offering Documents

         259.    On April 19, 2019, in a response letter to the SEC (the “April 2019 Letter”), the

  Company gave three reasons for the 65.52% year-over-year increase in the fair value of its

  ordinary shares from June 30, 2017 to June 30, 2018: “(i) organic growth of [the Company’s]

  current online live large-classes business model,” (ii) a 5% decrease in the Company’s “DLOM”

  (discount for lack of marketability), and (iii) a reduced “discount rate from 20% to 18.5% as [the

  Company] progressed from earlier stage to later stage of business development.”

         260.    In the April 2019 Letter, the Company provided six “reasons” to justify the

  195.35% increase in the fair value of its ordinary shares from June 30, 2018 to December 31,

  2018: (i) “successful completion of the transition of [the Company’s] business model to [its]

  current online large-classes business model” and (ii) the resulting “rapid growth in student

  enrollment,” together with the Company’s (iii) first recorded “operating profit in the third quarter

  of 2018,” which (iv) “increased [the Company’s] confidence” and (v) “decreased market

  participants’ perceived risks in [the Company’s] current business model.”

         261.    Also in the April 2019 Letter, the Company stated that the fair value of its

  ordinary shares “increased from ¥12.70 per share” as of December 31, 2018 “to ¥72.10 per

  share” as of March 31, 2019 (467.72% increase in a matter of three months) because: (i) its

  operating profit in the first quarter of 2019 “was significantly higher than [its] operating profit

  for the whole year of 2018,” which the Company claimed resulted from its “scalability, greater

  efficiency, and improved negotiation position.” Additionally, the Company cited (ii) general

  improvement in global capital markets and (iii) easing diplomatic tension between the United


                                                  96
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 101 of 156 PageID: 428




  States and China during 1Q2019. Thus for the period December 31, 2018 to March 31, 2019, the

  Company claims to have made (iv) downward adjustments to its discount rate, “from 18%” to

  “14%,” (v) downward adjustments to its DLOM, “from 15% to 8%,” while making (vi) upward

  adjustments to its “estimated IPO probabilities from 80% to 85%” during the same period.

         262.    GSX’s stated reasons in ¶¶ 259–61 for its success were materially false and

  misleading because the Company failed to disclose that its purported success was due primarily

  to its falsified student enrollments and inflated revenues.

         263.    In the Company’s Amended Form F-1 Draft Registration Statement (the

  “DRS/A”), filed on April 19, 2019 with the SEC, the Company stated:

         Cost of revenues mainly consists of salaries to instructors and tutors, rental
         expenses for office space, depreciation and amortization of properties and
         equipment, teaching materials and bandwidth costs. The instructors consists [sic]
         of both full-time instructors and part[-]time instructors.

         Full-time instructors’ compensation primarily consist [sic] of base salary, as well
         as teaching fees based on hourly rates in connection with courses delivered.

         The compensation of part-time instructors is calculated as a fixed percentage of
         the tuition fees of the courses delivered by the instructors, and is accrued as
         courses are delivered.

         The compensation of tutors consists of base salary and performance-based
         compensations, which is [sic] determined based on student retention and exercise
         completion. Specifically, if an existing student of a tutor enrolls in a new course,
         a bonus is paid to the tutor which is calculated as a percentage of the tuition of
         the new course. tutors also receives [sic] a fixed payment for each exercise
         marking performed.

         The Company accrues on a monthly basis for the cost of tutor which includes
         basic salary, compensation for exercise marking as well as student retention
         bonus. The retention bonus is estimated by using the expected tuition collected for
         the retention courses, multiply by the estimated retention rate and the bonus
         percentage.

         264.    The statements in ¶ 263 were materially false and misleading because the

  Company failed to disclose that instructors and tutors were required (i) to skim and replicate



                                                   97
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 102 of 156 PageID: 429




  private user data from social media platforms, and (ii) to assume the identities of those users to

  purchase and enroll in GSX courses and then sign-in to those online courses, all as conditions

  precedent to receiving their base salaries and compensation bonuses.

                   3.    May 8, 2019: The Initial Public Offering Documents

         265.      On May 8, 2019, GSX filed a Form F-1 Registration Statement with the SEC (the

  “May 2019 F-1”). On May 24, 2019, the Company filed an Amended Form F-1 Registration

  Statement (the “May 2019 F-1/A”), Form F-6 Registration Statement for American Depositary

  Shares Evidenced by American Depositary Receipts (the “F-6”), and Form F8-A12B Description

  of Securities.

         266.      In the May 2019 F-1/A, GSX represented that its “total enrollments increased

  from 79,632 in 2017 to 767,102 in 2018 and from 70,845 for the three months ended March 31,

  2018 to 211,002 for the three months ended March 31, 2019” (i.e., increases of 863.31% from

  2017 to 2018 and of 197.84% from 1Q2018 to 1Q2019). According to the Company, “[p]aid

  course enrollments increased by 632.7% from 56,350 [students] to 412,871 [students] in 2018.”

  The Company said that the “average enrollments of [its] online K–12 courses increased from

  approximately 400 [students] per course in 2017 to approximately 600 [students] per course in

  2018, and from approximately 440 per course for the three months ended March 31, 2018 to

  approximately 980 per course for the same period in 2019.” The Company attributed these

  successes to its adoption of “the online live large-class format,” explaining that this pedagogical

  method to deliver “scarce high quality teaching resources to aspiring students in China” coupled

  with GSX’s “focus on operational efficiency” drove its profits in 2018.

         267.      The statements in ¶ 266 were materially false and misleading because: (1) GSX

  routinely falsified at least 70% of its student enrollment by (a) using software bots to falsify

  student enrollments in GSX courses and to falsify logins to those online courses, and (b)


                                                  98
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 103 of 156 PageID: 430




  engaging third parties as well as its instructors and tutors to assume the identities of student users

  to purchase and enroll in GSX courses and then sign-in to those online courses; and (2) GSX’s

  GSX’s stated reasons for its success are materially false and misleading because the Company

  failed to disclose that its purported success was due primarily to its falsified student enrollments.

         268.    Also in the May 2019 F-1/A, GSX represented that its net revenues increased

  from “¥97,580,000” in 2017 to “397,306,000” in 2018, a 307.16% increase. The Company

  claimed a gross profit of ¥72,557,000 in 2017 versus ¥254,553,000 in 2018, a 250.83% increase,

  and for the “three months ended March 31, 2019” versus the same time period in 2018, GSX

  represented that its gross profit increased by 613.53%, from ¥26,223,000 in 2018 to

  ¥187,110,000 in 2019. GSX stated that its “income from operations” increased by 120.72%,

  from a loss of ¥92,427,000 in 2017 to a gain of ¥19,154,000 in 2018. For “the three months

  ended March 31, 2019,” the Company reported that its income from operations increased by

  1,127.09% compared with the same time period in 2018, from a loss of ¥4,160,000 in 2018 to a

  gain of ¥42,727 in 2019. The Company also stated, “Our core expertise is in online K-12

  courses, covering all primary and secondary grades, which contributed over 73% and 75% of our

  total revenues in 2018 and for the three months ended March 31, 2019, respectively.”

         269.    The statements in ¶ 268 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; and (2) GSX’s stated reasons for its success are materially false and misleading

  because the Company failed to disclose that its purported success was due primarily to its

  falsified student enrollments.

                 4.      August 22 and 23, 2019: 2Q2019 Earnings Results

         270.    On August 23, 2019, GSX filed, and Defendant Shen signed, a Form 6-K with the

  SEC, attaching and incorporating as an exhibit a press release dated August 22, 2019 detailing


                                                   99
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 104 of 156 PageID: 431




  the Company’s quarterly earnings results for 2Q2019 (together, comprising the “August 2019

  6-K”). In the August 2019 6-K, GSX stated: “[t]otal enrollments increased 250.3% to 592,000

  from 169,000” during this period.

         271.     The statements in ¶ 270 were materially false and misleading because GSX

  routinely falsified at least 70% of its student enrollment by (a) using software bots to falsify

  student enrollments in GSX courses and to falsify logins to those online courses, and (b)

  engaging third parties as well as its instructors and tutors to assume the identities of student users

  to purchase and enroll in GSX courses and then sign-in to those online courses.

         272.     Separately in the August 2019 6-K, the Company claimed that its “[n]et revenues

  increased 413.4% year-over-year to ¥353.7 million, from ¥68.9 million.” GSX reported that

  “[g]ross profit increased 496.7% to ¥252.5 million from ¥42.3 million in the second quarter of

  2018,” while [i]ncome from operations increased to ¥16.2 million from a loss from operations of

  ¥0.5 million in the second quarter of 2018,” an increase of 3,340%.

         273.     The statements in ¶ 272 were materially false and misleading because: (1) GSX’s

  revenues, including gross billings, were materially overstated, by at least 70%, throughout the

  Class Period.

         274.     The Company claimed that its “[c]ost of revenues rose 280.8% to ¥101.2 million

  from ¥26.6 million, . . . mainly due to an increase in compensation for instructors and tutors.”

  GSX further represented that its “[s]elling expenses increased to ¥169.0 million from ¥18.4

  million” (i.e., an 818.48% increase), “primarily as a result of higher marketing expenses to

  expand the customer base and enhance the brand, as well as an increase in compensation to sales

  and marketing staff.” Further, the Company told investors that its “[r]esearch and development

  expenses increased 164.2% to ¥41.1 million from ¥15.6 million, . . . primarily due to a rise in the




                                                   100
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 105 of 156 PageID: 432




  number of course[] professionals, educational content professionals, and technology

  development personnel, as well as an increase in compensation for such staff.”

         275.    The statements in ¶ 274 were materially false and misleading because GSX failed

  to disclose that a material percentage of its cost of revenues, selling expenses, and research and

  development expenses, and increases in those expenses, were attributable to payments to third-

  party brushers to assume the identities of student users to purchase and enroll in GSX courses

  and then sign-in to those online courses, and to write false reviews of the courses.

         276.    On August 22, 2019, Defendants Chen and Shen presented GSX’s 2Q2019 results

  to investors on a teleconference (the “August 2019 Earnings Call”). On the August 2019 call,

  Defendant Shen claimed that the “[n]et revenue from [the] K-12 courses increased by 463.7%,”

  accounting for “76.4% of net revenues” in 2Q2019. Shen claimed that the revenue growth “was

  primarily driven by [an] increase in paid course enrollments and K-12 students’ tuition fees.”

  According to Shen, the Company’s “across-the-board growth was primarily driven by the

  continued expansion of [the Company’s] K-12 after-school tutoring business.”               Shen also

  claimed that paid student enrollments (in courses whose tuition was greater than ¥9.90) rose to

  592,000 students, a 350% increase year-over-year. Shen attributed this growth principally to

  “the continued expansion” of GSX’s “K-12 after-school tutoring business,” in which paid

  enrollments “increased by 372%,” year-over-year, from “68,000” to “321,000” students.

         277.    The statements in ¶ 276 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; (2) GSX routinely falsified at least 70% of its student enrollment by (a) using

  software bots to falsify student enrollments in GSX courses and to falsify logins to those online

  courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities




                                                   101
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 106 of 156 PageID: 433




  of student users to purchase and enroll in GSX courses and then sign-in to those online courses;

  and (3) GSX’s stated reasons for its success are materially false and misleading because the

  Company failed to disclose that its purported success was due primarily to its falsified student

  enrollments.

         278.    August 2019 Earnings Call, Shen further stated, that GSX’s costs of revenues

  increased “by 281%” year-over-year, from “¥26.6 million to ¥101.2 million,” because GSX

  increased its recruitment of teaching staff.       Shen attributed the increase in GSX’s selling

  expenses to the Company’s efforts to “extend market share to attract new students, especially for

  summer campaign and for brand enhancement.” According to Shen, research and development

  expenses “increased by 164.2%” year-over-year, from ¥25.03 million “to ¥41.1 million.,”

  purportedly attributable to the “efficiency and effectiveness of [GSX]’s teaching for data

  delivery” and for its “operational efficiency.”

         279.    The statements in ¶ 278 were materially false and misleading because GSX failed

  to disclose that a material percentage of its cost of revenues, selling expenses, and research and

  development expenses were in fact expenses paid to third-party brushers to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses,

  and to write false reviews of the courses.

         280.    Responding to investors’ and market analysts’ concerns about GSX’s customer

  acquisition channels, Shen claimed that GSX acquires most new enrollments “through traffic

  acquisition,” driven by “WeChat,” including “WeChat Official Accounts, WeChat Moments,

  news feed ad[s],” and through “TikTok, Toutiao, and Baidu.” Shen also claimed that GSX’s

  customer acquisition efficiency is at least “twice or even several times as high” as that of its




                                                    102
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 107 of 156 PageID: 434




  competitors because the Company has “developed a really efficient technology to closely

  monitor [its] customer acquisition process.”

         281.    The statements in ¶ 280 were materially false and misleading because GSX

  acquired most of its purported student enrollment by (a) using software bots to falsify student

  enrollments in GSX courses and to falsify logins to those online courses, and (b) engaging third

  parties as well as its instructors and tutors to assume the identities of student users to purchase

  and enroll in GSX courses and then sign-in to those online courses.

                 5.      November 5 and 7, 2019: 3Q2019 Earnings Results

         282.    On November 7, 2019, GSX filed, and Defendant Shen signed, a Form 6-K with

  the SEC, attaching and incorporating as an exhibit a press release dated November 5, 2019

  detailing the Company’s quarterly earnings results for 3Q2019 (together, comprising the

  “November 2019 6-K”). The Company claimed that its “[n]et revenues reached ¥557.0 million,

  a 461.5% increased from ¥99.2 million . . . mainly driven by the growth in paid course

  enrollments for K-12 courses and a higher level of tuition fees that were charged to K-12

  students.” GSX reported that “[g]ross profit increased 548.8% to ¥400.3 million from ¥61.7

  million in the third quarter of 2018” and that its “[l]oss from operations was ¥10.8 million,

  compared with income from operations of ¥0.1 million in the third quarter of 2018.”

         283.    The statements in ¶ 282 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; (2) GSX’s stated reasons for its success are materially false and misleading

  because the Company failed to disclose that its purported success was due primarily to its

  falsified student enrollments.

         284.    In the November 2019 6-K, the Company claimed that its “[c]ost of revenues rose

  316.8% to ¥156.7 million from ¥37.6 million . . . mainly due to an increase in compensation for


                                                 103
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 108 of 156 PageID: 435




  instructors and tutors.” GSX represented that its “[s]elling expenses increased to ¥330.4 million

  from ¥31.0 million” (i.e., an increase of 965.81%)” “primarily a result of higher marketing

  expenses to expand the customer base and enhance the brand, as well as an increase in

  compensation to sales and marketing staff.”         Further, the Company told investors that its

  “[r]esearch and development expenses increased 185.5% to ¥57.1 million from ¥20.0 million, . .

  . primarily due to an increase in the number of course[] professionals, educational content

  professionals, and technology development personnel, as well as an increase in compensation for

  such staff.”

         285.    The statements in ¶ 284 were materially false and misleading because GSX failed

  to disclose that a material percentage of its cost of revenues, selling expenses, and research and

  development expenses were in fact expenses paid to third-party brushers to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses,

  and to write false reviews of the courses.

         286.    According to GSX, “[t]otal enrollments increased” by “240.2% year-over-year to

  820,000.”

         287.    The statements in ¶ 286 were materially false and misleading because GSX

  routinely inflated its student enrollment figures by at least 70% by (a) using software bots to

  falsify student enrollments in GSX courses and to falsify logins to those online courses, and (b)

  engaging third parties as well as its instructors and tutors to assume the identities of student users

  to purchase and enroll in GSX courses and then sign-in to those online courses.

         288.    On November 5, 2019, Defendants Chen and Shen presented GSX’s 3Q2019

  results to investors on a teleconference (the “November 2019 Earnings Call”). Shen represented

  that GSX’s year-over-year quarterly net revenue “increased 462%,” citing “solid accumulation in




                                                   104
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 109 of 156 PageID: 436




  both education experience and technology resource[s].” Shen then claimed that GSX achieved

  and maintained “profitable growth” by improving its “ability to control costs and operating

  expenses. Shen also claimed that GSX’s gross billings increased “by 420%” year-over-year,

  citing “increasing student enrollments” driven by “promotion efforts.” For GSX’s main revenue

  driver, the K-12 courses, Shen said that net revenue increased “by 526%” year-over-year,

  accounting for 82% of GSX’s net revenues, and that the increase was attributable to an “increase

  in paid course enrollments and the K-12 students’ tuition fees.”             Shen stated that paid

  enrollments for the “K-12 after-school tutoring business increased by 368% year-over-year,”

  further claiming that this segment grew “at a much higher speed compared to other segments.”

  Shen attributed the foregoing to GSX’s “superior teaching quality.” Furthermore, Shen said that

  average enrollments per class increased from 1,200 to 1,400 (i.e., 116.67%) between 2Q2019

  and 3Q2019.

         289.    The statements in ¶ 288 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; (2) GSX routinely falsified at least 70% of its student enrollment by (a) using

  software bots to falsify student enrollments in GSX courses and to falsify logins to those online

  courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses;

  and (3) GSX’s stated reasons for its success are materially false and misleading because the

  Company failed to disclose that its purported success was due primarily to its falsified student

  enrollments.

         290.    On the November 2019 Earnings Call, Shen stated that GSX’s cost of revenues

  increased “by 317% year-over-year,” from “¥38 million to ¥157 million.” Shen said that GSX




                                                   105
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 110 of 156 PageID: 437




  increased its recruitment of teaching staff to accommodate the increased enrollments and

  expanded course offerings.      To explain the 1,065.81% year-over-year increase in selling

  expenses (i.e., from ¥31 million to ¥330.4 million), Shen pointed to “more marketing expenses,

  especially for the summer campaign to attract new students and expand market share and for

  brand enhancement.” Similarly, Shen explained the 185.5% year-over-year increase in research

  and development expenses as a result of adding “innovative designs to [its] classes and an update

  to GSX’s course materials.”

         291.    The statements in ¶ 290 were materially false and misleading because GSX failed

  to disclose that a material percentage of its cost of revenues, selling expenses, and research and

  development expenses were in fact expenses paid to third-party brushers to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses,

  and to write false reviews of the courses.

         292.    In response to investors’ concerns about the compensation structure for instructors

  and tutors on the November 2019 Earnings Call, Shen said that the compensation structures for

  GSX instructors consists of three parts: (1) base salary, (2) performance-based salary, and (3)

  share-based compensation. instructors’ compensation, Shen said, is tied to “high operating

  efficiency.” Shen claimed that tutors’ compensation, by contrast, is tied to the Company’s

  “traffic distribution” and “sales conversion” rates.

         293.    The statements in ¶ 292 were materially false and misleading because the

  Company failed to disclose that instructors and tutors were required (i) to skim and replicate

  private user data from social media platforms, and (ii) to assume the identities of those users to

  purchase and enroll in GSX courses and then sign-in to those online courses, all as conditions

  precedent to receiving their base salaries and compensation bonuses.




                                                  106
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 111 of 156 PageID: 438




                 6.     November 18, 2019: The SPO

         294.    On November 18, 2019, GSX filed a Form F-1 Registration Statement (the

  “November 2019 F-1”), wherein the Company represented that GSX was “the third largest

  online K-12 large-class after-school tutoring service provider in China in terms of gross billings

  in 2018,” that its K-12 courses “contributed over 73%” to the Company’s “total revenues in

  2018” and over 79% to the Company’s total revenues in 3Q2019. GSX claimed that its “net

  revenues increased by 307.1%,” from “¥97.6 million in 2017” to “¥397.3 million (US $55.6

  million) in 2018.”    GSX claimed that its gross profit increased from ¥72,557 in 2017 to

  ¥254,553,000 in 2018, and from ¥130,226,000 for the “nine months ended September 30, 2018”

  to ¥839,903,000 for the same time period in 2019. The Company represented that its income

  from operations in 2017 generated a loss of ¥92,427,000 in 2017, a gain of ¥19,154,000 in 2018;

  for the “nine months ended September 30, 2018,” GSX reported an income loss from operations

  of ¥4,619,000, compared with a ¥48,138,000 gain for the same period in 2019.

         295.    The statements in statements in ¶ 294 were materially false and misleading

  because more than half of GSX’s revenues and profits, including gross billings, were falsified,

  throughout the Class Period.

         296.    In the November 2019 F-1, GSX represented that total enrollments in its courses

  “increased from 79,632 [students] in 2017 to 767,102 [students] in 2018” and, for the nine-

  month period beginning on January 1 and ending on September 30 in both years, “from 480,458”

  students in 2018 “to 1,622,862” students in 2019.        GSX also claimed that “[t]he average

  enrollments of our online K–12 courses increased from approximately 400 per course in 2017 to

  approximately 600 per course in 2018, and approximately 570 per course in the nine months

  ended September 30, 2018 to approximately 1,200 per course in the same period in 2019.”




                                                 107
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 112 of 156 PageID: 439




         297.    The statements in ¶ 296 were materially false and misleading because GSX

  routinely inflated its student enrollment figures by at least 70% by (a) using software bots to

  falsify student enrollments in GSX courses and to falsify logins to those online courses, and (b)

  engaging third parties as well as its instructors and tutors to assume the identities of student users

  to purchase and enroll in GSX courses and then sign-in to those online courses.

         B.      Defendants’ False and Misleading Statements in 2020

                 1.      February 18 and 19, 2020: 4Q2019 Earnings Report

         298.    On February 19, 2020, GSX filed, and Defendant Shen signed, a Form 6-K with

  the SEC, attaching and incorporating as an exhibit a press release dated February 18, 2020

  detailing the Company’s quarterly earnings results for 4Q2019 and for Fiscal Year 2019

  (together, comprising the “February 2020 Report”). For the quarter, the Company claimed that

  its “[n]et revenues reached “¥935.0 million, a 412.9% increase from ¥182.265 million . . . mainly

  driven by growth in paid course enrollments for K-12 courses.” The Company reported that its

  “[g]ross profit increased 494.5% to ¥739.0 million from ¥124.3 million in the fourth quarter of

  2018,” and that its “[i]ncome from operations was ¥167.6 million, compared with ¥23.8 million

  in the fourth quarter of 2018.”

         299.    The statements in ¶ 298 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; (2) GSX routinely falsified at least 70% of its student enrollment by (a) using

  software bots to falsify student enrollments in GSX courses and to falsify logins to those online

  courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses;

  and (3) GSX’s stated reasons for its success are materially false and misleading because the




                                                   108
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 113 of 156 PageID: 440




  Company failed to disclose that its purported success was due primarily to its falsified student

  enrollments.

           300.   In the February 2020 Report, for the quarter, the Company stated that its “[c]ost

  of revenues rose 238.5% to ¥196.0 million from ¥57.9 million, . . . mainly due to the increase in

  compensation for instructors and tutors, learning materials and other operating related expenses

  [sic].” GSX represented that its “[s]elling expenses increased to ¥442.0 million from ¥58.2

  million” (i.e., an increase of 659.45%) “primarily as a result of higher marketing expenses to

  expand the customer base and enhance the brand, as well as an increase in compensation to sales

  and marketing staff.”33 Further, the Company told investors that its “[r]esearch and development

  expenses increased 215.1% to ¥83.5 million, from ¥26.5 million, . . . primarily due to an increase

  in the number of course professionals, educational content professionals and technology

  development personnel, as well as an increase in compensation for such staff.”

           301.   The statements in ¶ 300 were materially false and misleading because GSX failed

  to disclose that a material percentage of its cost of revenues, selling expenses, and research and

  development expenses were in fact expenses paid to third-party brushers to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses,

  and to write false reviews of the courses.

           302.   In the February 2020 Report, for the fiscal year, the Company claimed that its

  “[n]et revenues reached “¥2,114.9 million, a 432.3% increase from ¥397.3 million . . . mainly

  driven by the growth in paid course enrollments for K-12 courses and a higher level of tuition

  fees that was [sic] charged to K-12 students.” GSX reported that its “[g]ross profit increased




  33
       This is the same explanation the Company gave in the November 2019 6-K, verbatim.


                                                 109
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 114 of 156 PageID: 441




  520.1% to ¥1,578.9 million, from ¥254.6 million in 2018,” and that its “[i]ncome from

  operations increased to ¥215.7 million, from ¥19.2 million in 2018,” a 1,023.44% increase.

         303.    The statements in ¶ 302 were false and materially misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; (2) GSX routinely falsified at least 70% of its student enrollment by (a) using

  software bots to falsify student enrollments in GSX courses and to falsify logins to those online

  courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses;

  and (3) GSX’s stated reasons for its success are materially false and misleading because the

  Company failed to disclose that its purported success was due primarily to its falsified student

  enrollments.

         304.    In the February 2020 Report, for the fiscal year, the Company claimed that its

  “[c]ost of revenues increased by 275.3% to ¥535.9 million, from ¥142.8 million, . . . mainly due

  to an increase in compensation for instructors and tutors, learning materials and other related

  operating expenses.” GSX represented that its “[s]elling expenses increased to ¥1,040.9 million,

  from ¥121.5 million” (i.e., an increase of 757.41%) “primarily a result of an increase in

  marketing expenses to expand the customer base and for brand enhancement, as well as an

  increase in compensation to sales and marketing staff.” Further, the Company told investors that

  its “[r]esearch and development expenses increased 186.4% to ¥212.2 million, from ¥74.1

  million, . . . primarily due to an increase in the number of course professionals, educational

  content professionals, and technology development personnel, as well as an increase in

  compensation for such staff.”




                                                   110
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 115 of 156 PageID: 442




         305.    The statements in ¶ 304 were materially false and misleading because GSX failed

  to disclose that a material percentage of its cost of revenues, selling expenses, and research and

  development expenses were in fact expenses paid to third-party brushers to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses,

  and to write false reviews of the courses.

         306.    In the February 2020 Report, for the quarter, GSX claimed that “[t]otal

  enrollments increased 290.2% year-over-year to 1,120,000” students, up from “287,000”

  students. For the fiscal year, GSX represented that “[t]otal enrollments increased 257.6% year-

  over-year to 2,743,000” students, up from “767,000” students.

         307.    The statements in ¶ 306 were materially false and misleading because GSX

  routinely inflated its student enrollment figures by at least 70% by (a) using software bots to

  falsify student enrollments in GSX courses and to falsify logins to those online courses, and (b)

  engaging third parties as well as its instructors and tutors to assume the identities of student users

  to purchase and enroll in GSX courses and then sign-in to those online courses.

         308.    In the February 2020 Report, Defendant Shen attributed the “lightspeed growth”

  of revenues from the Company’s K-12 business to “paid enrollments,” which Shen represented

  “increased 410% year-over-year.”

         309.    The statements in ¶ 308 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; and (2) GSX’s stated reasons for its success are materially false and misleading

  because the Company failed to disclose that its purported success was due primarily to its

  falsified student enrollments.




                                                   111
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 116 of 156 PageID: 443




         310.    On February 18, 2020, Defendants Chen and Shen presented GSX’s 4Q2019 and

  Fiscal Year 2019 results to investors on a teleconference (the “February 2020 Earnings Call”).

         311.    On the February 2020 Earnings Call, Shen claimed that

         Total enrollments, which refers to enrollments to courses priced at or above ¥9.9,
         hit a record high of 1.12 million, which was 3.9x that of the same period of 2018.
         Paid enrollments, which refer to enrollments priced at or above ¥99, increased to
         1.1 million or 4.4x that of the same period of 2018. In addition, we also provide
         promotional classes priced at ¥9 all for free, which contributed a large lot of
         enrollments.

         312.    The statements in ¶ 311 were materially false and misleading because GSX

  routinely inflated its student enrollment figures by at least 70% by (a) using software bots to

  falsify student enrollments in GSX courses and to falsify logins to those online courses, and (b)

  engaging third parties as well as its instructors and tutors to assume the identities of student users

  to purchase and enroll in GSX courses and then sign-in to those online courses.

         313.    On the February 2020 Earnings Call, Shen represented that:

         Net revenue from our K-12 courses increased by 468% year-over-year to ¥773
         million and accounted for 83% of net revenues. [. . .] Among K-12, I want to
         highlight our primary school business, whose revenue grew by 894% year-over-
         year in the fourth quarter. The revenue generated by primary school sector is not
         only increasing in absolute amount, but also accelerating in growth rate. We were
         able to achieve this because we’ve prioritized our primary school business as a
         strategic focus and invested considerable time and resources in upgrading the
         course content and learning experience.

         314.    The statements in ¶ 313 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; (2) GSX’s stated reasons for its success are materially false and misleading

  because the Company failed to disclose that its purported success was due primarily to its

  falsified student enrollments.

         315.    On the February 2020 Earnings Call, Shen further stated that:




                                                   112
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 117 of 156 PageID: 444




          Our cost of revenues increased by 239% year-over-year to ¥196 million. The
          year-over-year growth rate was less than that of revenue, primarily attributed to
          the economics of scale of large class business model.

          [. . .]

          Selling expenses increased to ¥442 million, up from ¥58 million in the fourth
          quarter of 2018. The increase was primarily a result of more marketing expenses
          to attract new students, expand market share and enhance brand awareness.

          [. . .]

          Research and development expenses increased by 215% year-over-year to ¥84
          million. We constantly work our ways to apply the latest technology to improve
          the learning experience. We will consistently invest in research and development,
          hire the most talented professionals and enhance the operational efficiencies
          leveraging technologies.

          316.       The statements in ¶ 315 were materially false and misleading because GSX failed

  to disclose that a material percentage of its cost of revenues, selling expenses, and research and

  development expenses were in fact expenses paid to third-party brushers to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses,

  and to write false reviews of the courses.

          317.       On the February 2020 Earnings Call, responding to a market analyst’s questions

  concerning the Company’s customer acquisition strategy, Shen claimed that GSX is “very

  unique” because “it’s most likely that if a company grows as fast as us [sic], they will be [sic] in

  a deficit position. We can be profitable only because we are very lucky that we are in education

  industry [sic].”

          318.       GSX’s stated reasons in ¶ 317 for its success were materially false and misleading

  because the Company failed to disclose that its purported success was due primarily to its

  falsified student enrollments and inflated revenues.




                                                    113
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 118 of 156 PageID: 445




         319.    On the February 2020 Earnings Call, in response to a market analysts’ and

  investors’ questions concerning compensation that the Company paid its tutors and instructors in

  2019, Shen responded that GSX “always provide [sic] the most competitive compensation” to

  “both [its] instructors and [its] tutors,” that “tutors’ compensation is slightly higher than the

  compensation we pay to instructors right now” because “tutors also takes [sic] the important role

  like because they are doing the daily communication, they are doing the emotional support, and

  they are the person [sic] who talks directly to the student on a daily basis.” Shen further

  represented that GSX retained “100%” of its instructors in 2019. According to Shen, instructors

  were compensated in part by a “fixed” salary “plus performance-based compensation usually

  linked to the number of enrollments in their class as well as the share-based compensation.”

         320.    The statements in ¶ 319 were materially false and misleading because the

  Company failed to disclose that instructors and tutors were required (i) to skim and replicate

  private user data from social media platforms, and (ii) to assume the identities of those users to

  purchase and enroll in GSX courses and then sign-in to those online courses, all as conditions

  precedent to receiving their base salaries and compensation bonuses.

                 2.      April 3, 2020: 2020 Form 20-F

         321.    On April 3, 2020, the Company filed a Form 20-F Annual Registration Statement

  with the SEC (the “2020 20-F”). Defendant Chen signed the 2020 20-F. In this document, the

  Company stated that its K–12 courses contributed to “73.2% and 80.7%, respectively, of [its]

  total revenues in 2018 and 2019.” The Company claimed that “[i]n 2018 and 2019, [it] derived

  substantially all of [its] net revenues from the course fees that [it] charge to [its] students [sic]”

  and that it “generally collect[s] course fees in advance.” GSX represented that its net revenues

  totaled “¥97,580,000” in 2017; “¥397,306,000” in 2018; and “¥2,114,855,000” in 2019 (i.e., that

  its net revenues increased by 307.16% from 2017 to 2018 and by 432.30% from 2018 to 2019.


                                                   114
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 119 of 156 PageID: 446




  The Company reported that its “gross profit increased by 520.1% from ¥254.6 million in 2018 to

  ¥1,578.9 million (US $226.8 million) in 2019” and that its “income from operations increased

  from ¥19.2 million in 2018 to ¥215.7 million (US $31.0 million) in 2019.”

         322.    The statements in ¶ 321 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; and (2) GSX’s stated reasons for its success are materially false and misleading

  because the Company failed to disclose that its purported success was due primarily to its

  falsified student enrollments.

         323.    Also in the 2020 20-F, the Company claimed that its “cost of revenues primarily

  consists of performance-based salaries to instructors and total compensation to tutors” as well as

  “costs for teaching materials, rental expenses for [its] office space and server and bandwidth

  costs,” and that the Company “recorded cost of revenues of ¥25.0 million, ¥142.8 million, and

  ¥535.9 million (US $77.0 million) in 2017, 2018 and 2019, respectively” (i.e., increases of

  471.2% between 2017 and 2018 and of 275.28% between 2018 and 2019). The Company

  claimed that its “selling expenses primarily consist of expenses relating to [its] marketing and

  brand promotion activities, compensation to [its] personnel involved in sales and marketing,

  traffic acquisition expenses and other miscellaneous expense [sic],” and that it “recorded selling

  expenses of ¥75.3 million, ¥121.5 million, and ¥1,040.9 million in 2017, 2018 and 2019,

  respectively (i.e., increases of 61.35% from 2017 to 2018 and of 756.71% from 2018 to 2019).

  GSX also stated that its “[r]esearch and development expenses consist primarily of compensation

  to [its] education content development personnel, and to [its] technology development personnel,

  and to a lesser extent, rental expenses for office space and server and bandwidth costs and

  others,” claiming that the Company “recorded research and development expenses of ¥52.5




                                                 115
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 120 of 156 PageID: 447




  million, ¥74.1 million and ¥212.2 million (US $30.5 million) in 2017, 2018 and 2019,

  respectively” (i.e., increases of 41.14% between 2017 and 2018 and of 186.37% between 2018

  and 2019).

           324.   The statements in ¶ 323 were materially false and misleading because GSX failed

  to disclose that a material percentage of its cost of revenues, selling expenses, and research and

  development expenses were in fact expenses paid to third-party brushers to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses,

  and to write false reviews of the courses.

           325.   Also in the 2020 20-F, the Company claimed that its total enrollments “increased

  from 79,632 in 2017 to 767,102 in 2018 and further increased to 2,742,545 in 2019” (i.e., that

  total enrollments increased by 863.31% between 2017 and 2018 and by 257.52% between 2018

  and 2019). According to the Company, “average enrollments of [its] online K–12 courses

  increased from approximately 400 per course in 2017 to approximately 600 per course in 2018,

  and further increased to approximately 1,200 per course in 2019” (i.e., by 50% from 2017 to

  2018 and by 100% from 2018 to 2019). According to the Company, “[i]n 2019, 89.5% of [its]

  paid course enrollments were from [its] K–12 courses, compared to 74.8% in 2018 and 86.6% in

  2017.”

           326.   The statements in ¶ 325 were materially false and misleading because GSX

  routinely inflated its student enrollment figures by at least 70% by (a) using software bots to

  falsify student enrollments in GSX courses and to falsify logins to those online courses, and (b)

  engaging third parties as well as its instructors and tutors to assume the identities of student users

  to purchase and enroll in GSX courses and then sign-in to those online courses.




                                                   116
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 121 of 156 PageID: 448




         327.       Also in the 2020 20-F, GSX claimed that “[p]rospective [teaching] candidates

  must go through [its] rigorous interview process, including resume screening, in-person

  interviews, and demo courses.”

         328.       The statements in ¶ 327 were materially false and misleading because the

  Company failed to disclose that it routinely hired instructors and tutors with no in-person

  interview or demo course.

                    3.     April 8, 2020: Statement by Chen

         329.       On April 8, 2020, Defendant Chen repudiated short sellers’ initial analyses

  showing that the Company was falsifying student enrollments and revenue when he called upon

  Muddy Waters to investigate the Company for fraud and expressed confidence that nothing

  would be found: “I think if Muddy Waters analyses our data seriously, there is a high probability

  that think Muddy Waters will not be so stupid. The level and IQ of the people in Muddy Waters

  is quite high.”

         330.       The statements in ¶ 329 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; and (2) GSX routinely falsified at least 70% of its student enrollment by (a) using

  software bots to falsify student enrollments in GSX courses and to falsify logins to those online

  courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses.

                    4.     April 9, 2020: “Market Concerns” Investors’ Call

         331.       On April 9, 2020, Defendants Chen and Shen held an impromptu teleconference

  with investors “to address market concerns.” Shen claimed that “[i]n 2019, [the Company]

  generated ¥3.358 billion in gross billings.” Defendant Chen then restated certain of GSX’s 2019

  financial dated, claiming that “in 2019, the full year, [GSX] [is] actually the only one that


                                                   117
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 122 of 156 PageID: 449




  realized a positive net profit,” the Company’s “revenue actually has a growth rate—year-over-

  year growth rate of over 400%.”

            332.   The statements in ¶ 331 were materially false and misleading because More than

  half of GSX’s revenues and profits, including gross billings, were falsified, throughout the Class

  Period.

            333.   On April 9, 2020, Shen represented that “for Q42019, [the Company] reported 1.1

  million paid enrollments.” In response to market reports that questioned the truthfulness of

  GSX’s enrollment figures in light of the Company’s own user download data, Shen claimed that

  “total monthly new users for GSX and Gaotu Ketang apps were 2.21 million for the second half

  in 2019, ranking up the third among education peers.” Shen claimed that market reports to the

  contrary were “not accurate, reliable or applicable to [GSX]’s business model.”

            334.   The statements in ¶ 333 were materially false and misleading because GSX

  routinely inflated its student enrollment figures by at least 70% by (a) using software bots to

  falsify student enrollments in GSX courses and to falsify logins to those online courses, and (b)

  engaging third parties as well as its instructors and tutors to assume the identities of student users

  to purchase and enroll in GSX courses and then sign-in to those online courses.

            335.   On the April 9, 2020 conference call, Chen stated, “[W]e decided not to respond

  to Grizzly's short report. The report is full of irrelevant and false allegations and a lack of basic

  accounting knowledge.”

            336.   The statements in ¶ 335 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; and (2) GSX routinely falsified at least 70% of its student enrollment by (a) using

  software bots to falsify student enrollments in GSX courses and to falsify logins to those online




                                                   118
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 123 of 156 PageID: 450




  courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses.

         337.    On April 9, 2020, in response to market reports that questioned whether GSX had

  engaged in undisclosed related-party transactions, Shen claimed that two unconsolidated related

  parties, “Baijia Yuntu and BaiJiaHuLian . . . do not have any related party transactions with GSX

  in 2018 and 2019.” Shen claimed that “Beijing Youlian Jiazhang Jia is GSX related party and

  [GSX] actually paid a nice ¥3 million for service provided by Beijing Youlian Jiazhang Jia in

  2019, which takes 0.16% of GSX total cost and operating expenses of the year [sic]. Please note,

  the direction is that [GSX] paid Beijing Youlian Jiazhang Jia rather than Beijing Youlian

  Jiazhang Jia transferred its profit to [GSX].”

         338.    The statements in ¶ 337 were materially false and misleading because GSX did

  not disclose that throughout 2018 and 2019, Beijing Yuntu and all of the VIE subsidiaries (i.e.,

  the subsidiaries of BaiJiaHuLian Technology Co., Ltd.) had contractual employment

  arrangements in which employees of Beijing Yuntu and other subsidiaries of BaiJiaHuLian

  Technology Co., Ltd., including but not limited to Beijing Youlian Jiazhang Jia, would, pursuant

  to their contracts with GSX, (a) use software bots to falsify student enrollments in GSX courses

  and to falsify logins to those online courses, (b) assume the identities of student users to falsify

  student enrollments by purchasing, enrolling in, and signing in to GSX courses, which caused

  GSX to overstate its revenues, including gross billings, materially, by at least 70% throughout

  the Class Period.

         339.    On April 9, 2020, in response to market reports that questioned the discrepancies

  between GSX’s SAIC filings and its SEC filings, Shen responded that the “gap . . . was actually

  a GAAP difference between China and U.S. after the groups restructured to spin-off 2B business




                                                   119
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 124 of 156 PageID: 451




  in 2017.     The difference is totally reasonable and legitimate and has nothing to do with

  operational numbers.”

            340.   The statements in ¶ 339 were materially false and misleading because the

  differences between the Company’s filings with the SAIC and with the SEC cannot be explained

  by differences between the generally accepted accounting principles of China and the United

  States.

                   5.      April 15, 2020: GSX Denies Citron Report

            341.   On April 15, 2020, GSX issued a press release stating: “GSX Techedu Inc. . . .

  today firmly denied the false and ungrounded allegations raised in a report by Citron Research

  dated April 14, 2020.”

            342.   The statements in ¶ 341 were materially false and misleading because: (1) the

  report by Citron Research dated April 14, 2020 claimed, among other things, that “GSX Techedu

  Inc. is overstating revenue by up to 70%” and more than half of GSX’s revenues and profits,

  including gross billings, were falsified, throughout the Class Period; (2) GSX routinely falsified

  at least 70% of its student enrollment by (a) using software bots to falsify student enrollments in

  GSX courses and to falsify logins to those online courses, and (b) engaging third parties as well

  as its instructors and tutors to assume the identities of student users to purchase and enroll in

  GSX courses and then sign-in to those online courses; and (3) GSX’s stated reasons for its

  success are materially false and misleading because the Company failed to disclose that its

  purported success was due primarily to its falsified student enrollments.

                   6.      May 6 and 7, 2020: 1Q2020 Earnings Report

            343.   On May 7, 20020, GSX filed, and Defendant Shen signed, a Form 6-K with the

  SEC, attaching and incorporating as an exhibit a press release dated May 6, 2020 detailing the

  Company’s quarterly earnings results for 1Q2020 (together, comprising the “May 2020 6-K”).


                                                 120
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 125 of 156 PageID: 452




  The Company claimed that its “[n]et revenues reached ¥1,297.6 million, a 382.0.5% increase

  from ¥269.2 million . . . mainly driven by the growth in paid course enrollments for K-12

  courses.” The Company reported that its “[g]ross profit increased 442.1% to ¥1,014.3 million

  from ¥187.1 million in the first quarter of 2019,” and that its “[i]ncome from operations was

  ¥91.9 million, compared with ¥42.7 million in the first quarter of 2019.”

         344.    The statements in ¶ 343 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; and (2) GSX’s stated reasons for its success are materially false and misleading

  because the Company failed to disclose that its purported success was due primarily to its

  falsified student enrollments.

         345.    The Company claimed that its “[c]ost of revenues rose 245.5% to ¥283.3 million

  from ¥82.0 million, . . . mainly due to the increase in compensation for instructors and tutors,

  learning materials, as well as the extra costs paid for supporting our services offered for free

  during the COVID-19 outbreak.” GSX represented that its “[s]elling expenses increased to

  ¥757.2 million from ¥99.5 million” (i.e., an increase of 661.0%) ” “primarily a result of higher

  marketing expenses to expand the customer base and enhance [the Company’s] brands, an

  increase in compensation to sales and marketing staff, as well as free course promotional

  expenses to acquire traffic during the COVID-19 outbreak.”           Further, the Company told

  investors that its “[r]esearch and development expenses increased 227.0% to ¥99.4 million from

  ¥30.4 million, . . . primarily due to an increase in the number of course professionals and

  technology development personnel, as well as an increase in compensation for such staff.”

         346.    The statements in ¶ 345 were materially false and misleading because GSX failed

  to disclose that a material percentage of its cost of revenues, selling expenses, and research and




                                                 121
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 126 of 156 PageID: 453




  development expenses were in fact expenses paid to third-party brushers to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses,

  and to write false reviews of the courses.

         347.     According to GSX, “[p]aid course enrollments increased 307.4% year-over-year

  to 774,000.”

         348.     The statements in ¶ 347 were materially false and misleading because GSX

  routinely inflated its student enrollment figures by at least 70% by (a) using software bots to

  falsify student enrollments in GSX courses and to falsify logins to those online courses, and (b)

  engaging third parties as well as its instructors and tutors to assume the identities of student users

  to purchase and enroll in GSX courses and then sign-in to those online courses.

                  7.     May 19, 2020: Denials of Bots, Brushing & Pledging

         349.     On May 19, 2020, in response to private investigations into GSX’s use of bots and

  enrollment brushing, GSX issued a press release wherein it stated:

         GSX Techedu Inc. . . . today refuted the false allegations in Muddy Waters
         Research’s latest report, dated May 18, 2020.

         [. . ]

         Burst joiners are caused when classes transition from tutors to instructors, which
         is a typical course procedure.

         [. . ]


         Precise joiners exist for the same reason, especially with respect to K-12 classes,
         which are typically delivered periodically. Early joiners are students who sign in
         early to participate in the tutor's prep sessions.

         [. . ]

         GSX reproduced the full dataset for all of the Company’s paid classes between
         January and March 2020, and concluded that the IP overlap rate between students,



                                                   122
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 127 of 156 PageID: 454




         instructors and tutors was only 0.78%, far less than the 28.2% claimed in the
         report. We believe that a 0.78% overlap is a reasonable level.

         350.      The statements in ¶ 349 were materially false and misleading because: (1) the

  allegations in Muddy Waters Research’s latest report, dated May 18, 2020 were not false; (2)

  burst joiners and precise joiners are not all caused when classes transition from tutors to

  instructors; (3) early joiners are not students who sign in early to participate in the tutor’s prep

  sessions; (4) the IP overlap rate between students, instructors and tutors in the full dataset for all

  of the Company’s paid classes between January and March 2020 is not only 0.78%; (5) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; (6) GSX routinely falsified at least 70% of its student enrollment by (a) using

  software bots to falsify student enrollments in GSX courses and to falsify logins to those online

  courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses.

                   8.     May 29, 2020: More Affirmative Denials of Bots & Brushing

         351.      On May 29, 2020, in response to private investigations into GSX’s use of bots and

  enrollment brushing, GSX issued a press release wherein it stated:

         GSX . . . today refuted the false allegations in Muddy Waters Research's latest 6-
         page report, dated May 28, 2020.

         [. . .]

         GSX’s staff rely heavily on cellphones to communicate daily with students and
         parents. In line with the rapid growth in both students and employees, the
         Company requires enough engineers to conduct daily maintenance of cellphones,
         to improve communications efficiency and enhance cost control. That work has
         nothing to do with maintaining bot farms.

         352.      The statements in ¶ 351 were materially false and misleading because: (1) the

  allegations in Muddy Waters Research’s latest report, dated May 18, 2020 were not false; (2) the

  job postings for individuals with skills to “jailbreak” cellphones were not job postings for


                                                   123
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 128 of 156 PageID: 455




  “engineers to conduct daily maintenance of cellphones,” and the work sought in the job posting

  directly concerned “maintaining bot farms”; (3) More than half of GSX’s revenues and profits,

  including gross billings, were falsified, throughout the Class Period; (4) GSX routinely falsified

  at least 70% of its student enrollment by (a) using software bots to falsify student enrollments in

  GSX courses and to falsify logins to those online courses, and (b) engaging third parties as well

  as its instructors and tutors to assume the identities of student users to purchase and enroll in

  GSX courses and then sign-in to those online courses.

                   9.     June 3, 2020: GSX Denies Grizzly Research’s Follow-up Report

         353.      On June 3, 2020, GSX stated:

         GSX Techedu Inc. . . . today refuted the false allegations in Grizzly Research’s
         follow up report, dated June 2, 2020.

         [. . .]

         The Company strictly complies with all relevant legal and regulatory
         requirements, as well as the terms and conditions of social media platforms.

         354.      The statements in ¶ 353 were materially false and misleading because: (1) the

  allegations in Grizzly Research’s report, dated June 2, 2020, including the allegations that the

  Company was inflating student enrollments and revenue, were not false; (2) More than half of

  GSX’s revenues and profits, including gross billings, were falsified, throughout the Class Period;

  (3) GSX routinely inflated its student enrollment figures by at least 70% by (a) using software

  bots to falsify student enrollments in GSX courses and to falsify logins to those online courses,

  and (b) engaging third parties as well as its instructors and tutors to assume the identities of

  student users to purchase and enroll in GSX courses and then sign-in to those online courses; and

  (4) GSX does not strictly comply with all relevant legal and regulatory requirements, as its hiring

  of teachers without any teacher qualifications violates Chinese law.




                                                  124
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 129 of 156 PageID: 456




                 10.     September 2, 2020: 2Q2020 Earnings Report

         355.    On September 2, 2020, GSX filed, and Defendant Shen signed, a Form 6-K with

  the SEC, attaching and incorporating as an exhibit a press release dated September 2, 2020

  detailing the Company’s quarterly earnings results for 2Q2020 (together, comprising the

  “September 2020 6-K”).       The Company claimed that its “[n]et revenues reached ¥1,650.3

  million, a 366.6% increase from ¥353.7 million, . . . mainly driven by the growth in paid course

  enrollments for K-12 courses.” The Company reported that its “[g]ross profit increased 410.8%

  to ¥1,289.7 million from ¥252.5 million in the second quarter of 2019,” and claimed that its

  “[l]oss from operations was ¥160.8 million, compared with income from operations of ¥16.2

  million in the second quarter of 2019.” The Company claimed that “this decrease was primarily

  due to higher investment in sales and marketing activities to extend volume growth and

  strengthen brand perception.”

         356.    The statements in ¶ 355 were materially false and misleading because: (1) More

  than half of GSX’s revenues and profits, including gross billings, were falsified, throughout the

  Class Period; (2) GSX routinely falsified at least 70% of its student enrollment by (a) using

  software bots to falsify student enrollments in GSX courses and to falsify logins to those online

  courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses;

  and (3) GSX’s stated reasons for its success are materially false and misleading because the

  Company failed to disclose that its purported success was due primarily to its falsified student

  enrollments.

         357.    The Company claimed that its “[c]ost of revenues rose 256.4% to ¥360.7 million

  from ¥101.2 million, . . . mainly due to an increase in compensation for instructors and tutors,

  learning materials, rental expenses, as well as server and bandwidth costs.” GSX represented


                                                   125
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 130 of 156 PageID: 457




  that its “[s]elling expenses increased to ¥1,204.8. million from ¥169.0 million” (i.e., an increase

  of 612.90%) “primarily a result of higher marketing expenses to expand the user base and

  enhance [the Company’s] brands, as well as an increase in compensation to sales and marketing

  staff.” Further, the Company told investors that its “[r]esearch and development expenses

  increased 240.4% to ¥139.9 million from ¥41.1 million, . . . primarily due to an increase in the

  number of course professionals and technology development personnel, as well as an increase in

  compensation for such staff.”

         358.    The statements in ¶ 357 were materially false and misleading because GSX failed

  to disclose that a material percentage of its cost of revenues, selling expenses, and research and

  development expenses were in fact expenses paid to third-party brushers to assume the identities

  of student users to purchase and enroll in GSX courses and then sign-in to those online courses,

  and to write false reviews of the courses.

         359.    According to GSX, “online K–12 paid course enrollments increased 366.0% year-

  over-year to 1,496 thousand” (i.e., 1,496,000) “driven by [the Company’s] effective investment

  in sales and marketing efforts.”

         360.    The statements in ¶ 359 were materially false and misleading because GSX

  routinely inflated its student enrollment figures by at least 70% by (a) using software bots to

  falsify student enrollments in GSX courses and to falsify logins to those online courses, and (b)

  engaging third parties as well as its instructors and tutors to assume the identities of student users

  to purchase and enroll in GSX courses and then sign-in to those online courses.

                                     VI.       LOSS CAUSATION

                 1.      April 3, 2020

         361.    On April 3, 2020, GSX filed its 2019 Annual Report on Form 20-F with the SEC

  for the fiscal year ended December 31, 2019. In the 2020 20-F, the Company disclosed:


                                                   126
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 131 of 156 PageID: 458




          Commencing with our fiscal year ending December 31, 2020, we must perform
          system and process evaluation and testing of our internal control over financial
          reporting to allow management to report on the effectiveness of our internal
          control over financial reporting in our Form 20-F filing for that year, as required
          by Section 404 of the Sarbanes-Oxley Act.

          [. . .]

          In addition, when we cease to be an “emerging growth company” as such term is
          defined in the JOBS Act, our independent registered public accounting firm must
          attest to and report on the effectiveness of our internal control over financial
          reporting.

          [. . .]

          Because we have substantial operations within the PRC and the PCAOB [(i.e., the
          U.S. Public Company Accounting Oversight Board)] is currently unable to
          conduct inspections of the work of our independent registered public accounting
          firm as it relates to those operations without the approval of the Chinese
          authorities, our independent registered public accounting firm is not currently
          inspected fully by the PCAOB. This lack of PCAOB inspections in the PRC
          prevents the PCAOB from regularly evaluating our independent registered public
          accounting firm’s audits and its quality control procedures. As a result, investors
          may be deprived of the benefits of PCAOB inspections.

          362.      Accordingly, in the April 20-F, the Company also disclosed for the first time that

  it had not evaluated or tested, and had no system in place to evaluate or test, its “internal control

  [sic] over financial reporting to allow management to report on the effectiveness of [its] internal

  control over financial reporting.” The Company disclosed for the first time that it would

  implement a system to evaluate or test its internal controls “[c]ommencing with [its] fiscal year

  ending December 31, 2020.”

          363.      In addition, April 20-F first disclosed that GSX’s online and mobile marketing

  costs had been responsible for much of the previously-reported increase in selling expenses. As

  reported on April 6 by a JP Morgan analyst, who was the only analyst who wrote about the April

  20-F:

          Last Friday, GSX released its first 20-F since the listing, for the year of 2019
          (link). While most of the information was already covered in its earnings releases


                                                   127
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 132 of 156 PageID: 459




         (see our 4Q19 takeaway and recent industry update notes), below we quickly
         summarize a few incremental points made available from 20-F.

         [. . .]

         Traffic acquisition costs (“online & mobile marketing” costs) rose +1367% to
         RMB728m in 2019 (vs. RMB50m in 2018), accounting for 70% of its Sales &
         Marketing expenses (the rest is primarily compensations of sales and marketing
         staffs). This was equivalent to 34% of sales and 22% gross billings in 2019,
         compared to 12% and 8%, respectively, in 2018.

         364.      Online and mobile marketing costs increased because that is how GSX

  misleadingly recorded its illegal brushing expenditures.

         365.      Following the publication of the 2019 Annual Report, the price of GSX’s ADSs

  fell by $6.05 per share, or 15.52%, to close at $32.93 per share on April 3, 2020.

                   2.     April 14, 2020

         366.      On April 14, 2020, Citron Research published a report highlighting, among other

  things, that the Company’s “2019 revenue was overstated by 70%,” that “sales revenues are

  largely exaggerated,” and that the Company’s “filings are riddled with suspicious transactions.”

         367.      To support its claims, Citron alleged that, among other things: (a) a professional

  brusher had described in detail the process GSX employed to fake enrollments; (b) surveys

  showed that GSX was a bit player in the Chinese education technology field; and (c) GSX had

  overstated the number of students in its courses.

         368.      On this news, the price of GSX’s ADSs fell by $0.20 per share, or 0.64%, to close

  at $31.20 per share on April 14, 2020.

                   3.     May 18 and 20, 2020

         369.      On May 18, 2020, Muddy Waters Capital LLC (“Muddy Waters”) published a

  report highlighting and detailing several inconsistencies in GSX’s reported student enrollment

  numbers and, using GSX’s own user and attendance data files comprising 200 paid K–12 courses



                                                  128
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 133 of 156 PageID: 460




  across 54,065 unique users between January and March 2020, concluded that “at least 73.2% of

  GSX’s users are bots.”

         370.    Following the publication of the May 18 Muddy Waters report, the price of

  GSX’s ADSs fell by $2.59, or 7.3% to close at $32.84 per share on May 18, 2020, and fell

  further by $3.30, or 9.74% to close at $30.58 per share on May 20, 2020.

                 4.      August 7 and 10, 2020

         371.    On August 7, 2020, Citi Research issued a market report downgrading GSX’s

  ADSs from “Buy” to “Sell,” adjusting the one-year target price to $115 per ADS, citing concerns

  about GSX’s valuation and the potentially adverse impacts that U.S. and Chinese regulatory

  changes could have on GSX’s business. This disclosure partially revealed that GSX’s revenues

  and profits were overstated due to its falsification of student enrollments.

         372.    Also on August 7, 2020, Citron Research tweeted the following message:34




         373.    Following these disclosures, the price of GSX’s ADSs fell by $24.28, or 18.5%,

  to close at $106.99 per share on Friday, August 7, 2020.



  34
    @CitronResearch, Twitter (Aug. 7, 2020, 10:52 AM EST);
  https://twitter.com/CitronResearch/status/1291749056440541186.


                                                  129
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 134 of 156 PageID: 461




         374.    The stock continued to fall on Monday, August 10, 2020 in part due to the

  market’s absorption of this news. As Kenneth Rapoza noted in Forbes, “the stock fell around 9%

  [on August 10] as equity analysts downgraded the stock. Citi analyst Mark Li put a sell call on it

  yesterday, the first bulge bracket firm to do so.”

         375.    Also, on Sunday, August 9, 2020, Sylvan Research published a report comparing

  the online presence of GSX employees with that of its competitors’, concluding that GSX had

  the lowest number of employees among the top seven online education companies in China, that

  the Company inflated the number of teaching staff one hundredfold in its 1Q2020 6-K, and that

  based upon the online professional networking profiles of GSX’s instructors and tutors, most

  lacked teaching credentials.

         376.    Following these reports, the price of GSX’s ADSs fell by $10.43 per share, or

  9.75%, to close at $96.56 per share on the next trading day, August 10, 2020.

                 5.      August 14, 2020

         377.    On August 14, 2020, iQiyi, a Chinese company, announced that:

         The SEC’s Division of Enforcement is seeking the production of certain financial
         and operating records dating from January 1, 2018, as well as documents related
         to certain acquisitions and investments that were identified in a report issued by
         short-seller firm Wolfpack Research in April 2020 (“Wolfpack Report”).

  The Wolfpack Report was a short seller report accusing the Company of fraud. On this news,

  the market learned that the SEC’s enforcement priorities were centering on fraud at Chinese

  companies, and so learned that it was more likely the SEC would investigate the frauds that

  researchers had uncovered and alleged of GSX.

         378.    On this news, as the market came to appreciate its significance for GSX on

  August 14, 2020, the price of GSX’s ADSs fell by $10.80 per share, or 10.80%, to close at

  $89.20 per share on August 14, 2020.



                                                  130
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 135 of 156 PageID: 462




                6.      September 2 and 3, 2020

         379.   On September 2, 2020, GSX announced that the SEC’s Division of Enforcement

  had contacted the Company, requesting it to produce certain financial and operating records

  dating from January 1, 2017. Investors understood this investigation to concern the fraud Muddy

  Waters and other researchers had partly revealed.

         380.   On this news, the price of GSX’s ADSs fell by $11.41 per share, or 12.1%, to

  close at $83.28 per share on September 2, 2020, and on September 3, the stock fell by $4.53 per

  share, or 5.4%, to close at $78.75 on September 3, 2020.

                7.      October 21, 2020

         381.   On October 21, 2020, Credit Suisse issued a market report downgrading GSX’s

  ADSs from “Neutral” to “Underperform,” adjusting the one-year target price from $85 per ADS

  to $71 per ADS, citing concerns about GSX’s “products and strategy.” In the report, Credit

  Suisse explained that given increasing competition in the online education sector “as leading

  private players continued raising capital to fuel growth,” the Company “no longer benefits from

  organic traffic growth” because GSX’s customers began “to rotate on promotional classes” and

  thus were not “converting to” (i.e., purchasing) regular-priced enrollments as anticipated. Such

  enrollment conversions, according to Credit Suisse, are critical drivers of online education

  companies’ revenue growth. Credit Suisse also opined that the Company “has made mistakes at

  a key stage of competition,” noting the Company’s “mistaken focus on normal-price summer

  programmes.” Credit Suisse projected that the Company’s 3Q2020 adjusted net profit would fall

  by 1,191% from ¥73 million in 2Q2020, to—¥793 million in 3Q2020—a staggering 4,038%

  decrease year-over-year.

         382.   On October 21, 2020, Jon Quast of The Motley Fool reported that “GSX Techedu

  management foresees a loss of ¥18.6 million in Q2 on revenue of ¥1,650 million. For Q3 it had


                                                131
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 136 of 156 PageID: 463




  guided revenue of ¥900 million (around $135 million) a gargantuan downside development.”35

  Then, on October 21, 2020, DoNews in China reported that GSX’s 3Q2020 revenues are

  expected to drop by over 9%.36

         383.    On this news, the price of GSX’s ADSs fell by $31.71, or 30.8%, to close at

  $71.23 per share on October 21, 2020.

                      VII.     ADDITIONAL SCIENTER ALLEGATIONS

         A.      Statements by the Individual Defendants Directly Denying Brushing and
                 Other Fraudulent Practices Are Strong Evidence of Recklessness or
                 Knowledge

         384.    The Individual Defendants repeatedly and pointedly denied that the specific

  frauds alleged herein were occurring.       These statements, often made in direct response to

  investor questioning, are strong evidence that the Individual Defendants, and GSX, at a

  minimum were severely reckless in not knowing the specific frauds alleged herein were

  occurring.

         385.    On June 15, 2015, an article was published on Duozhi.com claiming that GSX

  required afterschool tutoring institutes using its platform to conduct brushing. The article went

  on to claim that GSX would promote the twelve institutes that spent the most on brushing37. The

  article quoted the principal of a tutoring institute as saying that GSX required it to spend at least


  35
    Jon Quast, Why GSX Techedu Stock Was Crushed on Wednesday, The Motley Fool (Oct. 21,
  2020, 12:43 PM), https://www.fool.com/investing/2020/10/21/why-gsx-techedu-stock-was-
  crushed-on-wednesday/.
  36
     Yángyáng (杨洋), Gēn Shéi Xué Bàodié Chāo 30%: Huò Yīn Sān Jìdù Yèjī Bùjí Yùqí Dǎozhì,
  Cǐqián Bèi Duō Jiā Jīgòu Zuòkōng (跟谁学暴跌超30%：或因三季度业绩不及预期导致，此
  前被多家机构做空), DoNews (Oct. 22, 2020, 11:25:44 AM),
  https://www.donews.com/news/detail/1/3118389.html.
  37
    Cindy, Gēn Shéi Xué Bèipù Liào Yāoqiú Rùzhù Jīgòu Shuā Dān, Mŏu Jīgòu Yuè Shuā
  Sìshíwàn (跟谁学被曝料要求入驻机构刷单，某机构月刷四十万), Duō Zhī Wăng (多知网)
  (June 15, 2015, 3:20:22 PM), http://www.duozhi.com/company/201506153416.shtml.


                                                  132
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 137 of 156 PageID: 464




  200,000 RMB on brushing every month and at least 100,000 RMB during a GSX event on

  June 16. The principal added that “the accounts for brushing are all fake. The platform (i.e.

  GSX) gave us over 10 accounts. Adding the accounts our own employees have registered,

  together we have over 20 accounts. We spent 20-50 thousand [RMB on brushing] for every

  class.”

            386.   Duozhi quoted a teacher as saying that “I asked in a 500-people teacher’s group if

  anyone had obtained any student order on GSX. Besides those payments via GSX made by

  students that we obtained from offline, none of those teachers had obtained any order. This is

  astonishing.”

            387.   Two days later on June 17, 2015, GSX published a statement claiming that “since

  GSX commenced its operations in 2014, it has been fighting both brushing and falsifying

  activities.”38 GSX’s statement discussed its purported efforts on locating cheating teachers and

  account holders who intended to obtain unwarranted bonus from GSX.

            388.   During an interview with Chinese media on April 8, 2020, Defendant Chen

  directly repudiated short sellers’ initial analyses showing that the Company was falsifying

  student enrollments and revenue when he called upon Muddy Waters to investigate the Company

  for fraud and expressed confidence that nothing would be found: “I think if Muddy Waters

  analyses our data seriously, there is a high probability that think Muddy Waters will not be so

  stupid. The level and IQ of the people in Muddy Waters is quite high.”

            389.   On April 9, 2020, during a conference call with investors, Defendant Chen

  directly denied the fraud, including the Company’s falsification of student enrollments and


  38
     Jīng Bào Wăng (京报网), Gēn Shéi Xué: Făn Zuòbì Wŏmen Shì Rènzhēn De (跟谁学：反作
  弊 我们是认真的), Wăngyì Gōngsī (网易公司) (June 17, 2015, 11:14:26 AM),
  https://news.163.com/15/0617/11/ASACHRL200014AED.html.


                                                  133
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 138 of 156 PageID: 465




  revenue, when he said, “[W]e decided not to respond to Grizzly’s short report. The report is full

  of irrelevant and false allegations and a lack of basic accounting knowledge.”

           390.   On April 14, 2020, Chen wrote the following to his 1.4 million followers on Sina

  Weibo, a social media platform similar to Twitter: “This is the first time in my life that I have

  encountered such absurdities and great errors in a row.” The same day, in a follow-up post,

  Chen excoriated Grizzly’s report as “complete nonsense,” and said that he would ignore it. He

  stated further that, “[Grizzly’s report] fabricated the fact that 70% of GSX revenue was

  fabricated.”

           391.   On April 15, 2020, on his Sina Weibo mini blog, responding to short seller

  reports, Defendant Chen again claimed that “GSX has never tolerated brushing.”39 Rather, he

  claimed, GSX “accentuat[es] high moral value very very much” and that it “is neither tolerant

  nor ambivalent when it comes to conduct or events that contravene the Company’s moral

  principles” since its formation in 2014.

           392.   On April 15, 2020, GSX issued a press release stating: “GSX Techedu Inc. . . .

  today firmly denied the false and ungrounded allegations raised in a report by Citron Research

  dated April 14, 2020.” The report by Citron Research dated April 14, 2020 claimed, among

  other things, that “GSX Techedu Inc. is overstating revenue by up to 70%.”

           393.   On the May 6, 2020 call to discuss GSX’s Q1 2020 earnings, Defendant Shen

  denied at length and in strident terms that GSX used brushing:

           We also would like to take this opportunity to quickly talk about the disagreement
           we have with the recent short-seller report that we sell a recorded phone interview

  39
       Xīnlàng Cáijīng (新浪财经), Gēn Shéi Xué Chuàngshī Rén Chénxiàngdōng Zàicì Huíyīng Xiāng
  Yuán Bàogào: Wánquán Yīpài Húyán (跟谁学创始人陈向东再次回应香橼报告：完全一派胡
  言) (Apr. 15, 2020, 10:22 AM), https://finance.sina.com.cn/chanjing/gsnews/2020-04-15/doc-
  iircuyvh7864998.shtml.


                                                  134
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 139 of 156 PageID: 466




         transcript. Actually, in China, brushing is illegal. It's hard to imagine that a
         criminal can take an extra call to take the risk and with no apparent benefits. And
         the content of the interview was completely different from our actual operations.
         For example, the recording says that the brushing has stopped because of the
         epidemic. But if you can tell that our growth in the first quarter and in the second
         quarter will still be very fast. And our ROI in 2019 was 3.2% in general. We
         definitely couldn't figure out how brushing can improve ROI and make it more
         than one since we already divided big classes into several smaller classes that are
         hosted by tutors. And to improve the learning experience like other companies are
         doing in the industry. This basically, you do not see other students, except for the
         small class. So many things mentioned in the conversation make zero sense. We
         highly suspect the content of the phone interview recording is fake. And if so, in
         the future, if the fake recording can be used as evidence, there will be no order in
         the capital market. And we hope that they can provide any piece of evidence like
         name from our management that involve in brushing or any contract single nature
         bank receipt of which ID they use to brush. Upon receiving this evidence, we will
         show our official stance official seal and the full set of bank statement approved.
         We've already provided all the banks we use. Please just pick one.

         394.    In May 2020, Chen posted to his 1.4 million followers on Sina Weibo: “Muddy

  Waters did some homework for the report. It’s just a pity that they didn’t understand the

  business model of our online live large class.”

         395.    On June 6, 2020, Defendant Chen stated that “unless something unexpected

  happens, this short farce should come to an end in the next two months.”

         B.      Student Enrollment was GSX’s Core Operation, and the Amount by which
                 the Company Overstated Enrollment Could Not Have Escaped the CEO and
                 CFO’s Attention

                 1.     The Exchange Act Defendants’ Fraud Concerned GSX’s Key
                        Operating Metrics

         396.    The core of GSX’s business is student enrollment in K-12 online classes. GSX

  falsified the Company’s student enrollments and revenue from such enrollments. Accordingly,

  the Exchange Act Defendants’ fraud concerned the core operations of GSX’s business, and the

  central metrics GSX used to measure its business.        These operations and metrics were so

  important to GSX’s business that the Exchange Act Defendants knew, or were severely reckless

  in not knowing about them.


                                                    135
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 140 of 156 PageID: 467




           397.   As GSX stated in its Form 20-F filed on April 3, 2020:

           We have a quality assurance team that monitors the performance of our
           instructors for each course and generates analysis reports for the supervisor in the
           relevant subject area. Our CEO and senior management team has direct oversight
           over the analysis reports as well as the quality and performance of our
           instructors.

           398.   Accordingly, Defendants were directly involved in analyzing teacher performance

  and therefore knew that at least 70% of students were falsified.

                  2.      The Magnitude of the Exchange Act Defendants’ Fraud Supports an
                          Inference of Scienter

           399.   As detailed in this Amended Complaint, the Exchange Act Defendants’ overstated

  class enrollments and revenue by at least 70% during the Class Period. The magnitude and

  duration of the fraud is strongly indicative of scienter. While GSX has directly implicated

  Defendants Chen and Shen in the fabricated transactions, it is implausible that other high-ranking

  executives did not know of or recklessly disregard the massive overstatement of GSX’s key

  financial metrics during the Class Period.

           C.     Chen was Financially Motivated To Perpetrate Fraud on Investors

           400.   Defendant Chen was highly motivated to inflate the Company’s ADS price and to

  maintain the illusion that GSX was experiencing exponential growth to personally enrich

  himself. Immediately before the IPO, Defendant Chen, as the sole owner of Ebetter International

  Group Limited (“Ebetter”), held 73,305,288, or 51.1%, of GSX’s ordinary shares. Immediately

  after the IPO, all of these shares were redesignated as Class B shares, and Chen controlled 89.8%

  of the Company’s voting power through Ebetter. Following the November 20, 2019 SPO, Chen,

  through Ebetter, retained his 73,305,288 Class B shares and held 89.9% of the Company’s voting

  power.




                                                   136
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 141 of 156 PageID: 468




         401.    Defendant Chen directly benefitted from the artificially inflated ADS price as a

  result of the $50 million Margin Loan Facility dated March 30, 2020, in which Ebetter pledged

  all of its ownership interest in GSX in favor of Chen. As consideration for this Margin Loan

  Facility, Ebetter mortgaged 6,000,000 of its Class B shares in favor of “Credit Suisse AG,

  Cayman Islands Branch of 11 Madison Avenue, New York, NY 10010, United States.”

         402.    Chen acted in concert with GSX and Defendant Shen to issue materially false and

  misleading information about the Company’s financial status to inflate the price of the ADSs so

  that Chen could secure the Margin Loan Facility, which is in effect a personal line of credit.

         D.      Corporate Insiders Exited their Positions to Finance the Company’s SPO

         403.    In the November 20, 2019 SPO, GSX did not offer any new shares to its

  Individual Shareholders. Instead, the SPO was the vehicle through which five of GSX’s ten

  largest shareholders sold their positions and walked away with a profit. GSX offered 20,700,000

  ADSs in the SPO. Of those 20.7 million ADSs, (1) 2,349,999 represented all 1,566,666 shares

  held by Origin Beyond Limited, a party to the Shareholder Agreement, whose ultimate owners

  are certain undisclosed “GSX employees,” who took a profit of $32,899,986; (2) 4,218,750

  represented all 2,812,500 shares held by Banyan partners Fund II, L.P., a party to the

  Shareholder Agreement, which took a profit of $59,062,500; (3) 2,531,250 represented all

  1,687,500 shares held by QFcapital Limited, a party to the Shareholder Agreement, which took a

  profit of $35,437,500; (4) 1,500,000 represented all 2,250,000 shares held by QF Group Limited,

  a party to the Shareholder Agreement, which took a profit of $31,500,000; and (5) 412,980

  represented all 619,470 shares held by Rolancy International Limited, a party to the Shareholder

  Agreement, whose ultimate owner is Mr. Bin Luo, who took a profit of $8,672,580.




                                                 137
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 142 of 156 PageID: 469




         E.       The Knowledge of GSX’s Senior Executives and Other Agents is Imputed to
                  the Company

         404.     By virtue of their high-level positions as the two most senior officers of GSX,

  participation in and awareness of GSX’s quotidian operations, and control over the issuance of

  the materially false or misleading statements alleged above in Section V, the knowledge or

  recklessness of Defendants Chen and Shen concerning the Exchange Act Defendants’ false or

  misleading statements is imputed to the Company. Additionally, the knowledge or recklessness

  of other senior employees and managers at GSX concerning the Company’s fabrication of

  revenue and expenses and undisclosed related-party transactions is also imputed to GSX.

  Accordingly, by no later than May 2019, prior to the start of the Class Period, GSX knew about

  or recklessly disregarded its fabrication of revenue and expenses and undisclosed related-party

  transactions.

                           VIII.    CLASS ACTION ALLEGATIONS

         405.     Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

  Procedure 23(a) and (b)(3) on behalf of a class consisting of all those who purchased or

  otherwise acquired GSX securities in the United States during the Class Period and who were

  damaged upon the revelation of the alleged corrective disclosures (the “Class”).

         406.     The members of the Class are so numerous that joinder of all members is

  impracticable. Throughout the Class Period, GSX securities were actively traded on the New

  York Stock Exchange. While the exact number of Class Members is unknown to Plaintiffs at

  this time and can be ascertained only through appropriate discovery, Plaintiffs believe that there

  are hundreds or thousands of members in the proposed Class. Record owners and other members

  of the Class may be identified from records maintained by GSX, its transfer agent, or its




                                                 138
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 143 of 156 PageID: 470




  domestic depositary, and may be notified of the pendency of this action by mail, using the form

  of notice similar to that customarily used in securities class actions.

         407.       Plaintiffs’ claims are typical of the claims of the members of the Class, as all

  members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

  federal law that is complained of herein.

         408.       Plaintiffs will fairly and adequately protect the interests of the members of the

  Class and has retained counsel competent and experienced in class actions and securities

  litigation. Plaintiffs have no interests antagonistic to or in conflict with those of the Class.

         409.       Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. Among the

  questions of law and fact common to the Class are:

                    (a)    whether applicable securities laws were violated by Defendants’ acts as

  alleged herein;

                    (b)    whether statements made by Defendants to the investing public during the

  Class Period omitted and/or misrepresented material facts about the business, operations, and

  prospects of GSX;

                    (c)    whether the Individual Defendants caused GSX to issue false and

  misleading statements during the Class Period;

                    (d)    whether Defendants acted knowingly or recklessly in issuing false and

  misleading statements; and

                    (e)    whether the members of the Class have sustained damages and, if so, what

  the proper measure of damages is.




                                                   139
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 144 of 156 PageID: 471




          410.      A class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

  the damages suffered by individual members of the Class may be relatively small, the expense

  and burden of individual litigation make it impossible for members of the Class individually to

  redress the wrongs done to them. There will be no difficulty in the management of this action as

  a class action.

          411.      Plaintiffs will rely, in part, upon the presumption of reliance established by the

  fraud-on-the-market doctrine.

          412.      The markets for GSX’s securities were open, well-developed, and efficient at all

  relevant times. As a result of the materially false and/or misleading statements and/or failures to

  disclose, GSX’s securities traded at artificially inflated prices during the Class Period. On

  August 6, 2020 the Company’s securities on the New York Stock Exchange closed at a Class

  Period high of $131.27. Plaintiffs and other members of the Class purchased or otherwise

  acquired the Company’s securities relying upon the integrity of the market price of GSX’s

  securities and market information relating to GSX and have been damaged thereby.

          413.      During the Class Period, the artificial inflation of GSX’s securities was caused by

  the material misrepresentations and/or omissions particularized in this Amended Complaint,

  causing the damages sustained by Plaintiffs and other members of the Class. As described

  herein, during the Class Period, Defendants made or caused to be made a series of materially

  false and/or misleading statements about GSX’s business, prospects, and operations. These

  material misstatements and/or omissions created an unrealistically positive assessment of GSX

  and its business, operations, and prospects, thus causing the price of the Company’s securities to

  be artificially inflated and maintained at artificially inflated levels at all relevant times, and when




                                                    140
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 145 of 156 PageID: 472




  disclosed, negatively affected the value of the Company’s shares. Defendants’ materially false

  and/or misleading statements during the Class Period induced and resulted in purchases, by

  Plaintiffs and members of the Class, of the Company’s securities at such artificially inflated

  prices, and each of them has been damaged as a result.

         414.    At all relevant times, the markets for GSX’s securities were efficient markets for

  the following reasons, among others:

                 (a)     GSX’s securities met the requirements for listing, and were listed and

  actively traded, on the New York Stock Exchange, a highly efficient and automated market;

                 (b)     As a regulated issuer, GSX filed periodic public reports with the SEC

  and/or the New York Stock Exchange;

                 (c)     GSX regularly communicated with public investors via established market

  communication mechanisms, including through regular dissemination of press releases on the

  national circuits of major newswire services and through other wide-ranging public disclosures,

  such as communications with the financial press and other similar reporting services; and/or

                 (d)     GSX was followed by securities analysts employed by brokerage firms

  who wrote reports about the Company, and these reports were distributed to the sales forces and

  certain customers of their respective brokerage firms.         Each of these reports was publicly

  available and entered the public marketplace.

         415.    As a result of the foregoing, the market for GSX’s securities promptly digested

  current information regarding GSX from all publicly available sources and reflected such

  information in the price of GSX’s securities. Under these circumstances, all purchasers of

  GSX’s securities during the Class Period suffered similar injury through their purchase of GSX’s

  securities at artificially inflated prices, and a presumption of reliance applies.




                                                   141
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 146 of 156 PageID: 473




         416.    A Class-wide presumption of reliance is also appropriate in this action under the

  Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972)

  and the Third Circuit’s reiteration thereof in Johnston v. HBO Film Mgmt., Inc., 265 F.3d 178

  (3d Cir. 2001), because the Class’s claims center, in large part, upon Defendants’ material

  omissions.    Because this action involves Defendants’ failure to disclose material adverse

  information regarding the Company’s business operations and financial prospects—information

  that Defendants were obligated by law to disclose—positive proof of reliance is not a

  prerequisite to recovery.

                                     IX.    NO SAFE HARBOR

         417.    The statutory safe harbor provided for forward-looking statements under certain

  circumstances does not apply to any of the false statements pleaded in this Amended Complaint.

  The statements alleged to be false and misleading herein all relate to then-existing facts and

  conditions. Additionally, to the extent certain of the statements alleged to be false may be

  characterized as forward looking, they were not identified specifically as “forward-looking

  statements” when made, and there were no meaningful cautionary statements identifying

  important factors that could cause actual results to differ materially from those in the purportedly

  forward-looking statements.

         418.    In the alternative, to the extent that the statutory safe harbor is determined to

  apply to any forward-looking statements pleaded herein, Defendants are liable for those forward-

  looking statements because at the time each such statement was made, the speaker had actual

  knowledge, or recklessly disregarded the risk, that the forward-looking statement was materially

  false or misleading, and/or the forward-looking statement was authorized or approved by an

  executive officer of GSX who knew, or recklessly disregarded the risk, that the statement was

  false when made.


                                                  142
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 147 of 156 PageID: 474




                                           X.    COUNT ONE

  For Violations of Section 10(b) of the Securities Exchange Act of 1934 and SEC Rule 10b–5
                (Against the Exchange Act Defendants—GSX, Chen and Shen)

         419.    Plaintiffs repeat, reallege, and incorporate by reference each and every allegation

  heretofore pleaded as if fully set forth herein.

         420.    Throughout the Class Period, GSX’s securities were listed on the New York

  Stock Exchange.

         421.    During the Class Period, the Exchange Act Defendants made, disseminated, or

  approved the false and misleading statements specified above. The Exchange Act Defendants

  knew that such statements, when made, were false and misleading, or were reckless in their

  disregard as to the truth of such statements, which contained material misrepresentations and

  failed to disclose material facts necessary in order to make the statements made, in light of the

  circumstances under which they were made, not misleading.

         422.    The Exchange Act Defendants violated Section 10(b) of the Exchange Act of

  1934, codified as amended, 15 U.S.C. § 78j(b) and SEC Rule 10b–5, codified as amended, 17

  C.F.R. § 240.10b–5, because, in utilizing the means or instrumentalities of interstate and foreign

  commerce, including but not limited to the mails and the Internet, and/or the facilities of the New

  York Stock Exchange, they directly or indirectly:

                 (a)     employed devices, schemes or artifices to defraud;

                 (b)     made untrue statements of material fact or omitted to state material facts

  necessary in order to make the statements made, in light of the circumstances under which they

  were made, not misleading; and/or




                                                     143
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 148 of 156 PageID: 475




                 (c)     engaged in acts, practices, practices, and a course of business that operated

  as a fraud or deceit upon Plaintiffs and the members of the Class in connection with their

  purchases of GSX securities during the Class Period.

         423.    Plaintiffs and members of the Class have suffered damages in that, in reliance on

  the Exchange Act Defendants’ statements and the integrity of the market, they paid artificially

  inflated prices for GSX’s securities.      Plaintiffs and members of the Class would not have

  purchased such securities at the prices they paid, or at all, if they had been aware that the market

  prices of GSX’s securities had been artificially and falsely inflated by the Exchange Act

  Defendants’ false and misleading statements.

         424.    As a direct and proximate result of the Exchange Act Defendants’ wrongful

  conduct, Plaintiffs and members of the Class suffered damages in connection with their

  purchases of GSX’s securities on the New York Stock Exchange during the Class Period.

                                         XI.     COUNT TWO

             For Violations of Section 20(a) of the Securities Exchange Act of 1934
           (Brought by Plaintiffs against the Individual Defendants—Chen and Shen)

         425.    Plaintiffs repeat, reallege, and incorporate by reference each and every allegation

  heretofore pleaded as if fully set forth herein.

         426.    Throughout the Class Period, GSX’s securities were listed on the New York

  Stock Exchange.

         427.    As alleged herein, the Individual Defendants acted as controlling persons of GSX

  within the meaning of Section 20(a) of the Exchange Act of 1934, codified as amended, 15

  U.S.C. § 78t(a). By virtue of their high-level positions, ownership rights, contractual rights,

  participation in and/or awareness of the Company’s operations, and/or intimate knowledge of the

  false financial statements filed by the Company with the SEC and disseminated to the investing



                                                     144
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 149 of 156 PageID: 476




  public, the Individual Defendants had the power to influence and control, and did influence and

  control, directly or indirectly, the decision-making of the Company, including the content and

  dissemination of the various statements which Plaintiffs contends are false and misleading. The

  Individual Defendants were provided with or had unlimited access to copies of the Company’s

  reports, press releases, public filings, and other statements alleged by Plaintiffs to be misleading

  prior to and/or shortly after these statements were issued and had the ability to prevent the

  issuance of the statements or cause the statements to be corrected.

         428.    In particular, each of these Individual Defendants had direct and supervisory

  involvement in the quotidian operations of the Company and, therefore, is presumed to have had

  the power to control or influence the particular transactions giving rise to the securities violations

  as alleged herein, and exercised the same.

         429.    As set forth above, the Exchange Act Defendants each violated Section 10(b) of

  the Exchange Act of 1934 and SEC Rule 10b–5 by their acts and/or omissions as alleged in this

  Amended Complaint.        By virtue of their positions as controlling persons, the Individual

  Defendants are liable pursuant to Section 20(a) of said Act. As a direct and proximate result of

  the Individual Defendants’ wrongful conduct, Plaintiffs and other members of the Class suffered

  damages in connection with their purchases of the Company’s securities traded on the New York

  Stock Exchange during the Class Period.

                                      XII.     COUNT THREE

                         For Violations of Section 11 of the Securities Act
                          (Brought by Plaintiffs against All Defendants)

         430.    Plaintiffs repeat, reallege, and incorporate by reference the foregoing ¶¶ 1–383,

  405–18 as if each and every such allegation were fully set forth herein, except to the extent, if

  any, that any of those paragraphs allege fraud. This claim is premised on the remedies available



                                                   145
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 150 of 156 PageID: 477




  under Section 11 of the Securities Act and accordingly does not assert that Defendants acted with

  fraudulent intent or with recklessness.

          431.   The May 2019 F 1/A (the “IPO Registration Statement”) and the November 2019

  F 1 (the “SPO Registration Statement”) contained untrue statements of material fact, omitted to

  state other facts necessary to make the statements made in them not misleading, and omitted

  facts required to be stated therein.

          432.   Defendants Chen and Shen each signed the IPO Registration Statement on or

  about May 24, 2019, and caused it to be declared effective by the SEC on or about June 5, 2019.

  Defendants Chen, Fan, Hu, Liao, and Shen each signed the SPO Registration on or about

  November 18, 2019, and caused it to be declared effective by the SEC on or about November 20,

  2019.

          433.   GSX is the registration for the IPO and SPO and, as issuer of the ADSs, is strictly

  liable to Plaintiffs and other members of the Class for the misstatements and omissions contained

  in the IPO and SPO Registration Statements.

          434.   Each of the Defendants named in this Count is responsible for and is liable for the

  contents and dissemination of the IPO and SPO Registration Statements.

          435.   As a result of their roles within or relating to GSX, and their direct access to

  information contradicting the statements in the IPO and SPO Registration Statements,

  Defendants Chen and Shen reasonably should have known of the untrue and misleading

  statements of material fact contained in the IPO and SPO Registration Statements. Indeed,

  GSX’s admissions establish the knowledge of Defendants Chen and Shen of many of the

  misrepresented and omitted material facts alleged in this Count.




                                                 146
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 151 of 156 PageID: 478




         436.    Defendants Fan, Hu, and Liao likewise had access to internal reports and

  information which, had they conducted reasonable due diligence, would have put them on notice

  of the untrue and misleading statements of material fact contained in the IPO and SPO

  Registration Statements.

         437.    The Underwriter Defendants were obligated to conduct an adequate due diligence

  investigation, and their failure to do so was at least negligent, and was a substantial factor

  leading to the harm alleged in this Count.

         438.    Together, the Defendants named in this Count caused the IPO and SPO

  Registration Statements to be filed with the SEC and to be declared effective, resulting in the

  issuance and sale of GSX’s ADSs in the United States, which were purchased by Plaintiffs and

  other members of the Class.

         439.    None of the Defendants named in this Count undertook a reasonable investigation

  to ascertain whether the statements contained in the IPO and SPO Registration Statements were

  true and did not omit any material facts required to be stated, or facts that were necessary to

  make the statements made therein, not false or misleading. None of the Defendants named in

  this count possessed reasonable grounds to believe that whether the statements contained in the

  IPO and SPO Registration Statements were true and did not omit any material facts required to

  be stated, or facts that were necessary to make the statements made therein, not false or

  misleading. By reason of the conduct alleged in this Count, each Defendant named in this Count

  violated Section 11 of the Securities Act.

         440.    Plaintiffs acquired GSX ADSs in or traceable to the SPO. Members of the Class

  acquired GSX ADSs in or traceable to the IPO and SPO.




                                               147
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 152 of 156 PageID: 479




         441.    Plaintiffs and members of the Class have sustained damages as a result of the

  Securities Act violations alleged in this Count.

         442.    At the time of their purchases of GSX’s ADSs, Plaintiffs and other members of

  the Class were without knowledge of the facts concerning the wrongful conduct alleged in this

  Count and could not have reasonably discovered those facts.

         443.    Less than one year elapsed from the time that Plaintiffs discovered or reasonably

  could have discovered the facts upon which the initial complaint filed in this action is based and

  the time that this Amended Complaint was filed. Fewer than three years have elapsed between

  the time that the securities upon which this claim is brought were offered to the public bona fide

  and the time that the initial complaint and the instant Amended Complaint were filed.

                                      XIII.    COUNT FOUR

                     For Violations of Section 12(a)(2) of the Securities Act
                   (Brought by Plaintiffs against the Underwriter Defendants)

         444.    Plaintiffs repeat, reallege, and incorporate by reference the foregoing ¶¶ 1–360,

  405–18 as if each and every such allegation were fully set forth herein, except to the extent, if

  any, that any of those paragraphs allege fraud. This claim is premised on the remedies available

  under Section 12 of the Securities Act, and accordingly does not assert or otherwise rely on any

  allegation that the Underwriter Defendants acted with fraudulent intent.

         445.    This claim is asserted by Plaintiffs on behalf of all persons who purchased from

  any of the Underwriter Defendants GSX ADSs that were issued in or traceable to either GSX’s

  IPO, on or about June 6, 2019, or GSX’s SPO, on or about November 20, 2019. By means of the

  IPO and SPO Registration Statements, each of the Underwriter Defendants offered, promoted

  and sold GSX ADSs in the IPO and SPO, and therefore is liable under Section 12(a)(2) of the




                                                     148
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 153 of 156 PageID: 480




  Securities Act for the misrepresentations and omissions contained in the IPO and SPO

  Registration Statements.

         446.    The Underwriter Defendants failed to conduct a reasonable investigation and did

  not possess a reasonable basis for the belief that the statements contained in the IPO or SPO

  Registration Statements, and identified in ¶ 431 above, were true, without material omissions,

  and not misleading.

         447.    By reason of the conduct alleged in this Count, each of the Underwriter

  Defendants violated Section 12(a)(2) of the Securities Act.

         448.    Plaintiffs and other members of the Class who purchased GSX ADSs from any of

  the Underwriter Defendants that were issued in or traceable to the IPO or the SPO have sustained

  damages because they purchased GSX securities at artificially inflated prices, and would not

  have purchased the GSX securities but-for the Underwriter Defendants’ offers, promotions, and

  sales of GSX’s ADSs in the IPO and SPO.

         449.    Plaintiffs, individually and on behalf of the Class, seek the remedies available

  under Section 12(a)(2) of the Securities Act for the Underwriter Defendants’ violations.

         450.    At the time of their purchases, Plaintiffs and the Class were without knowledge of

  the wrongful conduct alleged in this Count and could not have reasonably discovered those facts

  more than one year before the filing of the initial complaint in this action. The initial complaint

  was filed within three years of the time that the Underwriter Defendants first sold GSX ADSs to

  the investing public.

                                XIV.      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

         A.      Determining that this action may be maintained as a class action under Rule 23 of

  the Federal Rules of Civil Procedure;


                                                 149
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 154 of 156 PageID: 481




         B.      Awarding compensatory damages in favor of Plaintiffs and the other members of

  the Class against all Defendants, jointly and severally, for all damages sustained as a result of

  Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

         C.      Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

  investigating, bringing, and maintaining this action, including counsel fees and expert fees; and

         D.      Awarding such other and further legal or equitable relief as the Court deems just

  and proper.

                               XV.      JURY TRIAL DEMANDED

         Plaintiffs hereby demand a trial by jury on all issues so triable in this Action.




                                                  150
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 155 of 156 PageID: 482




  Dated: November 2, 2020               Respectfully submitted,

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                                      151
Case 2:20-cv-04457-ES-CLW Document 22 Filed 11/02/20 Page 156 of 156 PageID: 483




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                                      152
